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                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF DELAWARE

             --------------------------------------------------------- x
                                                                       :
             In re:                                                    :    Chapter 11
                                                                       :
             VIRGIN ORBIT HOLDINGS, INC., et al., 1 :                       Case No. 23-10405 (KBO)
                                                                       :
                                 Debtors.                              :    (Jointly Administered)
                                                                       :
                                                                       :    Ref. Docket Nos. 96, 459, 532, 542, 559, 571
             --------------------------------------------------------- x    & 576

                      NOTICE OF FILING OF REVISED PROPOSED ORDER CONFIRMING
                     THE FOURTH AMENDED JOINT CHAPTER 11 PLAN OF VIRGIN ORBIT
                              HOLDINGS, INC. AND ITS DEBTOR AFFILIATES

                     PLEASE TAKE NOTICE that, on July 26, 2023, the above-captioned debtors and
             debtors in possession (the “Debtors”) filed the Fourth Amended Joint Chapter 11 Plan of Virgin
             Orbit Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket
             No. 571] (as amended, modified, or supplemented from time to time, the “Plan”).

                     PLEASE TAKE FURTHER NOTICE that on July 26, 2023, the Debtors filed the Notice
             of Filing of Proposed Order Confirming the Fourth Amended Joint Chapter 11 Plan of Virgin
             Orbit Holdings, Inc. and Its Debtor Affiliates [Docket No. 576] (the “Proposed Confirmation
             Order”).

                    PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a revised
             Proposed Confirmation Order (the “Revised Proposed Confirmation Order”).

                     PLEASE TAKE FURTHER NOTICE that the hearing (the “Confirmation Hearing”)
             to consider confirmation of the Plan is scheduled for July 28, 2023 at 10:30 a.m. (ET) before the
             Honorable Karen B. Owens, in the United States Bankruptcy Court for the District of Delaware
             (the “Court”), located at 824 N. Market Street, 6th Floor, Courtroom No. 3, Wilmington, Delaware
             19801. The Confirmation Hearing may be continued from time to time without further notice to
             parties in interest other than noting such adjournment on the applicable hearing agenda or a notice
             filed with the Court.

                     PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right to amend,
             revise, modify or supplement the Revised Proposed Confirmation Order prior to, at, or as a result
             of, the Confirmation Hearing.


             1
                 The Debtors in these cases, along with the last four digits of each debtor’s federal tax identification number, are:
                 Virgin Orbit Holdings, Inc. (6914); Virgin Orbit National Systems, LLC (3801); Vieco USA, Inc. (0492); Virgin
                 Orbit, LLC (9648); and JACM Holdings, Inc. (1445). The Debtors’ mailing address for purposes of these cases is
                 3880 McGowen Street, Long Beach, CA 90808.


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      Dated: July 28, 2023               YOUNG CONAWAY STARGATT & TAYLOR, LLP
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                                         Robert Brady (No. 2847)
                                         Michael R. Nestor (No. 3526)
                                         Kara Hammond Coyle (No. 4410)
                                         Allison S. Mielke (No. 5934)
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                                       Counsel for Debtors and Debtors in Possession




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                                   EXHIBIT A

                    Further Revised Proposed Confirmation Order




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                  )
             In re:                                               )     Chapter 11
                                                                  )
             VIRGIN ORBIT HOLDINGS, INC., et al., 1               )     Case No. 23-10405 (KBO)
                                                                  )
                                                                  )     (Jointly Administered)
                                     Debtors.                     )
                                                                  )     Ref. Docket Nos. 532, 542, 559 & 571
                                                                  )

              ORDER CONFIRMING THE FOURTH AMENDED JOINT CHAPTER 11 PLAN OF
                   VIRGIN ORBIT HOLDINGS, INC. AND ITS DEBTOR AFFILIATES
                      The above-captioned debtors and debtors in possession (collectively, the “Debtors”) 2
         having:

                      a. commenced, on April 4, 2023 (the “Petition Date”), these chapter 11 cases (these
                         “Chapter 11 Cases”) by filing voluntary petitions for relief in the United States
                         Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) under
                         chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

                      b. continued to operate their business and manage their properties during these Chapter
                         11 Cases as debtors in possession pursuant to sections 1107(a) and 1108 of the
                         Bankruptcy Code;

                      c. filed, on April 19, 2023, the Joint Chapter 11 Plan of Virgin Orbit Holdings, Inc. and
                         Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 96] and
                         Disclosure Statement for Joint Chapter 11 Plan of Virgin Orbit Holdings, Inc. and Its
                         Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 97];

                      d. filed, on June 12, 2023, the revised Second Amended Joint Chapter 11 Plan of Virgin
                         Orbit Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy
                         Code [Docket No. 439] and the revised Disclosure Statement for Second Amended Joint
                         Chapter 11 Plan of Virgin Orbit Holdings, Inc. and Its Debtor Affiliates Under Chapter
                         11 of the Bankruptcy Code [Docket No. 440];



         1
               The Debtors in these cases, along with the last four digits of each debtor’s federal tax identification
               number, are: Virgin Orbit Holdings, Inc. (6914); Virgin Orbit National Systems, LLC (3801); Vieco
               USA, Inc. (0492); Virgin Orbit, LLC (9648); and JACM Holdings, Inc. (1445). The Debtors’ mailing
               address for purposes of these cases is 3880 McGowen Street, Long Beach, CA 90808.
         2
               Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan,
               the Disclosure Statement, or the Bankruptcy Code (each as defined herein), as applicable. The rules of
               interpretation set forth in Article I.B. of the Plan apply.

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             e. filed, on June 20, 2023, the Third Amended Joint Chapter 11 Plan of Virgin Orbit
                Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code
                [Docket No. 459-1] and the Disclosure Statement for Third Amended Joint Chapter 11
                Plan of Virgin Orbit Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of the
                Bankruptcy Code [Docket No. 459-2];

             f. obtained, on June 20, 2023, the entry of the Order (A) Approving the Disclosure
                Statement; (B) Establishing the Voting Record Date, Voting Deadline, and Other
                Deadlines; (C) Approving Procedures for Soliciting, Receiving, and Tabulating Votes
                on the Plan and for Filing Objections to the Plan; (D) Approving the Manner and
                Forms of Notice and Other Related Documents; and (E) Granting Related Relief
                [Docket No. 462] (the “Disclosure Statement Order”) approving the Disclosure
                Statement, solicitation procedures (the “Solicitation Procedures”), and related
                notices, forms, and ballots (collectively, the “Solicitation Packages”);

             g. filed, on June 20, 2023, the solicitation version of the Third Amended Joint Chapter 11
                Plan of Virgin Orbit Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of the
                Bankruptcy Code [Docket No. 463] and the solicitation version of the Disclosure
                Statement for Third Amended Joint Chapter 11 Plan of Virgin Orbit Holdings, Inc. and
                Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 465] (as
                may be modified, amended, or supplemented from time to time, the “Disclosure
                Statement”);

             h. caused the Solicitation Packages and notice of the Confirmation Hearing (the
                “Confirmation Hearing Notice”) and the deadline for objecting to confirmation of the
                Plan (“Confirmation”) to be distributed on or about June 20, 2023 in accordance with
                the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure (the “Bankruptcy
                Rules”), the Local Rules of Bankruptcy Practice and Procedure of the United States
                Bankruptcy Court for the District of Delaware (the “Local Rules”), the Disclosure
                Statement Order, and the Solicitation Procedures, as evidenced by, among other things,
                the Affidavit of Service of Solicitation Materials [Docket No. 541] and the Affidavit of
                Supplemental Service of Solicitation Materials [Docket No. 545] (collectively, the
                “Certificates of Solicitation”);

             i. caused notice of the Confirmation Hearing Notice to be published, on June 15, 2023,
                in The New York Times (national edition) as well as in the Los Angeles Times, as
                evidenced by the Certificate of Publication [Docket No. 485] and Proofs of Publication
                [Docket Nos. 485-A, 485-B] attached thereto (collectively, the “Publication
                Certificates” and, together with the Certificates of Solicitation, the “Certificates”);

             j. filed, on July 14, 2023, the Plan Supplement for Third Amended Joint Chapter 11 Plan
                of Virgin Orbit Holdings, Inc. and Its Debtor Affiliates [Docket No. 532] (the “Initial
                Plan Supplement”);

             k. filed, on July 18, 2023, the Revised Exhibit E to the Plan Supplement [Docket No. 542]
                (the “Second Plan Supplement”)


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             l. filed, on July 24, 2023, the Revised Exhibit F to the Plan Supplement [Docket No. 559]
                (together with the Initial Plan Supplement, and the Second Plan Supplement, the “Plan
                Supplement”);

             m. filed, on July 26, 2023, the Fourth Amended Joint Chapter 11 Plan of Virgin Orbit
                Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code
                [Docket No. 571] (as may be modified, amended, or supplemented from time to time,
                the “Plan”), a copy of which is attached hereto as Exhibit A;

             n. filed, on July 26, 2023, the Debtors’ Memorandum of Law in Support of an Order
                Confirming the Fourth Amended Joint Chapter 11 Plan of Virgin Orbit Holdings, Inc.
                and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 575]
                (the “Confirmation Brief”);

             o. filed, on July 26, 2023, the Declaration of James Daloia of Kroll Restructuring
                Administration LLC Regarding the Solicitation and Tabulation of Ballots Cast on the
                Third Amended Joint Chapter 11 Plan of Virgin Orbit Holdings, Inc. and Its Debtor
                Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 572] (the “Voting
                Report”); and

             p. filed, on July 26, 2023, the Declaration of Brian Whittman in Support of Confirmation
                of the Fourth Amended Joint Chapter 11 Plan of Virgin Orbit Holdings, Inc. and Its
                Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 574]
                (“Whittman Declaration”) and the Declaration of Alan J. Carr in Support of
                Confirmation of the Fourth Amended Joint Chapter 11 Plan of Virgin Orbit Holdings,
                Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No.
                573] (the “Carr Declaration” and, together with the Whittman Declaration,
                the “Confirmation Declarations”).
             The Bankruptcy Court having:

             a. set July 21, 2023 at 4:00 p.m. (prevailing Eastern Time) as the deadline for filing
                objections in opposition to the Plan;

             b. set July 21, 2023 at 5:00 p.m. (prevailing Eastern Time) as the deadline for voting on
                the Plan;

             c. set July 28, 2023 at 10:30 a.m. (prevailing Eastern Time) as the date and time for the
                Confirmation Hearing, pursuant to Bankruptcy Rules 3017 and 3018 and
                sections 1126, 1128, and 1129 of the Bankruptcy Code;

             d. reviewed the Plan, the Disclosure Statement, the Plan Supplement, the Confirmation
                Brief, the Confirmation Declarations, the Voting Report, the Confirmation Hearing
                Notice, the Certificates, the affidavits of service, and all filed pleadings, exhibits,
                statements, and comments regarding Confirmation, including all objections,
                statements, and reservations of rights filed by parties in interest on the docket of these
                Chapter 11 Cases;

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                e. held the Confirmation Hearing;

                f. considered all testimony presented and evidence admitted at the Confirmation Hearing,
                   as applicable;

                g. overruled any and all objections to the Plan and Confirmation and all statements and
                   reservations of rights not consensually resolved, agreed to, or withdrawn, unless
                   otherwise indicated; and

                h. taken judicial notice of all papers and pleadings and other documents filed, all orders
                   entered, and all evidence and arguments presented in these Chapter 11 Cases.

                NOW, THEREFORE, the Bankruptcy Court having found that notice of the Confirmation

         Hearing and the opportunity for any party in interest to object to Confirmation have been adequate

         and appropriate as to all parties affected or to be affected by the Plan and the transactions

         contemplated thereby, and that the legal and factual bases set forth in the documents filed in

         support of Confirmation and other evidence presented at the Confirmation Hearing and the record

         of these Chapter 11 Cases establish just cause for the relief granted herein, and after due

         deliberation thereon and good cause appearing therefor, the Bankruptcy Court makes and issues

         the following findings of fact and conclusions of law, and orders:

                                FINDINGS OF FACT AND CONCLUSIONS OF LAW

                IT IS DETERMINED, FOUND, ADJUDGED, DECREED, AND ORDERED THAT:

         A.     Jurisdiction and Venue

                1.      Venue in the Bankruptcy Court was proper as of the Petition Date pursuant to 28

         U.S.C. §§ 1408 and 1409 and continues to be proper during these Chapter 11 Cases. Confirmation

         of the Plan is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(L). The Bankruptcy

         Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(a)–(b) and

         1334(b).




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         B.     Burden of Proof

                2.      The Debtors have met their burden of proving that the Plan complies with each

         element of sections 1129(a) and, to the extent applicable, 1129(b) of the Bankruptcy Code by a

         preponderance of the evidence.

         C.     Notice of the Confirmation Hearing

                3.      Notice of the Confirmation Hearing was appropriate and satisfactory and is

         approved in all respects.

         D.     Confirmation of the Plan

                4.      The Plan, a copy of which is attached as Exhibit A, as may be amended by this

         Confirmation Order, is confirmed pursuant to section 1129 of the Bankruptcy Code. The terms of

         the Plan, the documents contained in the Plan Supplement, and any other documents filed in

         connection with the Plan and/or executed or to be executed to effectuate, implement or

         consummate the transactions contemplated by the Plan, and all amendments and modifications

         thereof made in accordance with the Plan and this Confirmation Order, are hereby approved by

         this Confirmation Order; provided that, the Debtors may make non-material modifications to the

         Plan Supplement prior to the Effective Date.

                5.      Any and all objections to confirmation of the Plan that have not been withdrawn or

         resolved prior to the Confirmation Hearing are hereby overruled, except to the extent sustained by

         the Court on the record at the Confirmation Hearing.

                6.      The documents contained in the Plan Supplement are integral to the Plan and are

         approved by the Bankruptcy Court and the Debtors are authorized to take all actions required under

         the Plan and the Plan Supplement documents to effectuate the Plan and the transactions

         contemplated thereby.


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                 7.     The terms of the Plan, the Plan Supplement, and the exhibits thereto are

         incorporated herein by reference, and are an integral part of this Confirmation Order. The terms

         of the Plan, the Plan Supplement, all exhibits thereto, and all other relevant and necessary

         documents shall be effective and binding as of the Effective Date. The failure to specifically

         include or refer to any particular article, section, or provision of the Plan, the Plan Supplement, or

         any related document in this Confirmation Order does not diminish or impair the effectiveness or

         enforceability of such article, section, or provision.

                 8.     The compromises, settlements, releases, exculpations, and injunctions set forth in

         Article IX of the Plan are approved, and will be effective immediately and binding on the Effective

         Date.

                 9.     The Debtors shall cause to be served a notice of the entry of this Confirmation

         Order and occurrence of the Effective Date, substantially in form attached hereto as Exhibit B

         (the “Confirmation Notice”), on all parties served with the Confirmation Hearing Notice as soon

         as reasonably practicable after the Effective Date; provided that, no notice of any kind shall be

         required to be mailed or made upon any Entity to whom the Debtors mailed notice of the

         Confirmation Hearing, but received such notice returned marked “undeliverable as addressed,”

         “moved, left no forwarding address,” or “forwarding order expired,” or similar reason, unless the

         Debtors have been informed in writing by such Entity, or are otherwise aware, of that Entity’s new

         address. The Debtors shall cause the Confirmation Notice to be posted on the website of these

         Chapter 11 Cases: https://cases.ra.kroll.com/virginorbit/. Such service in the time and manner set

         forth herein will provide good, adequate, and sufficient notice under the circumstances, and shall

         be deemed to comply with Bankruptcy Rules 2002(a)(7), 2002(f)(3) and (f)(7), 2002(1),

         3002(c)(4), and 3020(c)(2).


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         E.     Proposal of the Plan in Good Faith

                10.      The Plan has been proposed in good faith and not by any means forbidden by law.

         In so finding, the Bankruptcy Court has considered the totality of the circumstances of these

         Chapter 11 Cases. The Plan is the result of extensive, good-faith, and arm’s-length negotiations

         among the Debtors and their principal constituencies, including for the avoidance of doubt, VIL,

         each of whom shall be deemed to have acted in “good faith” under section 1125(e) of the

         Bankruptcy Code. The transactions contemplated by the Plan are proposed in good faith, are in

         the best interests of the Debtors’ Estates, and will serve to maximize value for all stakeholders.

         F.     Solicitation

                11.      The transmittal and service of the solicitation materials required by the Disclosure

         Statement Order were timely, adequate, appropriate, and sufficient under the circumstances. The

         Solicitation Procedures complied with sections 1125 and 1126 of the Bankruptcy Code,

         Bankruptcy Rules 3017 and 3018, all other provisions of the Bankruptcy Code, and all other

         applicable non-bankruptcy rules, laws, and regulations. The modifications to the Plan as of the

         date of this Confirmation Order are not of the type to require additional disclosure or solicitation

         of the Plan under Bankruptcy Rule 3019 and comply in all respects with section 1127 of the

         Bankruptcy Code.

                12.      Based on the record before the Bankruptcy Court, including the Voting Report and

         Certificates, the Debtors have solicited votes on the Plan in good faith and in compliance with the

         Bankruptcy Code, and not by any means forbidden by law.

         G.     Voting

                13.      As described in the Voting Report, Holders of Claims in Classes 3, 4, and 5 were

         entitled to vote to accept or reject the Plan. Holders of Claims in Class 3 did not vote on the Plan.


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         Pursuant to Article III.F of the Plan, Class 3 is deemed eliminated from the Plan for purposes of

         voting to accept or reject the Plan and for purposes of determining acceptances or rejection of the

         Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code. Holders of Claims in

         Classes 4 and 5 voted to accept the Plan. All other Classes of Claims and Interests were not entitled

         to vote on the Plan pursuant to sections 1126 of the Bankruptcy Code. All procedures used to

         tabulate the Ballots were fair, reasonable, and conducted in accordance with the applicable

         provisions of the Bankruptcy Code, Bankruptcy Rules, Local Rules, and all other applicable non-

         bankruptcy rules, laws, and regulations.

         H.     Immediate Binding Effect

                14.     Notwithstanding Bankruptcy Rules 3020(e), 6004(g), or 7062 or otherwise, from

         and after the entry of this Confirmation Order and upon the occurrence of the Effective Date, the

         terms of the Plan, and the documents and instruments contained in the Plan Supplement and this

         Confirmation Order shall be deemed immediately effective and enforceable binding upon: (a) the

         Debtors; (b) any and all Holders of Claims or Interests (irrespective of whether such Claims or

         Interests are Impaired under the Plan or whether the Holders of such Claims or Interests accepted,

         rejected or are deemed to have accepted or rejected the Plan); (c) any and all non-debtor parties to

         Executory Contracts and Unexpired Leases with any of the Debtors; (d) all Entities that are parties

         to or are subject to the settlements, compromises, releases, and injunctions described in the Plan;

         and (e) the respective heirs, executors, administrators, successors or assigns, if any, of any of the

         foregoing.

         I.     Treatment of Executory Contracts and Unexpired Leases

                15.     The rejection or assumption, as applicable, of Executory Contracts and Unexpired

         Leases as set forth in Article V of the Plan is hereby authorized. Except as otherwise set forth in


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         the Plan, assumptions or rejections of Executory Contracts and Unexpired Leases pursuant to the

         Plan are effective as of the Effective Date without the need for any further action or consents that

         may otherwise be required under applicable non-bankruptcy law.

         J.      Administrative Claims Bar Date

                 16.     As provided in Article II.A.3 of the Plan, all requests for payment of Administrative

         Claims (other than DIP Facility Claims, Cure Costs, Professional Fee Claims, postpetition tax

         claims arising under section 503(b)(1)(D) of the Bankruptcy Code, claims arising under section

         503(b)(9) of the Bankruptcy Code, or U.S. Trustee quarterly fees payable pursuant to Article II.D

         of the Plan) that accrued on or before the Effective Date must be filed with the Bankruptcy Court

         and served on the Plan Administrator no later than the 30th day after service of the Confirmation

         Notice. If a Holder of an Administrative Claim (other than DIP Facility Claims, Cure Costs,

         Professional Fee Claims, postpetition tax claims arising under section 503(b)(1)(D) of the

         Bankruptcy Code, claims arising under section 503(b)(9) of the Bankruptcy Code, or U.S. Trustee

         quarterly fees payable pursuant to Article II.D of the Plan) that is required to, but does not, file and

         serve a request for payment of such Administrative Claim by the Administrative Claims Bar Date,

         such Administrative Claim shall be forever barred, estopped, and enjoined from asserting such

         Administrative Claims against the Debtors, their Estates, the Litigation Trustee, or the Plan

         Administrator. For the avoidance of doubt, nothing in this Order or the Plan extends any deadline

         for the filing of any claims established in any previously entered order of the Court, including the

         Order (I) Establishing Bar Dates and Related Procedures for Filing Proofs of Claim (Including

         for Claims Arising Under Section 503(b)(9) of the Bankruptcy Code), (II) Approving the Form and

         Manner of Notice Thereof, and (III) Granting Related Relief [Docket No. 153].




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         K.     Deadline to File Professional Fee Claims

                17.     As provided in Article II.A.2 of the Plan, all final requests for payment of

         Professional Fee Claims for services rendered and reimbursement of expenses incurred on and

         after the Petition Date and prior to and on the Effective Date must be Filed no later than forty-five

         (45) days after the Effective Date. Any party seeking payment of a Professional Fee Claim that

         arises under sections 503(b)(3), 503(b)(4) or 503(b)(5) of the Bankruptcy Code must File a motion

         for approval of the same. Motions for approval of all final requests for payment of Professional

         Fee Claims shall include a 21-day objection period after such motions are filed. The Bankruptcy

         Court shall determine the Allowed amounts of such Professional Fee Claims after notice and a

         hearing in accordance with the procedures established by the Bankruptcy Code, the Bankruptcy

         Rules, and prior Bankruptcy Court orders.

         L.     Deadline to File Rejection Claims

                18.     As provided in Article V.C of the Plan, unless otherwise provided by a Bankruptcy

         Court order, any Proofs of Claim asserting Claims arising from the rejection of the Executory

         Contracts and Unexpired Leases by virtue of the Plan must be Filed with the Notice and Claims

         Agent within thirty (30) days after service of the Confirmation Notice substantially in the form

         annexed to this Order as Exhibit B. The deadline for Governmental Units to File any such Proofs

         of Claim shall be the later of thirty (30) days after service of the Confirmation Notice or the

         Governmental Bar Date as set forth in the Bar Date Order. Any Proofs of Claim arising from the

         rejection of the Executory Contracts and Unexpired Leases that are not timely filed shall be forever

         disallowed and barred, absent order of the Bankruptcy Court to the contrary. All Allowed Claims

         arising from the rejection of the Executory Contracts and Unexpired Leases shall constitute

         General Unsecured Claims and shall be treated in accordance with Article III.B of the Plan.


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         M.     Releases and Exculpation

                19.     All release and exculpation provisions contained in the Plan, including, without

         limitation, those contained in Article IX of the Plan, are hereby authorized, approved, and shall be

         effective and binding on all persons and entities, to the extent expressly described in the Plan. The

         releases given by the Debtors contained in Article IX.B of the Plan are: (a) in exchange for the

         good and valuable consideration provided by the Released Parties; (b) a good faith settlement and

         compromise of the Claims released by Article IX.B of the Plan; (c) in the best interests of the

         Debtors and the Estates; (d) fair, equitable, and reasonable; and (e) given and made after due notice

         and opportunity for hearing. The releases given by the Releasing Parties contained in Article IX.C

         of the Plan are (a) consensual; and (b) given and made after due notice and opportunity for hearing.

         The exculpation provided by Article IX.D of the Plan for the benefit of the Exculpated Parties is

         consistent with applicable law.

         N.     The UCC Settlement

                20.     Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, the

         Plan incorporates and implements the UCC Settlement, a compromise and settlement of numerous

         issues and disputes between and among the Debtors, the Committee, the Prepetition Secured

         Noteholder, and the DIP Lenders designed to achieve a reasonable and effective resolution of these

         Chapter 11 Cases. Except as otherwise expressly set forth in the Plan, the UCC Settlement

         constitutes a settlement of all potential issues and Claims between and among the Debtors, the

         Committee, the Prepetition Secured Noteholder, and the DIP Lenders. The UCC Settlement is

         fair, equitable, reasonable, and in the best interests of the Debtors and their Estates, and the UCC

         Settlement is approved.




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         O.     The WARN Settlement

                21.     The WARN Settlement constitutes acceptance by all Class Members of treatment

         of any alleged claims in the Chapter 11 Cases arising out of or relating to the WARN Act and/or

         the CAL-WARN Act and that such treatment with respect to the Class Representative and Class

         Members complies with section 1129, including section 1129(a)(9), of the Bankruptcy Code. To

         the extent any holders of alleged claims in the Chapter 11 Cases arising out of or relating to the

         WARN Act and/or the CAL-WARN Act have opted-out of the Settlement and have not filed a

         Proof of Claim prior to the applicable Bar Date, such alleged claims shall not be Allowed for

         distribution purposes absent entry of a Final Order allowing such late-Filed Claim.

         P.     Provision Regarding the United States

                22.     As to the United States, nothing in the Plan, this Confirmation Order, any Plan

         Supplement, or any implementing Plan documents, notwithstanding any provision to the contrary

         contained therein, shall: (a) enjoin or affect any Governmental Unit’s setoff rights under federal

         law, as recognized in section 553 of the Bankruptcy Code, and/or recoupment rights, and such

         rights shall be preserved and are unaffected; or (b) be construed as a compromise or settlement of

         any liability, claim, Cause of Action or interest of the United States.

         Q.     Provision Regarding ACA International LLC

                23.     In full and final satisfaction of Claim Number 381 filed by ACA International LLC

         (“ACA”) against Debtor Virgin Orbit, LLC (the “ACA Claim”), including its asserted liens, its

         limited sale objection [Docket No. 265], and the ACA Lien Payment Escrow (as defined in Docket

         No. 364), (a) the automatic stay is lifted to allow ACA to foreclose its possessory lien on the

         Debtors’ telemetry rack currently in ACA’s possession (and as identified in the ACA Claim), as

         to which the Debtors shall have no further right, title or interest and the proceeds of which shall


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         belong solely to ACA; (b) the Debtors shall, as soon as practicable, following entry of this Order,

         pay $35,000 to ACA from the ACA Lien Payment Escrow; and (c) the balance of the ACA Claim

         shall be reduced and allowed as a General Unsecured Claim in Class 4 in the amount of $183,805.

         Upon entry of this Order and payment to ACA as set forth in (b) above, ACA’s asserted liens

         against the Debtors’ property other than the telemety rack shall be deemed terminated and the

         balance of the ACA Lien Payment Escrow shall be released to the Debtors.

         R.     Provision Regarding Texas Comptroller

                24.     Notwithstanding anything in the Plan to the contrary, the Plan shall not release or

         discharge any Entity, other than the Debtors, from any liability owed to the Texas Comptroller of

         Public Accounts (the “Texas Comptroller”) for a tax debt, including interest and penalties on

         such tax. This provision is not an admission by any party that any such liability exists.

                25.     Notwithstanding anything in the Plan to the contrary, the Plan shall not limit the

         Texas Comptroller’s setoff rights under 11 U.S.C. § 553. This provision is not admission by any

         party that any such setoff rights exist.

                26.     Allowed Priority Tax Claims owed to the Texas Comptroller shall be paid in full:

         (1) on the Effective Date; (2) in equal monthly installments of principal and interest no later than

         sixty (60) months of the Petition Date; or (3) as otherwise agreed to by the Texas Comptroller. The

         Texas Comptroller’s Allowed Priority Tax Claims shall accrue interest at the statutory rate of

         interest from the Effective Date until paid in full.

                27.     If the Debtors fail to cure a failure to make a payment to the Texas Comptroller

         pursuant to the terms of the Plan, then within ten (10) calendar days after service of written notice

         of default from the Texas Comptroller, the Texas Comptroller may (a) enforce the entire amount

         of its claim, (b) exercise all rights and remedies under applicable nonbankruptcy law, and (c) seek


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         such relief as may be appropriate in the Bankruptcy Court. Notice of a default shall be served by

         first class mail and email as follows and upon: (a) the Debtors: Virgin Orbit Holdings, Inc., Attn:

         Brian Whittman (email: bwhittman@alvarezandmarsal.com), and (b) counsel to the Debtors:

         (i) Latham & Watkins LLP, 1271 Avenue of the Americas, New York, NY 11101, Attn: George

         Klidonas      and      Anupama        Yerramalli        (email:    george.klidonas@lw.com          and

         anu.yerramalli@lw.com), and (ii) Young, Conaway, Stargatt & Taylor, LLP, 1000 North King

         Street, Wilmington, DE 19801, Attn:          Kara Hammond Coyle and Allison Mielke (email:

         kcoyle@ycst.com and amielke@ycst.com). The Debtors may cure up to two (2) defaults. Upon

         a third default, the Texas Comptroller, at its option, may declare the default non-curable and

         proceed to collect the remainder of the debt in accordance with this Confirmation Order.

         S.     Nonseverability of Plan Provisions Upon Confirmation

                28.     This Confirmation Order shall constitute a judicial determination and shall provide

         that each term and provision of the Plan, as it may have been altered or interpreted, is: (a) valid

         and enforceable pursuant to its terms; (b) integral to the Plan and may not be deleted or modified

         without the consent of the Debtors; and (c) non-severable and mutually dependent.

         T.     Post-Confirmation Modifications

                29.     Without need for further order or authorization of the Bankruptcy Court, the

         Debtors are authorized to make any and all modifications to any and all documents that are

         necessary to effectuate the Plan that do not materially modify the terms of such documents and are

         consistent with the Plan (subject to any applicable consents or consultation rights set forth therein).

         Subject to certain restrictions and requirements set forth in section 1127 of the Bankruptcy Code,

         Bankruptcy Rule 3019 and those restrictions on modifications set forth in the Plan, the Debtors

         expressly reserve their respective rights to materially alter, amend, or modify the Plan with respect


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         to such Debtors, one or more times, after Confirmation, and, to the extent necessary or required

         under section 1127 of the Bankruptcy Code and/or Bankruptcy Rule 3019, may initiate

         proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any defect

         or omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or this

         Confirmation Order, in such matters as may be necessary to carry out the purposes and intent of

         the Plan. Any such modification or supplement shall be considered a modification of the Plan and

         shall be made in accordance with Article X of the Plan.

         U.     Conflicts

                30.     To the extent that any provision of the Disclosure Statement or the Plan Supplement

         (or any exhibits, appendices, supplements, or amendments to any of the foregoing), conflict with

         or are in any way inconsistent with any provision of the Plan, the Plan shall govern and control.

         To the extent that any provision of the Plan, the Plan Supplement, or the Disclosure Statement

         conflicts with or is in any way inconsistent with any provision of this Confirmation Order, this

         Confirmation Order shall govern and control.

         V.     Dissolution of the Committee

                31.     The Committee shall dissolve, and the current and former members of the

         Committee shall be released and discharged from all rights and duties arising from, or related to,

         these Chapter 11 Cases on the Effective Date; provided that, the Committee and its professionals

         shall have the right to file, prosecute, review, and object to any applications for compensation and

         reimbursement of expenses filed in accordance with Article II.A.2 of the Plan.

         W.     Stay of Confirmation

                32.     Any applicable stay of effectiveness provided in Bankruptcy Rules 3020(e),

         6004(g), 6004(h), 6006(d), and 7062, or otherwise shall not apply to this Confirmation Order. This


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         Confirmation Order shall be effective and enforceable immediately upon its entry. Subject to the

         occurrence of the Effective Date, the provisions of the Plan shall be immediately effective and

         enforceable and deemed binding upon any Holder of a Claim against or Interest in the Debtors,

         such Holder’s respective successors and assigns (whether or not the Claim or Interest of such

         Holder is Impaired under the Plan, whether or not such Holder has accepted the Plan, and whether

         or not such Holder is entitled to a Distribution under the Plan), all Entities that are party or subject

         to the settlements, compromises, releases, and injunctions described in the Plan, and any and all

         non-Debtor counterparties to Executory Contracts, Unexpired Leases, and any other prepetition

         agreements. The Debtors are authorized to consummate the Plan at any time after the entry of this

         Confirmation Order, subject to satisfaction or waiver of the conditions precedent to the Effective

         Date set forth in Article VIII of the Plan. Pursuant to section 1142(a) of the Bankruptcy Code, the

         Plan, the Plan Supplement, and this Confirmation Order shall apply and be enforceable

         notwithstanding any otherwise applicable nonbankruptcy law.

         X.      Final Order

                 33.     This Confirmation Order is a final order and the period within which an appeal

         must be filed commences upon the entry hereof.




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                                     Exhibit A

                                       Plan




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    THIS PLAN IS NOT AN OFFER TO SELL ANY SECURITIES AND IS NOT
    SOLICITING AN OFFER TO BUY ANY SECURITIES.

    THIS PLAN REMAINS SUBJECT TO CONTINUING REVISIONS AS THE DEBTORS
    CONDUCT THEIR INTERNAL INVESTIGATION AND CONTINUE THE
    MARKETING PROCESS FOR A SALE OF THEIR ASSETS. IN THE EVENT THE
    DEBTORS ARE UNABLE TO CONFIRM THE PLAN, THEY MAY SEEK APPROVAL
    OF THE DISMISSAL MOTION OR CONVERSION OF THESE CASES TO CHAPTER
    7 OF THE BANKRUPTCY CODE. ALL RIGHTS OF THE DEBTORS ARE
    RESERVED.

                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

--------------------------------------------------------- x
                                                          :
In re:                                                    : Chapter 11
                                                          :
                                                    1
VIRGIN ORBIT HOLDINGS, INC., et al.,                      : Case No. 23-10405 (KBO)
                                                          :
                    Debtors.                              : (Jointly Administered)
                                                          :
--------------------------------------------------------- x

    FOURTH AMENDED JOINT CHAPTER 11 PLAN OF VIRGIN ORBIT HOLDINGS,
          INC. AND ITS DEBTOR AFFILIATES UNDER CHAPTER 11 OF
                         THE BANKRUPTCY CODE




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     The Debtors in these cases, along with the last four digits of each debtor’s federal tax identification number, are:
     Virgin Orbit Holdings, Inc. (6914); Virgin Orbit National Systems, LLC (3801); Vieco USA, Inc. (0492); Virgin
     Orbit, LLC (9648); and JACM Holdings, Inc. (1445). The Debtors’ mailing address for purposes of these cases is
     3880 McGowen Street, Long Beach, CA 90808.
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     JOINT CHAPTER 11 PLAN OF VIRGIN ORBIT HOLDINGS, INC. AND ITS
    DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

        Virgin Orbit Holdings, Inc. and each of the debtors and debtors-in-possession in the above
captioned cases (each a “Debtor” and, collectively, the “Debtors”), propose this joint plan
(together with any documents comprising the Plan Supplement, and as may be modified, amended,
or supplemented from time to time in accordance with the terms hereof, “Plan”) for the resolution
of the outstanding Claims against, and Interests in, the Debtors. Capitalized terms used in the Plan
and not otherwise defined have the meanings ascribed to such terms in Article I.A of the Plan.
        Although proposed jointly for administrative purposes, the Plan constitutes a separate Plan
for each Debtor for the resolution of outstanding Claims and Interests pursuant to the Bankruptcy
Code. Each Debtor is a proponent of the Plan within the meaning of section 1129 of the
Bankruptcy Code. The classifications of Claims and Interests set forth in Article III of the Plan
shall be deemed to apply separately with respect to each Plan proposed by each Debtor, as
applicable. The Plan provides for consolidation of the Debtors solely for purposes of voting,
Confirmation, and distribution, but not for any other purpose.

        The Debtors are currently pursuing 363 Sale Transactions of their remaining assets
that have not been sold pursuant to the Existing 363 Sale Orders, as described in further
detail in the Disclosure Statement. Any additional 363 Sale Transaction may be implemented
pursuant to a Future 363 Sale Order. The proceeds thereof shall be distributed in
accordance with the applicable provisions of this Plan or the applicable Sale Order, and the
Debtors will be wound down.
       In the event the Debtors are unable to confirm the Plan, they may seek approval of
the Dismissal Motion or conversion of these Chapter 11 Cases to Chapter 7 of the
Bankruptcy Code. If that occurs, nothing contained in the Plan or the Disclosure Statement
shall: (a) constitute a waiver or release of any Claims, Interests, or Causes of Action;
(b) prejudice in any manner the rights of the Debtors or any other Entity; or (c) constitute
an admission, acknowledgement, offer, or undertaking of any sort by the Debtors or any
other Entity.
        Reference is made to the Disclosure Statement, filed contemporaneously with the Plan, for
a discussion of the Debtors’ history, businesses, results of operations, historical financial
information, projections, and future operations, as well as a summary and analysis of the Plan and
certain related matters, including distributions to be made under the Plan.

     ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN ARE
ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN
THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.
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                   DEFINED TERMS AND RULES OF INTERPRETATION
   A. Defined Terms
          The following terms shall have the following meanings when used in capitalized form
herein:
       1.     “363 Sale Orders” means, collectively, the Existing 363 Sale Orders and the
Future 363 Sale Orders.
        2.     “363 Sale Transaction” means any sale of assets of the Debtors’ Estates pursuant
to any of the 363 Sale Orders.
       3.     “363 Sale Transaction Documentation” means one or more asset purchase
agreements or purchase and sale agreements and related documents, including the applicable
Assumed Contracts List, in each case, in form and substance reasonably acceptable to the Debtors
and the Required Consenting Creditors, pursuant to which the Debtors effectuate any 363 Sale
Transaction.
       4.      “Acquired Assets” means all assets contained in the definition or definitions of
“acquired assets” set forth in any 363 Sale Transaction Documentation (or such other similar term
as may be used in such 363 Sale Transaction Documentation).
         5.     “Administrative Claim” means a Claim (other than an Intercompany Claim) for
costs and expenses of administration under sections 503(b), 507(b), or 1114(e)(2) of the
Bankruptcy Code, including: (a) the actual and necessary costs and expenses incurred after the
Petition Date and through the Effective Date of preserving the Estates and operating the businesses
of the Debtors; (b) Professional Fee Claims (to the extent Allowed by the Bankruptcy Court); and
(c) all fees and charges assessed against the Estates under chapter 123 of title 28 United States
Code, 28 U.S.C. §§ 1911-1930.
        6.      “Administrative Claims Bar Date” means the date that is the 30th day after service
of notice of the Effective Date, which notice shall set forth the Administrative Claims Bar Date,
or such other date as is ordered by the Court.
          7.     “Affiliate” means an affiliate as defined in section 101(2) of the Bankruptcy Code.
        8.       “Allowed” means: (a) any Claim or Interest (i) as to which no objection has been
Filed prior to the Claims Objection Deadline and that is evidenced by a Proof of Claim or Interest,
as applicable, that is Filed or that is not required to be evidenced by a Filed Proof of Claim or
Interest, as applicable, under the Plan, the Bankruptcy Code, the DIP Orders or a Final Order, and
no request for estimation or other challenge, including pursuant to section 502(d) of the
Bankruptcy Code or otherwise, has been interposed, or (ii) as to which any objection has been
determined by a Final Order to the extent such objection is determined in favor of the respective
Holder; (b) any Claim or Interest that is scheduled by the Debtors as neither disputed, contingent,
nor unliquidated, and as for which no Proof of Claim or Interest, as applicable, has been Filed in
an unliquidated or a different amount; (c) any Claim or Interest that is compromised, settled, or
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otherwise resolved pursuant to the authority of the Debtors; (d) any Claim or Interest as to which
the liability of the Debtors, and the amount thereof are determined by a Final Order of a court of
competent jurisdiction other than the Bankruptcy Court; or (e) any Claim or Interest expressly
allowed under this Plan. “Allow,” “Allows,” and “Allowing” shall have correlative meanings. For
the avoidance of doubt, a Proof of Claim Filed after the applicable Bar Date or a request for
payment of an Administrative Claim Filed after the Administrative Claims Bar Date shall not be
Allowed until (i) the Claims Objection Deadline has passed and no Claim objection has been filed
or (ii) if a claim objection is filed, such Claim objection is overruled by a Final Order.
        9.     “Assumed Contracts” means those Executory Contracts and Unexpired Leases
that are to be assumed and assigned by the Debtors to the applicable Successful Bidder or its
designee pursuant to and as set forth in the Confirmation Order and any applicable 363 Sale
Transaction Documentation.
        10.    “Assumed Contracts List” means the list or lists of Assumed Contracts, which
will be included in preliminary form in the Plan Supplement.
     11.     “Assumed Liabilities” has the meaning set forth in any 363 Sale Transaction
Documentation (or such other similar term as may be used in such 363 Sale Transaction
Documentation).
        12.    “Avoidance Actions” means any and all avoidance, recovery, subordination, or
other claims, actions, or remedies that may be brought by or on behalf of the Debtors or their
Estates or other authorized parties in interest under the Bankruptcy Code or applicable non-
bankruptcy law, including actions or remedies under sections 502, 510, 542, 544, 545, 547 through
553, and 724(a) of the Bankruptcy Code or under similar or related state or federal statutes and
common law, including fraudulent transfer laws.
        13.     “Ballot” means the ballots accompanying the Disclosure Statement upon which
certain Holders of Impaired Claims entitled to vote shall, among other things, indicate their
acceptance or rejection of the Plan in accordance with the Plan and the procedures governing the
solicitation process.
        14.     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-
1532.
      15.     “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware or such other court having jurisdiction over the Chapter 11 Cases.
      16.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United States
Code, 28 U.S.C. § 2075, as applicable to the Chapter 11 Cases, and the general, local, and
chambers rules of the Bankruptcy Court.
        17.    “Bar Date” means the applicable bar date by which Proofs of Claim must be Filed,
as established by: (a) the Bar Date Order; (b) a Final Order of the Bankruptcy Court; or (c) the



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Plan; provided that if there is a conflict relating to the bar date for a particular Claim, the Plan shall
control.
       18.     “Bar Date Order” means the Order (I) Establishing Bar Dates and Related
Procedures for Filing Proofs of Claim (Including for Claims Arising Under Section 503(b)(9) of
the Bankruptcy Code), (II) Approving the Form and Manner of Notice Thereof, and (III) Granting
Related Relief [Docket No. 147].
       19.    “Bidding Procedures” means the bidding procedures attached as Exhibit 1 to the
Bidding Procedures Order, as such bidding procedures may be amended from time to time in
accordance with its terms.
        20.    “Bidding Procedures Order” means the Order (A) Establishing Bidding
Procedures for Sale of Substantially all Assets, (B) Scheduling Auction and Sale Hearing, and
(C) Approving Form and Manner of Notice Thereof, (II) Approving Sale of Substantially all Assets
Free and Clear of Liens, Claims, Encumbrances, and Other Interests, and (III) Granting Related
Relief [Docket No. 201], as such order may be amended, supplemented, or modified from time to
time, in form and substance acceptable to the Required Consenting Creditors.
        21.     “Business Day” means any day, other than a Saturday, Sunday or “legal holiday”
(as that term is defined in Bankruptcy Rule 9006(a)).
        22.     “Cash” means the legal tender of the United States of America or the equivalent
thereof.
        23.     “Causes of Action” means any action, claim, cross-claim, third-party claim, cause
of action, controversy, dispute, demand, right, lien, indemnity, contribution, guaranty, suit,
obligation, liability, loss, debt, fee or expense, damage, interest, judgment, cost, account, defense,
remedy, offset, power, privilege, proceeding, license, and franchise of any kind or character
whatsoever, known, unknown, foreseen or unforeseen, existing or hereafter arising, contingent or
non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
disputed or undisputed, secured or unsecured, assertable directly or derivatively (including any
alter ego theories), whether arising before, on, or after the Petition Date, in contract or in tort, in
law or in equity or pursuant to any other theory of law (including under any state or federal
securities laws). For the avoidance of doubt, Cause of Action also includes (a) any right of setoff,
counterclaim, or recoupment and any claim for breach of contract or for breach of duties imposed
by law or in equity, (b) the right to object to Claims or Interests, (c) any claim pursuant to section
362 or chapter 5 of the Bankruptcy Code, (d) any claim or defense including fraud, mistake, duress,
and usury and any other defenses set forth in section 558 of the Bankruptcy Code, and (e) any
Avoidance Action or state law fraudulent transfer claim.
       24.      “Chapter 11 Case(s)” means (a) when used with reference to a particular Debtor,
the chapter 11 case filed for that Debtor under chapter 11 of the Bankruptcy Code in the
Bankruptcy Court and (b) when used with reference to all Debtors, the jointly administered chapter
11 cases for all of the Debtors.
        25.     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code,
against any of the Debtors.

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        26.     “Claims Objection Deadline” means the deadline for objecting to a Claim, which
shall be on the date that is the later of (a) (i) with respect to Administrative Claims, 150 days after
the Administrative Claims Bar Date or (ii) with respect to all other Claims, 180 days after the
Effective Date and (b) such other deadline as may be specifically fixed by the Debtors upon a
motion that is served on all affected claimants and approved by an order of the Bankruptcy Court.
       27.   “Claims Register” means the official register of Claims maintained by the Notice
and Claims Agent.
       28.     “Class” means a category of Claims or Interests as set forth in Article III of the
Plan pursuant to section 1122(a) of the Bankruptcy Code.
       29.    “Committee” means the statutory committee of unsecured creditors appointed in
the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code by the United States
Trustee.
      30.    “Committee Professionals” means Persons or firms retained by the statutory
committee appointed in the Chapter 11 Cases pursuant to section 328 or 1103 of the Bankruptcy
Code.
      31.      “Conant Facility” means the facility located at 4022 E. Conant Street, Long Beach,
CA 90808.
       32.     “Confirmation” means the entry of the Confirmation Order by the Bankruptcy
Court on the docket of the Chapter 11 Cases.
       33.     “Confirmation Date” means the date upon which Confirmation occurs.
       34.     “Confirmation Hearing” means the hearing conducted by the Bankruptcy Court
pursuant to section 1128(a) of the Bankruptcy Code to consider confirmation of the Plan, as such
hearing may be adjourned or continued from time to time.
       35.    “Confirmation Order” means the order of the Bankruptcy Court confirming the
Plan pursuant to section 1129 of the Bankruptcy Code in form and substance acceptable to the
Required Consenting Creditors.
        36.    “Convenience Claim” means any Claim that would otherwise be a General
Unsecured Claim that is in an amount of $5,000 or less; provided that a holder of a General
Unsecured Claim that is in an amount greater than $5,000 may irrevocably elect, as evidenced on
the Class 4 Ballot (as defined in the Order (A) Approving the Disclosure Statement; (B)
Establishing the Voting Record Date, Voting Deadline, and Other Deadlines; (C) Approving
Procedures for Soliciting, Receiving, and Tabulating Votes on the Plan and for Filing Objections
to the Plan; (D) Approving the Manner and Forms of Notice and Other Related Documents; and
(E) Granting Related Relief [Docket No. 438] timely and validly submitted by such holder (or
other writing acceptable to the Debtors), to have such Claim irrevocably reduced to $5,000 and
treated as a Convenience Claim (upon Allowance) for purposes of the Plan; provided further that
a General Unsecured Claim may not be subdivided into multiple Convenience Claims.


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       37.    “Cure Cost” means all amounts, including an amount of $0.00, required to cure
any monetary defaults under any Executory Contract or Unexpired Lease (or such lesser amount
as may be agreed upon by the parties to an Executory Contract or Unexpired Lease) that is to be
assumed by the Debtors pursuant to sections 365 or 1123 of the Bankruptcy Code.
        38.    “D&O Liability Insurance Policies” means, collectively, all insurance policies
(including any “tail policies” and all agreements, documents, or instruments related thereto) issued
at any time to or providing coverage to of any of the Debtors for current or former directors’,
managers’, and officers’ liability.
        39.    “Debtor Professionals” means Persons or firms retained by the Debtors pursuant
to section 327, 328, or 363 of the Bankruptcy Code, including Latham & Watkins LLP, Young
Conaway Stargatt & Taylor, LLP, Alvarez & Marsal North America, LLC, Ducera Partners LLC,
Kroll Restructuring Administration LLC, KPMG LLP, and Vinson and Elkins LLP.

        40.     “Debtor Release” means the releases set forth in Article IX.B of the Plan.
       41.      “DIP Agent” means VIL or any successor thereto, in its capacities as administrative
and collateral agent under the DIP Facility.
         42.  “DIP Credit Agreement” means that certain Senior Secured Superpriority Debtor-
in-Possession Term Loan Credit Agreement, dated as of April 6, 2023, as amended by that first
amendment, dated as of May 1, 2023, as further amended by that second amendment, dated as of
May 15, 2023, as further amended by that third amendment, dated as of June 1, 2023, and as may
be amended, supplemented, or modified from time to time, among the Debtors and the DIP Secured
Parties.
        43.    “DIP Facility” means certain credit facilities the terms of which are governed by
the DIP Credit Agreement and agreements entered into in connection therewith, all as approved
by the DIP Orders (as may be amended, modified, ratified, extended, renewed, restated or replaced
from time to time in accordance with the DIP Credit Agreement and the DIP Orders).
       44.     “DIP Facility Claim” means any Claim held by the DIP Secured Parties derived
from or based upon the DIP Facility or the DIP Orders, including claims for all principal amounts
outstanding, interest, fees, and expenses under the DIP Facility. For the avoidance of doubt, the
“DIP Facility Claims” shall include all Obligations (as defined in the DIP Credit Agreement).
        45.     “DIP Lenders” means the lenders party to the DIP Credit Agreement from time to
time.
        46.     “DIP Loans” means the New Money DIP Loans and the DIP Roll-Up Loans.
       47.     “DIP Orders” means, collectively, the Interim DIP Order and the Final DIP Order,
as such orders may be modified from time to time in accordance with the terms thereof.
      48.       “DIP Roll-Up Loans” means the “Roll-Up Loans” as defined in the DIP Credit
Agreement.
      49.       “DIP Secured Parties” means the “Secured Parties” as defined in the DIP Credit
Agreement.
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        50.    “Disclosure Statement” means the disclosure statement for the Plan, including all
exhibits and schedules thereto, as amended, supplemented, or modified from time to time, that is
prepared and distributed in accordance with sections 1125, 1126(b), and 1145 of the Bankruptcy
Code, Bankruptcy Rule 3018, and other applicable law.
       51.    “Disclosure Statement Order” means the order of the Bankruptcy Court
approving the Disclosure Statement in form and substance acceptable to the Required Consenting
Creditors.
        52.     “Dismissal Motion” means a motion filed by the Debtors to seek entry of order(s)
by the Bankruptcy Court that, among other things, (i) approves procedures for (a) the dismissal of
these Chapter 11 Cases; (b) the reconciliation, resolution, and allowance or disallowance of certain
claims against the Debtors; and (c) the abandonment of certain property; (ii) approves distributions
on account of allowed administrative claims and secured claims; (iii) dismisses the Chapter 11
Cases and authorizes the dissolution of the Debtors in accordance with applicable state law; and
(iv) grants related relief.
        53.     “Dismissal Order” means the order(s) entered by the Bankruptcy Court granting
the relief sought in the Dismissal Motion.
        54.    “Disputed” means, with respect to any Claim or Equity Interest, except as
otherwise provided herein, a Claim or Equity Interest that is (i) listed on the Schedules as
unliquidated, disputed, and/or contingent for which no proof of claim in a liquidated and non-
contingent amount has been filed; or (ii) that is the subject of an objection or request for estimation
Filed by any of the Debtors, the Plan Administrator or the Litigation Trustee or any other party-
in-interest in accordance with applicable law and which objection or request has not been
withdrawn, resolved, or overruled by a Final Order of the Bankruptcy Court.
        55.     “Distributable Proceeds” means all Cash of the Debtors on or after the Effective
Date, other than GUC Distributable Proceeds (if Class 4 votes to accept the Plan), including the
proceeds of any retained Causes of Action of the Estates, any Sale Transaction Proceeds not
previously distributed under a 363 Sale Order and the proceeds of all non-Cash assets of the
Debtors’ Estates, after giving effect to: (i) the satisfaction of all Administrative Claims (other than
DIP Facility Claims), Priority Tax Claims, Other Priority Claims, and Other Secured Claims in
accordance with the Plan, in each case to the extent Allowed against the Debtors; (ii) the funding
of the Professional Fee Escrow Account; (iii) the funding of the Wind-Down Amount; and (iv) the
funding of the GUC Cash-Out Pool (if Class 4 votes to accept the Plan). For the avoidance of
doubt, any proceeds of a 363 Sale Transaction distributed prior to the Effective Date shall not be
considered Distributable Proceeds.
       56.     “Distribution Agent” means the Debtors or any Entity or Entities chosen by the
Debtors, with the consent of the Required Consenting Creditors, which Entities may include one
or more of the Notice and Claims Agent, the Plan Administrator, and the Litigation Trustee, to
make or to facilitate distributions required by the Plan.
         57.     “Distribution Record Date” means, except with respect to Holders of the Debtors
publicly traded securities, the date for determining which Holders of Claims are eligible to receive
initial distributions under the Plan, which date shall be the Effective Date or such other date as is
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agreed to by the Debtors and the Required Consenting Creditors or designated in a Final Order.
The Distribution Record Date shall not apply to any Holders of the Debtors publicly traded
securities.
        58.     “DTC” means The Depository Trust Company.
         59.     “Effective Date” means the date on which: (a) no stay of the Confirmation Order
is in effect; and (b) all conditions specified in Article VIII.A and C of the Plan have been
(i) satisfied or (ii) waived pursuant to Article VIII.D of the Plan.
        60.     “Entity” means an entity as defined in section 101(15) of the Bankruptcy Code.
        61.     “Equity Interest” means any issued, unissued, authorized, or outstanding shares
of common stock, preferred stock, or other instrument evidencing an ownership interest in a
Debtor, whether or not transferable, together with any warrants, equity-based awards, or
contractual rights to purchase or acquire such interests at any time and all rights arising with respect
thereto that existed immediately before the Effective Date; provided that Equity Interest does not
include any Intercompany Interest.
       62.    “Estate” means, as to each Debtor, the estate created for such Debtor in its Chapter
11 Case pursuant to sections 301 and 541 of the Bankruptcy Code.
       63.    “Estate Tax Refunds” means any tax refunds due to the Estates (excluding any
refunds on account of the taxes paid during the Chapter 11 Cases).
       64.     “Estimated Allowed Administrative Claims” means the Debtors’ reasonable
estimate, acceptable to the Required Consenting Creditors, of the aggregate amount of Allowed
Administrative Claims, including those Administrative Claims that may be Allowed following the
Administrative Claims Bar Date.
        65.     “Exculpated Party” means (a) the Debtors; (b) the Committee and each of its
current and former members; and (c) with respect to each of the foregoing in clauses (a) and (b),
solely to the extent they are estate fiduciaries, each such Entity’s current and former affiliates,
subsidiaries, officers, directors (including any sub-committee of directors), managers, principals,
members (including ex officio members and managing members), employees, agents, advisory
board members, financial advisors, partners, attorneys, accountants, investment bankers,
consultants, representatives, and other professionals, each in their capacity as such on or after the
Petition Date and prior to or on the Effective Date.
        66.     “Exculpation” means the exculpation provision set forth in Article IX.D of this
Plan.
        67.      “Executory Contract” means a contract to which one or more of the Debtors is a
party that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.
       68.     “Existing 363 Sale Orders” means, collectively, (a) the Order (I) Authorizing and
Approving the Debtors’ Entry into an Asset Purchase Agreement with Rocket Lab USA, Inc., (II)
Authorizing the Sale of the Purchased Assets Free and Clear of All Encumbrances, (III) Approving
the Assumption and Assignment of the Assumed Real Property Lease, and (IV) Granting Related
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Relief [Docket No. 364]; (b) the Order (I) Authorizing and Approving the Debtors’ Entry into the
Purchase Agreement with Stratolaunch, LLC and (II) Authorizing the Sale of Certain Purchased
Assets Free and Clear of All Encumbrances, and (III) Granting Related Relief [Docket No. 365];
(c) the Order (I) Authorizing and Approving the Debtors’ Entry into the McGowen Asset Purchase
Agreement with Inliper Acquisition, LLC and Liquidity Services Operations, LLC (II) Authorizing
the Sale of the Purchased Assets to Inliper Acquisition, LLC and Liquidity Services Operations,
LLC Free and Clear of All Liens, Claims and Encumbrances (Other Than Certain Assumed
Liabilities), and (III) Granting Related Relief [Docket No. 378]; (d) the Order (I) Authorizing and
Approving the Debtors’ Entry into the Mojave Asset Purchase Agreement with Launcher Inc. (II)
Authorizing the Sale of the Purchased Assets to Launcher Inc. Free and Clear of All Liens, Claims
and Encumbrances (Other Than Certain Assumed Liabilities), (III) Authorizing and Approving the
Assumption and Assignment of Mojave Air & Space Port Real Property Lease (and Such Other
Executory Contracts and Unexpired Leases as May Be Identified in Accordance with the Mojave
Asset Purchase Agreement) Including the Proposed Cure Amounts, if Any, Associated Therewith,
and (IV) Granting Related Relief [Docket No. 379]; and (e) if entered prior to the Confirmation
Date, Order (I) Authorizing and Approving the Debtors’ Entry into the Firefly Asset Purchase
Agreement with Firefly Aerospace, Inc., (II) Authorizing the Sale of Certain Purchased Assets
Free and Clear of All Claims, (III) Granting Related Relief.
        69.    “FAA” means the Federal Aviation Administration of the Department of
Transportation of the United States of America and any successor that under the laws of the United
States of America shall from time to time have control or supervision of civil aviation in the United
States of America or have jurisdiction over the registration, airworthiness or operation of, or other
matters relating to, any aircraft or engine.
       70.    “File,” “Filed,” or “Filing” means file, filed, or filing in the Chapter 11 Cases with
the Bankruptcy Court or, with respect to the filing of a Proof of Claim, the Notice and Claims
Agent or the Bankruptcy Court.
       71.     “Final DIP Order” means the Final Order (I) Authorizing Debtors to (A) Obtain
Postpetition Financing and (B) Use Cash Collateral, (II) Granting Liens and Providing Claims
with Superpriority Administrative Expense Status, (III) Granting Adequate Protection to the
Prepetition Secured Party, (IV) Modifying the Automatic Stay, (V) Scheduling a Final Hearing
and (VI) Granting Related Relief [Docket No. 202].
        72.     “Final Order” means an order or judgment of the Bankruptcy Court or other court
of competent jurisdiction with respect to the relevant subject matter that has not been reversed,
stayed, modified, or amended, and as to which the time to appeal, seek reconsideration under Rule
59(b) or 59(e) of the Federal Rules of Civil Procedure, seek a new trial, reargument, or rehearing
and, where applicable, petition for certiorari has expired and no appeal, motion for reconsideration
under Rule 59(b) or 59(e) of the Federal Rules of Civil Procedure, motion for a new trial,
reargument or rehearing or petition for certiorari has been timely taken, or as to which any appeal
that has been taken or any petition for certiorari that has been or may be filed has been resolved
by the highest court to which the order or judgment was appealed or from which certiorari was
sought, or as to which any motion for reconsideration that has been filed pursuant to Rule 59(b) or
59(e) of the Federal Rules of Civil Procedure or any motion for a new trial, reargument, or
rehearing shall have been denied, resulted in no modification of such order, or has otherwise been

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dismissed with prejudice; provided that the possibility that a motion pursuant to Rule 60 of the
Federal Rules of Civil Procedure or Bankruptcy Rule 9024, or any analogous rule, may be filed
relating to such order or judgment shall not cause such order or judgment not to be a Final Order.
       73.   “Future 363 Sale Orders” means one or more orders of the Bankruptcy Court
approving the sale of any assets of the Debtors’ Estates pursuant to section 363(b) of the
Bankruptcy Code in form and substance acceptable to the Required Consenting Creditors.
        74.     “General Administrative Claim” means any Administrative Claim, other than
(a) a Professional Fee Claim, (b) a DIP Facility Claim, or (c) a Claim for fees and charges assessed
against the Estates under chapter 123 of title 28 United States Code, 28 U.S.C. §§ 1911-1930.
        75.    “General Unsecured Claim” means any unsecured Claim (other than an
Administrative Claim, a Priority Tax Claim, an Other Priority Claim, a Convenience Claim, an
Intercompany Claim, or a Subordinated Claim), including, (a) Claims arising from the rejection of
Unexpired Leases or Executory Contracts, (b) Claims arising from any litigation or other court,
administrative or regulatory proceeding, including damages or judgments entered against, or
settlement amounts owing by, a Debtor in connection therewith, (c) Claims on account of the
outstanding balance under the Yorkville Unsecured Notes, (d) Claims or any portion of such
Claims that seek damages under the WARN Act and that do not meet the requirements of section
507(a)(4) of the Bankruptcy Code, and (e) deficiency Claims arising from the DIP Facility or the
Prepetition Secured Notes to the extent the DIP Facility Claims or the Prepetition Secured Notes
Claims are not paid in full with the Distributable Proceeds or VIL Litigation Trust Interests.
       76.    “Governmental Unit” means a governmental unit as defined in section 101(27) of
the Bankruptcy Code.
        77.    “GUC Cash-Out Pool” means Cash equal to $1,100,000, which amount shall be
increased dollar for dollar by any positive difference between (a) $2,250,000 minus (b) the amount
of the Allowed Professional Fee Claims of the Committee Professionals.
        78.     “GUC Causes of Action” means (x) the Causes of Action of the Estates against
(i) Persons or Entities that provided audit services to the Debtors or (ii) Persons or Entities, based
on Chapter 5 of the Bankruptcy Code, who received transfers from the Debtors in an amount
greater than $100,000 during the 90-day period prior to the Petition Date and (y) shall exclude the
Causes of Action of the Estates against the Prepetition Secured Noteholder, the DIP Lenders, the
DIP Secured Parties and any of the current and former Affiliates, subsidiaries, officers, directors,
managers, principals, members, employees, agents, advisory board members, financial advisors,
partners, attorneys, accountants, investment bankers, consultants, representatives, and other
professionals, each in their capacity as such (unless any such Entity or related party does not
constitute a Releasing Party). For the avoidance of doubt, the Non-GUC Causes of Action are
released pursuant to Article IX.B hereof and do not constitute GUC Causes of Action.
       79.    “GUC Distributable Proceeds” means (a) 100% of the aggregate Remaining
Asset Net Proceeds from and including $0 to and including $825,000, (b) 50% of the aggregate
Remaining Asset Net Proceeds greater than $825,000 to and including $5,000,000, (c) 25% of the
aggregate Remaining Asset Net Proceeds greater than $5,000,000 to and including $7,500,000 and
(d) 0% of the aggregate Remaining Asset Net Proceeds greater than $7,500,000 plus (i) 50% of
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the Remaining Net Estate Tax Refunds from and including $0 to and including $2,500,000, (ii)
75% of the Remaining Net Estate Tax Refunds greater than $2,500,000 to and including
$5,000,000, and (iii) 80% of the Remaining Net Estate Tax Refunds greater than $5,000,000.
        80.     “GUC Litigation Trust Interests” means the uncertificated beneficial interests in
the Litigation Trust representing the right of Holders of Allowed General Unsecured Claims to
receive distributions from the Litigation Trust in accordance with the Plan and the Litigation Trust
Agreement.
       81.     “GUC Recovery” means, collectively, the GUC Cash-Out Pool, the GUC
Distributable Proceeds and the GUC Litigation Trust Interests.
       82.     “Holder” means an Entity holding a Claim or Interest.
      83.    “Impaired” means “impaired” within the meaning of section 1124 of the
Bankruptcy Code.
       84.     “Indemnification Provisions” means each of the Debtors’ indemnification
provisions in effect as of the Petition Date, whether in the Debtors’ bylaws, certificates of
incorporation, other formation documents, board resolutions, management or indemnification
agreements, employment contracts, or otherwise providing a basis for any obligation of a Debtor
to indemnify, defend, reimburse, or limit the liability of, or to advances fees and expenses to, any
of the Debtors’ current and former directors, officers, equity holders, managers, members,
employees, accountants, investment bankers, attorneys, other professionals, and professionals of
the Debtors, and such current and former directors’, officers’, and managers’ respective affiliates,
each of the foregoing solely in their capacity as such.
       85.     “Initial DIP Budget” has the meaning set forth in the DIP Credit Agreement.
       86.      “Initial Distribution Date” means the date that is on or as soon as practicable after
the Effective Date when distributions under the Plan shall commence for each Class entitled to
receive distributions.
        87.     “Insurance Contract” means all insurance policies that have been issued at any
time to or provide coverage to any of the Debtors and all agreements, documents or instruments
relating thereto, including D&O Liability Insurance Policies.
        88.    “Insurer” means any company or other entity that issued an Insurance Contract,
any third party administrator, and any respective predecessors and/or affiliates thereof.
        89.     “IP Assets” means all intellectual property assets owned by the Debtors (excluding
any intellectual property assets that were sold pursuant to the Existing Sale Orders), including for
the avoidance of doubt, the rocket engine and rocket avionics system intellectual property.
       90.     “Intercompany Claims” means, collectively, any Claim held by a Debtor or a non-
Debtor Affiliate of a Debtor against a Debtor.




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       91.     “Intercompany Interest” means any issued, unissued, authorized, or outstanding
shares of common stock, preferred stock, or other instrument evidencing an ownership interest in
a Debtor held by another Debtor or a non-Debtor Affiliate.
       92.     “Interests” means, collectively, Equity Interests and Intercompany Interests.
       93.     “Interim DIP Order” means the Interim Order (I) Authorizing Debtors to
(A) Obtain Postpetition Financing and (B) Use Cash Collateral, (II) Granting Liens and Providing
Claims with Superpriority Administrative Expense Status, (III) Granting Adequate Protection to
the Prepetition Secured Party, (IV) Modifying the Automatic Stay, (V) Scheduling a Final Hearing
and (VI) Granting Related Relief [Docket No. 71].
       94.     “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.
        95.    “Litigation Trust” means the trust described in Article IV.H hereof to be
established under Delaware trust law that, among other things, shall make distributions to Holders
of Allowed General Unsecured Claims and, with respect to Remaining Net Estate Tax Refunds,
VIL, pursuant to the terms of the Plan and the Litigation Trust Agreement. With respect to any
action required or permitted to be taken by the Litigation Trust, the term includes the Litigation
Trustee or any other Person or Entity authorized to take such action in accordance with the
Litigation Trust Agreement.
        96.    “Litigation Trustee” means the Person designated by the Committee and
reasonably acceptable to the Debtors and the Required Consenting Creditors, to administer the
Litigation Trust in accordance with the terms of the Plan, the Litigation Trust Agreement, and the
Confirmation Order.
        97.    “Litigation Trust Agreement” means the agreement establishing the Litigation
Trust in conformity with the provisions of the Plan and approved in the Confirmation Order and
entered into by the Debtors, on behalf of the beneficiaries, and the Litigation Trustee on the
Effective Date pursuant to the terms of the Plan, in form and substance acceptable to the Required
Consenting Creditors and the Committee.
        98.     “Litigation Trust Assets” means (a) the GUC Cash-Out Pool, (b) the GUC Causes
of Action, (c) the GUC Distributable Proceeds, including the portion of the GUC Distributable
Proceeds from the Remaining Net Tax Refunds, (d) Cash in an amount sufficient to fund
distributions to the Holders of Allowed Convenience Claims as set forth in Article III.B, and (e)
the right to pursue Estate Tax Refunds.
      99.      “Local Bankruptcy Rules” means the Local Rules of Bankruptcy Practice and
Procedure of the United States Bankruptcy Court for the District of Delaware.
       100. “McGowen Facility” means the facility located at 388 McGowen Street, Long
Beach, CA 90808.
      101. “New Money DIP Loans” means the new money term loans provided by the DIP
Lenders under the DIP Credit Agreement.


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      102. “Non-GUC Causes of Action” means the Causes of Action of the Estates that are
not GUC Causes of Action.
        103. “Notice and Claims Agent” means Kroll Restructuring Administration LLC, in its
capacity as noticing, claims, and solicitation agent for the Debtors, pursuant to one or more orders
of the Bankruptcy Court.
        104. “Ordinary Course Professionals Order” means any order of the Bankruptcy
Court permitting the Debtors to retain and compensate certain professionals in the ordinary course
of their businesses.
        105. “Other Priority Claim” means any Claim other than an Administrative Claim, DIP
Facility Claim, or Priority Tax Claim, entitled to priority in right of payment under section 507(a)
of the Bankruptcy Code, including any Priority WARN Act Claim.
        106. “Other Secured Claim” means any Secured Claim, other than a DIP Facility Claim
or a Prepetition Secured Notes Claim.
       107. “Periodic Distribution Date” means the first Business Day that is as soon as
reasonably practicable occurring approximately sixty (60) days after the immediately preceding
Periodic Distribution Date. The first Periodic Distribution Date shall be the Effective Date or as
soon as reasonably practicable thereafter.
        108. “Person” means a “person” as defined in section 101(41) of the Bankruptcy Code
and also includes any natural person, corporation, general or limited partnership, limited liability
company, firm, trust, association, government, governmental agency or other Entity, whether
acting in an individual, fiduciary or other capacity.
       109. “Petition Date” means the date on which each of the Debtors commenced the
Chapter 11 Cases.
        110. “Plan” means this joint plan under chapter 11 of the Bankruptcy Code, either in its
present form or as it may be altered, amended, modified, or supplemented from time to time in
accordance with the Bankruptcy Code, the Bankruptcy Rules, and the terms hereof, as the case
may be, including all schedules and exhibits, and the Plan Supplement, which is incorporated
herein by reference, including all exhibits and schedules hereto and thereto.
        111. “Plan Administration Agreement” means the liquidating agreement to be entered
into by and among the Debtors and the Plan Administrator regarding administration of the
administration process of this Plan, which agreement shall be included in the Plan Supplement and
shall be in form and substance reasonably acceptable to the Required Consenting Creditors.
        112. “Plan Administrator” means the person or entity, or any successor thereto, who,
on and after the Effective Date and shall have the rights, powers, and duties set forth in this Plan.
The identity and compensation of the Plan Administrator shall be agreed to by the Debtors and the
Required Consenting Creditors and shall be set forth in the Plan Supplement. For the avoidance of
doubt, any successor to the Plan Administrator shall be agreed to by the Debtors and the Required
Consenting Creditors.

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        113. “Plan Supplement” means a supplement or supplements to the Plan containing
certain documents and forms of documents, schedules and exhibits, relevant to the implementation
of the Plan, to be filed with the Bankruptcy Court, as amended, modified or supplemented from
time to time in accordance with the Bankruptcy Code and the Bankruptcy Rules, which may
include the following documents: (a) the Assumed Contracts List; (b) a list of retained Causes of
Action; (c) the identity of the Plan Administrator and the terms of compensation of the Plan
Administrator; (d) the Plan Administration Agreement; (e) the identity of the Litigation Trustee
and the terms of compensation of the Litigation Trustee; (f) the Litigation Trust Agreement (either
on a standalone basis or as part of the Plan Administration Agreement); and (g) the Wind-Down
Budget. The Plan Supplement shall be in form and substance acceptable to the Required
Consenting Creditors.
        114. “Plan Supplement Filing Date” means the date that is at least seven (7) days prior
to the Voting Deadline.
       115. “Prepetition Secured Noteholder” means the Holder of any Prepetition Secured
Notes Claims.
       116. “Prepetition Secured Notes Claims” means any and all Claims arising under,
derived from, or based upon the Prepetition Secured Notes.
        117. “Prepetition Secured Notes” means, collectively, (a) that certain Senior Secured
Convertible Note, dated as of November 4, 2022; (b) that certain Senior Secured Convertible Note,
dated as of December 19, 2022; (c) that certain Senior Secured Convertible Note, dated as of
January 30, 2023; (d) that certain Senior Secured Convertible Note, dated as of February 28, 2023;
and (e) that certain Senior Secured Convertible Note, dated as of March 30, 2023, each between
Virgin Orbit Holdings, Inc. and VIL and each as secured by that certain security agreement dated
as of January 30, 2023 between the Debtors and Virgin Investments Limited.
        118. “Priority Tax Claim” means a Claim of a Governmental Unit of the kind specified
in section 507(a)(8) of the Bankruptcy Code.
      119. “Priority WARN Act Claim” means a Claim or any portion of a Claim that seeks
damages under the WARN Act and that meets the requirements of section 507(a)(4) of the
Bankruptcy Code.
      120. “Pro Rata Share” means, with respect to any distribution on account of an
Allowed Claim, a distribution equal in amount to the ratio (expressed as a percentage) that the
amount of such Allowed Claim bears to the aggregate amount of all Allowed Claims in its Class.
       121. “Professional Fee Claim” means a Claim by a Retained Professional seeking an
award by the Bankruptcy Court of compensation for services rendered or reimbursement of
expenses incurred during the Chapter 11 Cases, through and including the Effective Date, under
sections 328, 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.
      122. “Professional Fee Escrow Account” means an account funded by the Debtors with
Cash no later than the Effective Date in an amount equal to the Professional Fee Escrow Amount.


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       123. “Professional Fee Escrow Amount” means the aggregate amount of Professional
Fee Claims and other unpaid fees and expenses the Professionals have incurred or will incur in
rendering services in connection with the Chapter 11 Cases prior to and as of the Effective Date,
which shall be estimated pursuant to the method set forth in Article II.A.2 of the Plan.
       124.     “Proof of Claim” means a proof of Claim filed against any Debtor in the Chapter
11 Cases.
        125. “Reinstated” means, with respect to Claims and Interests, that the Claim or Interest
shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code.
        126. “Rejected Contracts List” means the list (as determined by the Debtors with the
consent of the Required Consenting Creditors), of Executory Contracts and/or Unexpired Leases
(including any amendments or modifications thereto), if any, that will be rejected pursuant to the
Plan.
        127. “Released Party” means, collectively, and in each case, in their respective
capacities as such: (a) the Debtors; (b) the Prepetition Secured Noteholder; (c) the DIP Lenders;
(d) the DIP Agent and any other DIP Secured Parties; (e) the Successful Bidders; and (f) with
respect to each Entity in clause (a) through (e), each such Entity’s current and former Affiliates,
subsidiaries, officers, directors, managers, principals, members, employees, agents, advisory board
members, financial advisors, partners, attorneys, accountants (except for accountants who
provided audit services to the Debtors), investment bankers, consultants, representatives, and other
professionals, each in their capacity as such (unless any such Entity or related party has opted out
of being a Releasing Party, in which case such Entity or related party, as applicable, shall not be a
Released Party).
        128. “Releasing Party” means, collectively, and in each case, in their respective
capacities as such: (a) the Prepetition Secured Noteholder; (b) the DIP Lenders; (c) the DIP Agent
and any other DIP Secured Parties; (d) all Holders of Claims who vote to accept the Plan; (e) all
Holders of Claims that vote to reject the Plan and who opt into the releases in the Plan; and (f)
with respect to each Entity in clause (a) through (e), each such Entity’s current and former
Affiliates, subsidiaries, officers, directors, managers, principals, members, employees, agents,
advisory board members, financial advisors, partners, attorneys, accountants, investment bankers,
consultants, representatives, and other professionals, each in their capacity as such and to the
fullest extent they would be obligated to release their claims under the principles of agency if so
directed by the Releasing Party to whom they relate. For the avoidance of doubt, the Releasing
Parties shall not include any Holders of Interests in their capacity as such.
        129. “Remaining Asset Sale” means the disposition of any non-Cash asset of the
Debtors’ Estates, excluding (a) assets subject to the Existing 363 Sale Orders, (b) all inventory
assets related to the Conant Facility and the McGowen Facility if not sold pursuant to an Existing
Sale Order prior to the Confirmation Date, and (c) all IP Assets.
       130. “Remaining Asset Net Proceeds” means the aggregate cash proceeds received by
the Debtors in respect of any Remaining Asset Sale, net of the direct costs relating to such asset
sale.


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       131. “Remaining Net Estate Tax Refunds” means the aggregate cash received by the
Debtors on account of any Estate Tax Refunds, net of any direct costs and expenses incurred in
obtaining such tax refunds.
        132. “Required Consenting Creditors” means the Required DIP Lenders and the
Prepetition Secured Noteholder.
       133.   “Required DIP Lenders” means the “Required Lenders” as defined in the DIP
Credit Agreement.
       134. “Retained Professional” means an Entity: (a) employed in the Chapter 11 Cases
pursuant to a Final Order in accordance with sections 327 and/or 1103 of the Bankruptcy Code
and to be compensated for services rendered on or prior to the Effective Date, pursuant to
sections 327, 328, 329, 330, 331, 363, or 1103 of the Bankruptcy Code or (b) awarded
compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the
Bankruptcy Code, upon a motion on notice.
      135.      “Sale Process” means the sale process conducted in accordance with the Bidding
Procedures.
        136. “Sale Transaction Proceeds” means all proceeds from the consummation of the
363 Sale Transactions that are distributable or payable to the Estates, and such proceeds may
consist of Cash, debt instruments or other non-Cash consideration.
       137.     “SEC” means the Securities and Exchange Commission.
        138. “Secured Claim” means a Claim: (a) secured by a Lien on property in which one
or more Estates has an interest, which Lien is valid, perfected, and enforceable pursuant to
applicable law or by reason of a Bankruptcy Court order, to the extent of the value of the creditor’s
interest in the Estate’s interest in such property, or (b) that is based upon a valid right of setoff
pursuant to section 553 of the Bankruptcy Code, to the extent of the amount of the setoff, as
determined pursuant to section 506(a) of the Bankruptcy Code, or (c) otherwise Allowed pursuant
to the Plan or order of the Bankruptcy Court as a secured claim.
      139. “Securities Act” means the Securities Act of 1933, as now in effect or hereafter
amended, or any regulations promulgated thereunder.
       140. “Subordinated Claim” means any Claim that is subject to subordination in
accordance with sections 510(b)-(c) of the Bankruptcy Code or otherwise.
       141. “Successful Bidder” means any Entity or Entities whose bid for certain of the
Debtors’ assets is selected by the Debtors and approved by the Bankruptcy Court as the highest
and otherwise best bid pursuant to the Bidding Procedures. For the avoidance of doubt, the
Successful Bidder may be more than one Entity, submitting one or more bids, and, if applicable,
use of the term “Successful Bidder” herein may be read as “Successful Bidders”. Where a
Successful Bidder has consent rights (or is referenced) under the Plan, such consent rights (or
reference) only apply to the extent such consent right (or reference) relates to the respective
Successful Bidder’s 363 Sale Transaction.

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       142.     “Third-Party Release” means the releases set forth in Article IX.C of the Plan.
         143. “Unexpired Lease” means a lease to which one or more of the Debtors is a party
that is subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.
        144. “Unimpaired” means, with respect to a Claim, Interest, or Class of Claims or
Interests, not “impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy
Code.
        145. “United States Trustee” means the Office of the United States Trustee for the
District of Delaware.
        146. “U.S. Trustee Fees” means all fees incurred pursuant to 28 U.S.C. § 1930(a)(6)
and, to the extent applicable, any interest assessed pursuant to 31 U.S.C. § 3717.
       147.     “VIL” mean Virgin Investments Limited.
        148. “VIL Litigation Trust Interests” means the uncertificated beneficial interests in
the Litigation Trust representing the right of the DIP Secured Parties (up to the Allowed DIP
Claims) and the Prepetition Secured Party to receive distributions from the Litigation Trust in
accordance with the Plan and the Litigation Trust Agreement, solely with respect to the Remaining
Net Estate Tax Refunds.
       149. “Voting Deadline” means 5:00 p.m. (prevailing Eastern time) on July 11, 2023,
which is the date and time set forth in the Disclosure Statement Order by which Ballots for
accepting or rejecting the Plan must be received by the Notice and Claims Agent.
       150. “Voting Record Date” means the date established as the voting record date
pursuant to the Disclosure Statement Order.
       151. “WARN Act” means the Worker Adjustment and Retraining Notification Act, 29
U.S.C. § 2101, et seq. and the California Labor Code § 1400, et seq.
        152. “WARN Settlement Agreement” means that certain Settlement and Release
Agreement dated July 24, 2023 by and among Debtor Virgin Orbit, LLC, VIL, and Class Members
(as defined therein), attached as Exhibit I to the Joint Motion for Entry of an Order (I) Approving,
on a Preliminary Basis, the Settlement Agreement and General Release of Claims with Vladimir
Boyko, on Behalf of Himself and all Others Similarly Situated, (II) Certifying a Class of Claimants
for Settlement Purposes Only, Appointing Class Counsel and a Class Representative, (III)
Approving the Form and Manner of Notice to the Class Members of the Class Certification and
Settlement, (IV) Scheduling a Fairness Hearing to Consider Final Approval of the Settlement, (V)
Approving, on a Final Basis, the Settlement After the Fairness Hearing, and (VI) Granting Related
Relief [Docket No. [  ]].
        153. “Wind Down” means the wind down and dissolution of the Debtors’ Estates as set
forth in Article IV.M.
        154. “Wind-Down Amount” means Cash in an amount to be determined by the Debtors,
with the consent of the Required Consenting Creditors, to be retained by the Debtors to wind down
the Estates and these Chapter 11 Cases in accordance with the Wind-Down Budget, which amount
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shall (a) be $500,000 as of the Effective Date, plus (b) all direct or indirect costs of any Remaining
Asset Sales conducted by the Plan Administrator (including, for the avoidance of doubt, U.S.
Trustee fees, professional and legal fees, and all other reasonable and documented fees and
expenses associated with negotiating, documenting, noticing, and closing such Remaining Asset
Sales), which amounts shall be reserved from the proceeds of the Remaining Asset Sales. The
Wind Down Amount will be funded from (i) the Sale Transaction Proceeds, (ii) any funds
remaining in the Professional Fee Escrow Account after payment in full of all Allowed
Professional Fee Claims, (iii) Cash on hand on the Effective Date, and/or (iv) any amount funded
by VIL to the extent of any shortfall in the Wind-Down Amount to consummate the Wind Down
pursuant to Article IV.E.
        155. “Wind-Down Budget” means a budget for the reasonable activities and expenses
to be incurred in winding down the Chapter 11 Cases, including the liquidation of any residual
assets and entities not transferred to the Successful Bidder, as set forth in the Plan Supplement,
which shall be in form and substance acceptable to the Required Consenting Creditors.
        156. “Yorkville Unsecured Notes” means, collectively, that certain convertible
debenture dated as of June 29, 2022 between Virgin Orbit Holdings Inc. and YA II PN, Ltd and
that certain purchase agreement dated as of March 27, 2023 between Virgin Orbit Holdings Inc.
and YA II PN, Ltd.
B.     Rules of Interpretation
         1.     For purposes herein: (a) in the appropriate context, each term, whether stated in
the singular or the plural, shall include both the singular and the plural, and pronouns stated in the
masculine, feminine or neuter gender shall include the masculine, feminine, and the neuter gender;
(b) unless otherwise specified, any reference herein to a contract, instrument, release, indenture,
or other agreement or document being in a particular form or on particular terms and conditions
means that the referenced document shall be substantially in that form or substantially on those
terms and conditions; (c) unless otherwise specified, any reference herein to an existing document
or exhibit having been filed or to be filed shall mean that document or exhibit, as it may thereafter
be amended, modified, or supplemented, as applicable; (d) unless otherwise specified, all
references herein to “Articles” are references to Articles of the Plan; (e) the words ‘‘herein,’’
“hereof,” and ‘‘hereto’’ refer to the Plan in its entirety rather than to a particular portion of the
Plan; (f) the words “include” and “including,” and variations thereof, shall not be deemed to be
terms of limitation, and shall be deemed to be followed by the words “without limitation”;
(g) references to “shareholders,” “directors,” and/or “officers” shall also include “members”
and/or “managers,” as applicable, as such terms are defined under the applicable state limited
liability company laws; (h) references to “Proofs of Claim,” “Holders of Claims,” “Disputed
Claims,” and the like shall include “Proofs of Equity Interests,” “Holders of Interests,” “Disputed
Interests,” and the like, as applicable; (i) captions and headings to Articles and subdivisions thereof
are inserted for convenience of reference only and are not intended to be a part of or to affect the
interpretation hereof; (j) unless otherwise specified herein, the rules of construction set forth in
section 102 of the Bankruptcy Code shall apply; (k) any term used in capitalized form herein that
is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall
have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the
case may be; (l) any effectuating provisions may be interpreted by the Plan Administrator in such

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a manner that is consistent with the overall purpose and intent of the Plan all without further notice
to or action, order, or approval of the Bankruptcy Court or any other Entity, and such interpretation
shall control; and (m) references to docket numbers are references to the docket numbers of
documents filed in the Chapter 11 Cases under the Bankruptcy Court’s CM/ECF system.
        2.     The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of
time prescribed or allowed herein. Unless otherwise specified herein, any references to the
Effective Date shall mean the Effective Date or as soon as reasonably practicable thereafter.
      3.      All references in the Plan to monetary figures refer to currency of the United States
of America, unless otherwise expressly provided.



 ADMINISTRATIVE CLAIMS, DIP FACILITY CLAIMS, PRIORITY TAX CLAIMS,
 OTHER PRIORITY CLAIMS AND UNITED STATES TRUSTEE STATUTORY FEES
        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims
(including Professional Fee Claims) and Priority Tax Claims have not been classified and thus are
excluded from the Classes of Claims and Interests set forth in Article III.
A.     Administrative Claims
       1.      General Administrative Claims
        Except to the extent that a Holder of an Allowed General Administrative Claim and the
applicable Debtor(s) agree to less favorable treatment with respect to such Allowed General
Administrative Claim, each Holder of an Allowed General Administrative Claim will be paid the
full unpaid amount of such Allowed General Administrative Claim in Cash: (a) on the Effective
Date or as soon as reasonably practicable thereafter or, if not then due, when such Allowed General
Administrative Claim is due or as soon as reasonably practicable thereafter; (b) if a General
Administrative Claim is Allowed after the Effective Date, on the date such General Administrative
Claim is Allowed or as soon as reasonably practicable thereafter or, if not then due, when such
Allowed General Administrative Claim is due or as soon as reasonably practicable thereafter; (c) at
such time and upon such terms as may be agreed upon by such Holder and the Debtors; or (d) at
such time and upon such terms as set forth in an order of the Bankruptcy Court; provided that any
Allowed General Administrative Claim that has been assumed by a Successful Bidder under the
applicable 363 Sale Transaction Documentation shall not be an obligation of the Debtors and shall
not be entitled to any recovery from the Estates under this Plan.
       2.      Professional Fee Claims
        All final requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred on and after the Petition Date and prior to and on the Effective
Date must be Filed no later than forty-five (45) days after the Effective Date. Any party seeking
payment of a Professional Fee Claim that arises under sections 503(b)(3), 503(b)(4) or 503(b)(5)
of the Bankruptcy Code must file a motion for approval of the same. The Bankruptcy Court shall
determine the Allowed amounts of such Professional Fee Claims after notice and a hearing in
accordance with the procedures established by the Bankruptcy Code, the Bankruptcy Rules, and
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prior Bankruptcy Court orders. The Plan Administrator shall pay Professional Fee Claims in Cash
to such Retained Professionals in the amount the Bankruptcy Court Allows from funds held in the
Professional Fee Escrow Account and in the case of the Allowed Professional Fee Claims of the
Committee Professionals, in an amount up to $2,250,000, as soon as reasonably practicable after
such Professional Fee Claims are Allowed by entry of an order of the Bankruptcy Court; provided
that the Debtors’ obligations to pay Allowed Professional Fee Claims shall not be limited or
deemed limited to funds held in the Professional Fee Escrow Account; provided further, that the
amount of Allowed Professional Fee Claims of the Committee Professionals shall not exceed
$2,250,000. To the extent that funds held in the Professional Fee Escrow Account are insufficient
to satisfy the Allowed amount of Professional Fee Claims owing to the Retained Professionals, the
Plan Administrator shall pay such amounts from Distributable Proceeds within ten (10) Business
Days after entry of the order approving such Professional Fee Claims.
         No later than the Effective Date, the Debtors shall establish and fund the Professional Fee
Escrow Account with Cash equal to the Professional Fee Escrow Amount. The Professional Fee
Escrow Account shall be maintained in trust solely for the Retained Professionals and for no other
Entities until all Professional Fee Claims Allowed by the Bankruptcy Court have been irrevocably
paid in full in Cash to the Retained Professionals pursuant to one or more orders of the Bankruptcy
Court. Except as otherwise expressly set forth in the last sentence of this paragraph, no Liens,
claims, or interests shall encumber the Professional Fee Escrow Account or Cash held in the
Professional Fee Escrow Account in any way. Before all Professional Fee Claims Allowed by the
Bankruptcy Court have been irrevocably paid in full in Cash to the Retained Professionals pursuant
to one or more orders of the Bankruptcy Court, no funds held in the Professional Fee Escrow
Account shall be property of the Estates of the Debtors or the Plan Administrator, as applicable.
When all Professional Fee Claims Allowed by the Bankruptcy Court have been irrevocably paid
in full in Cash to the Retained Professionals pursuant to one or more orders of the Bankruptcy
Court, any remaining funds held in the Professional Fee Escrow Account shall promptly revert to
the Debtors, without any further notice to or action, order, or approval of the Bankruptcy Court or
any other Entity, which amounts shall be Distributable Proceeds and promptly distributed in
accordance with the Plan.
        The Retained Professionals shall deliver to the Debtors a reasonable and good-faith
estimate of their unpaid fees and expenses incurred in rendering services to the Debtors (which
estimate may include a cushion to cover unexpected or unknown fees) before and as of the
Effective Date projected to be outstanding as of the anticipated Effective Date, and shall deliver
such estimate no later than three (3) Business Days prior to the anticipated Effective Date. For the
avoidance of doubt, no such estimate shall be considered or deemed an admission or limitation
with respect to the amount of the fees and expenses that are the subject of a Retained Professional’s
final request for payment of Professional Fee Claims Filed with the Bankruptcy Court, and such
Retained Professionals are not bound to any extent by the estimates. If a Retained Professional
does not provide an estimate, the Debtors may estimate the unpaid and unbilled fees and expenses
of such Retained Professional for inclusion in the Professional Fee Escrow Amount. The total
aggregate amount so estimated to be outstanding as of the anticipated Effective Date shall be
utilized by the Debtors to determine the amount to be funded to the Professional Fee Escrow
Account; provided that the Plan Administrator shall use Cash on hand to increase the amount of
the Professional Fee Escrow Account to the extent fee applications are Filed after the Effective
Date in excess of the amount held in the Professional Fee Escrow Account based on such estimates.
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       3.      Administrative Claims Bar Date
        All requests for payment of an Administrative Claim (other than DIP Facility Claims, Cure
Costs, Professional Fee Claims, post-petition tax claims arising under section 503(b)(1)(D) of the
Bankruptcy Code, claims arising under section 503(b)(9) of the Bankruptcy Code, or U.S. Trustee
quarterly fees payable pursuant to Article II.D below) that accrued on or before the Effective Date
must be filed with the Bankruptcy Court and served on the Plan Administrator no later than the
Administrative Claims Bar Date. If a Holder of an Administrative Claim (other than DIP Facility
Claims, Cure Costs, Professional Fee Claims, claims arising under section 503(b)(9) of the
Bankruptcy Code, or U.S. Trustee quarterly fees payable pursuant to Article II.D below) that is
required to, but does not, file and serve a request for payment of such Administrative Claim by the
Administrative Claims Bar Date, such Administrative Claim shall be forever barred, estopped, and
enjoined from asserting such Administrative Claims against the Debtors, their Estates, the
Litigation Trustee, or the Plan Administrator.
        The Plan Administrator in its discretion, may settle Administrative Claims in the ordinary
course of business without further Bankruptcy Court approval. The Debtors or the Plan
Administrator, as applicable, may also choose to object to any Administrative Claim no later than
the Claims Objection Deadline, subject to extensions by the Bankruptcy Court, agreement in
writing of the parties, or on motion of a party in interest approved by the Bankruptcy Court. Unless
the Debtors or the Plan Administrator, as applicable, (or other party with standing) objects to a
timely-filed and properly served Administrative Claim, such Administrative Claim will be deemed
Allowed in the amount requested after expiration of the Claims Objection Deadline (as may be
extended). In the event that the Debtors or the Plan Administrator objects to an Administrative
Claim, the parties may confer to try to reach a settlement and, failing that, the Bankruptcy Court
will determine whether such Administrative Claim should be allowed and, if so, in what amount.
B.     DIP Facility Claims
         The DIP Facility Claims shall be deemed Allowed as of the Effective Date in an amount
equal to the full amount due and owing under the DIP Credit Agreement, including, for the
avoidance of doubt, (a) the principal amount outstanding under the DIP Facility on such date,
(b) all interest accrued and unpaid thereon through and including the date of payment, (c) all
accrued and unpaid fees, expenses and noncontingent indemnification obligations payable under
the DIP Facility and the Final DIP Order and (d) all other “Obligations” as provided for in the DIP
Credit Agreement. On the Effective Date, each DIP Facility Claim shall be paid with the
Distributable Proceeds and the VIL Litigation Trust Interests.
        To the extent the Distributable Proceeds and the VIL Litigation Trust Interests are
insufficient to satisfy the DIP Facility Claims in full and Confirmation occurs, Holders of the DIP
Facility Claims agree not to receive any distribution on account of any resulting deficiency claims,
which claims shall be cancelled, released, and extinguished as of the Effective Date; provided that
the right to receive Distributable Proceeds and proceeds of VIL Litigation Trust Interests on
account of DIP Facility Claims and the right to credit bid such claims up to the unpaid amount of
DIP Facility Claims in connection with any sale of the Debtors' assets (whether prior to or after
the Effective Date), other than a Remaining Asset Sale, shall be preserved until all assets in the
Debtors' Estates have been liquidated.

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        All Liens and security interests granted by the Debtors to secure the obligations under the
DIP Facility shall be of no further force or effect; provided that any indemnification and expense
reimbursement obligations of the Debtors that are contingent as of the Effective Date shall survive
the Effective Date and be paid by the Debtors in Cash as and when due under the DIP Credit
Agreement; provided further that any such indemnification and reimbursement obligations shall
be consistent with the DIP Credit Agreement in all respects. For the avoidance of doubt, the DIP
Facility Claims shall not be subject to any avoidance, reduction, setoff, recoupment,
recharacterization, subordination (equitable or contractual or otherwise), counter-claim, defense,
disallowance, impairment, objection or any challenges under applicable law or regulation.
C.     Priority Tax Claims
         Except to the extent that a Holder of an Allowed Priority Tax Claim and the Debtor(s)
against which such Allowed Priority Tax Claim is asserted agree to a less favorable treatment,
each Holder of an Allowed Priority Tax Claim shall receive, at the option of the Debtors, either
(a) the full unpaid amount of such Allowed Priority Tax Claim in Cash on the later of the Effective
Date and the date on which such Priority Tax Claim becomes an Allowed Claim or as soon as
reasonably practicable thereafter (or, if not then due, when such Allowed Priority Tax Claim is
due or as soon as reasonably practicable thereafter), or (b) equal annual installment payments in
Cash, of a total value equal to the Allowed amount of such Priority Tax Claim, over a period
ending not later than five (5) years after the Petition Date, in a manner not less favorable than the
most favored nonpriority unsecured claim provided for by the Plan (other than cash payments
made to a class of creditors under section 1122(b)); provided that any Allowed Priority Tax Claim
that has been expressly assumed by a Successful Bidder under the 363 Sale Transaction
Documentation shall not be an obligation of the Debtors. Once an Allowed Priority Tax Claim has
been paid in full, any Liens securing such Allowed Priority Tax Claim shall be deemed released,
terminated, and extinguished, in each case without further notice to or order of the Bankruptcy
Court, act, or action under applicable law, regulation, order or rule, or the vote, consent,
authorization, or approval of any Person.
D.     United States Trustee Statutory Fees and Related Reporting Obligations
        All fees payable pursuant to 28 U.S.C. § 1930(a)(6) shall be paid in full in Cash when due
and payable for each quarter (including any fraction thereof) until the Chapter 11 Cases are
converted, dismissed, or closed, whichever occurs first. The Debtors shall file all monthly
operating reports due prior to the Effective Date, when they become due. After the Effective Date,
the Plan Administrator shall file with the Bankruptcy Court separate UST Form 11-PCR report for
each of the Debtors when they become due. The U.S. Trustee shall not be treated as providing any
release under the Plan. U.S. Trustee Fees are Allowed. The U.S. Trustee shall not be required to
file any proof of claim or any request for administrative expense for U.S. Trustee Fees. The
provisions of this paragraph shall control notwithstanding any other provision(s) in the Plan to the
contrary.




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         CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS
A.     Classification of Claims
        The Plan constitutes a separate chapter 11 plan for each Debtor. Except for the Claims
addressed in Article II above (or as otherwise set forth herein), all Claims and Interests are placed
in Classes for each of the applicable Debtors. The Plan consolidates Claims against all Debtors
solely for purposes of voting, Confirmation, and distribution (for instance, a General Unsecured
Claim against any Debtor is classified in Class 4, and to the extent Allowed, is entitled to share
pro rata with all other Allowed Class 4 Claims, in the treatment provided for Class 4, without any
allocation thereof among the Debtors) but not for any other purpose. In accordance with section
1123(a)(1) of the Bankruptcy Code, the Debtors have not classified Administrative Claims, DIP
Facility Claims, and Priority Tax Claims, as described in Article II.

        The categories of Claims and Interests listed below classify Claims and Interests for all
purposes, including voting, Confirmation and distribution pursuant hereto and pursuant to sections
1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems a Claim or Interest to be classified
in a particular Class only to the extent that the Claim or Interest qualifies within the description of
that Class and shall be deemed classified in a different Class to the extent that any remainder of
such Claim or Interest qualifies within the description of such different Class. A Claim or an
Interest is in a particular Class only to the extent that any such Claim or Interest is Allowed in that
Class and has not been paid or otherwise settled prior to the Effective Date.

                Summary of Classification and Treatment of Claims and Interests

          Class                  Claim                      Status         Voting Rights
            1       Other Priority Claims                 Unimpaired     Presumed to Accept
            2       Other Secured Claims                  Unimpaired     Presumed to Accept
                    Prepetition Secured Notes
            3                                              Impaired         Entitled to Vote
                    Claims
            4       General Unsecured Claims               Impaired         Entitled to Vote

            5       Convenience Claims                     Impaired         Entitled to Vote

                                                          Unimpaired     Presumed to Accept
            6       Intercompany Claims
                                                          or Impaired    or Deemed to Reject

            7       Subordinated Claims                    Impaired       Deemed to Reject
                                                          Unimpaired     Presumed to Accept
            8       Intercompany Interests
                                                          or Impaired    or Deemed to Reject
            9       Equity Interests                       Impaired       Deemed to Reject



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B.      Treatment of Claims and Interests
        1.      Class 1 — Other Priority Claims
     a) Classification: Class 1 consists of all Other Priority Claims.
     b) Treatment: On the Effective Date, (i) except in the case of Allowed Priority WARN Act
        Claims (the Holders of which shall receive treatment pursuant to the WARN Settlement
        Agreement) and (ii) except to the extent that a Holder of an Allowed Other Priority Claim
        and the Debtor against which such Allowed Other Priority Claim is asserted agree to less
        favorable treatment for such Holder, each Holder thereof shall receive payment in full in
        Cash or other treatment rendering such Claim Unimpaired. Any Allowed Other Priority
        Claim that has been expressly assumed by the applicable Successful Bidder under the
        applicable 363 Sale Transaction Documentation shall not be an obligation of the Debtors.
     c) Voting: Class 1 is Unimpaired and Holders of Class 1 Other Priority Claims are
        conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
        Bankruptcy Code. Therefore, Holders of Class 1 Other Priority Claims are not entitled to
        vote to accept or reject the Plan.
        2.      Class 2 — Other Secured Claims
     a) Classification: Class 2 consists of all Other Secured Claims.
     b) Treatment: On the Effective Date, except to the extent that a Holder of an Allowed Other
        Secured Claim and the Debtor against which such Allowed Other Secured Claim is
        asserted, with the consent of the Required Consenting Creditors, agree to less favorable
        treatment for such Holder, each allowed Other Secured Claim shall, at the option of the
        applicable Debtor (i) be paid in full in Cash, (ii) receive the collateral securing its allowed
        Other Secured Claim, or (iii) receive any other treatment that would render such Claim
        Unimpaired. Any Allowed Other Secured Claim that has been expressly assumed by the
        applicable Successful Bidder under the applicable 363 Sale Transaction Documentation
        shall not be an obligation of the Debtors.
     c) Voting: Class 2 is Unimpaired and Holders of Class 2 Other Secured Claims are
        conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
        Bankruptcy Code. Therefore, Holders of Class 2 Other Secured Claims are not entitled to
        vote to accept or reject the Plan.
        3.      Class 3 — Prepetition Secured Notes Claims
     a) Classification: Class 3 consists of Prepetition Secured Notes Claims.
     b) Allowance: On the Effective Date, the Prepetition Secured Notes Claims shall be Allowed
        in the aggregate principal amount of $28,400,000 plus accrued and unpaid interest on such
        principal amount (including interest accrued from the Petition Date through the Effective
        Date if permitted under the Bankruptcy Code) and all other amounts due and owing under
        the Prepetition Secured Notes (including professional fees and expenses incurred by the
        Prepetition Secured Noteholder).
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c) Treatment: unless the Prepetition Secured Noteholder agrees to a less favorable treatment),
   on the Effective Date, the Prepetition Secured Noteholder shall receive (i) all Distributable
   Proceeds remaining after payment in full in Cash of the DIP Claims pursuant to Article
   II.B up to the Allowed amount of the Prepetition Secured Notes Claims; (ii) the VIL
   Litigation Trust Interests; and (iii) the rights to all IP Assets. If Confirmation occurs, to the
   extent the Distributable Proceeds and the VIL Litigation Trust Interest are insufficient to
   satisfy the Prepetition Secured Notes Claims in full, the Prepetition Secured Noteholder
   agrees not to receive any distribution on account of any resulting deficiency claims and
   shall not receive a Pro Rata Share of the GUC Recovery on account of such deficiency
   claims; provided that notwithstanding anything to the contrary herein, the right to receive
   Distributable Proceeds and proceeds of the VIL Litigation Trust Interests on account of
   such Prepetition Secured Notes Claims and the right to credit bid such claims up to the
   unpaid amount of Prepetition Notes Claims in connection with any sale of the Debtors'
   assets (whether prior to or after the Effective Date), other than a Remaining Asset Sale,
   shall be preserved until all assets in the Debtors' Estates have been liquidated. For the
   avoidance of doubt, VIL may designate another party to receive any consideration under
   the Plan and so designates Virgin Management USA, Inc. to receive rights to all IP Assets
   on the Effective Date or such later date as agreed to between VIL and the Debtors.
d) Voting: Class 3 is Impaired. The Prepetition Secured Noteholder is entitled to vote to
   accept or reject the Plan.
   4.      Class 4 — General Unsecured Claims
a) Classification: Class 4 consists of General Unsecured Claims.
b) Allowance: On the Effective Date, General Unsecured Claims shall be Allowed in
   accordance with the procedures set forth in Article VII of this Plan.
c) Treatment: As soon as reasonably practicable after the Effective Date and consistent with
   the Litigation Trust Agreement, except to the extent that a Holder of an Allowed General
   Unsecured Claim agrees to less favorable treatment and subject to such Holder’s ability to
   elect Convenience Claim treatment on account of the Allowed General Unsecured Claim
   (in lieu of the GUC Recovery):
                i. If Class 4 votes to accept the Plan, each Holder of an Allowed General
                   Unsecured Claim shall receive its Pro Rata Share of the GUC Recovery
                   (including the GUC Litigation Trust Interests); or
               ii. If Class 4 votes to reject the Plan, each General Unsecured Claim Holder
                   shall receive no distribution on account of its General Unsecured Claim and
                   the Debtors may seek approval of the Dismissal Motion or conversion of
                   these Chapter 11 Cases to Chapter 7 of the Bankruptcy Code.
d) Voting: Class 4 is Impaired and Holders of Class 4 General Unsecured Claims are entitled
   to vote to accept or reject the Plan.



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   5.      Class 5 — Convenience Claims
a) Classification: Class 5 consists of Convenience Claims.
b) Treatment: As soon as reasonably practicable after the Effective Date and consistent with
   the Litigation Trust Agreement, each Holder of an Allowed Convenience Claim shall
   receive:
               i. If the aggregate amount of all Allowed Convenience Claims does not
                  exceed $500,000, Cash in an amount equal to 50% of such Holder’s
                  Allowed Convenience Claim.
               ii. If the aggregate amount of all Allowed Convenience Claims exceeds
                   $500,000, its Pro Rata Share of $250,000.
c) Voting: Class 5 is Impaired and Holders of Class 5 Convenience Claims are entitled to
   vote to accept or reject the Plan.
   6.      Class 6 — Intercompany Claims
a) Classification: Class 6 consists of all Intercompany Claims.
b) Treatment: Notwithstanding any other provision of the Plan, on the Effective Date, except
   to the extent that a Holder of an Allowed Intercompany Claim and the Debtor against which
   such Allowed Intercompany Claim is asserted agree to less favorable treatment for such
   Holder, each Holder of an Allowed Intercompany Claim shall receive no distribution under
   the Plan, and all Intercompany Claims shall be adjusted, Reinstated, or eliminated in the
   applicable Debtor’s discretion, unless otherwise agreed to by the Debtors and the
   applicable Successful Bidder in connection with one or more 363 Sale Transactions.
c) Voting: Class 6 is either (i) Unimpaired and Holders of Class 6 Intercompany Claims are
   conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
   Bankruptcy Code or (ii) Impaired and not receiving any distribution under the Plan and
   Holders of Class 6 Intercompany Claims are deemed to have rejected the Plan pursuant to
   section 1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Class 6
   Intercompany Claims are not entitled to vote to accept or reject the Plan.
   7.      Class 7 — Subordinated Claims
a) Classification: Class 7 consists of all Subordinated Claims
b) Treatment: Allowed Subordinated Claims, if any, shall be cancelled, released, and
   extinguished as of the Effective Date, and will be of no further force or effect, and Holders
   of Allowed Subordinated Claims will not receive any distribution on account of such
   Allowed Subordinated Claims.
a) Voting: Class 7 is Impaired and Holders of Class 7 Subordinated Claims are deemed to
   have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,
   Holders of Class 7 Subordinated Claims are not entitled to vote to accept or reject the Plan.

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        8.      Class 8 — Intercompany Interests
     a) Classification: Class 8 consists of all Intercompany Interests.
     b) Treatment: On the Effective Date, except to the extent that a Holder of an Allowed
        Intercompany Interest and the Debtor against which such Allowed Intercompany Interest
        is asserted agree to less favorable treatment for such Holder, each Holder of an Allowed
        Intercompany Interest shall receive no distribution under the Plan, and all Intercompany
        Interests shall be adjusted, Reinstated, or eliminated in the applicable Debtor’s discretion,
        unless otherwise agreed to by the Debtors and the applicable Successful Bidder in
        connection with one or more 363 Sale Transactions.
     c) Voting: Class 8 is either (i) Unimpaired and Holders of Class 8 Intercompany Interests are
        conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
        Bankruptcy Code or (ii) Impaired and not receiving any distribution under the Plan and
        Holders of Class 8 Intercompany Interests are deemed to have rejected the Plan pursuant
        to section 1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Class 8
        Intercompany Interests are not entitled to vote to accept or reject the Plan.
        9.      Class 9 — Equity Interests
     a) Classification: Class 9 consists of all Equity Interests.
     b) Treatment: Holders of Equity Interests shall receive no distribution on account of their
        Equity Interests. On the Effective Date, all Equity Interests will be canceled and
        extinguished and will be of no further force or effect.
     c) Voting: Class 9 is Impaired and Holders of Class 9 Equity Interests are deemed to have
        rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders
        of Class 9 Equity Interests are not entitled to vote to accept or reject the Plan.
C.      Special Provision Governing Unimpaired Claims
         Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’
or the Plan Administrator’s, as applicable, rights in respect of any Unimpaired Claim, including
all rights in respect of legal and equitable defenses to, or setoffs or recoupments against, any such
Unimpaired Claim; provided that, for the avoidance of doubt, notwithstanding anything to the
contrary in the Plan or the Confirmation Order or any related documents, (a) the provisions of
Articles IV.A, IX.A, IX.C, IX.D, and IX.F of the Plan shall not apply with respect to any
Unimpaired Claim and (b) such Unimpaired Claim shall not be deemed settled, satisfied, resolved,
released, discharged, barred or enjoined by any provision of the Plan.
D.      Nonconsensual Confirmation
       Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation
by acceptance of the Plan by an Impaired Class of Claims, determined without including any
acceptance of the Plan by any insider. The Debtors shall seek Confirmation pursuant to section
1129(b) of the Bankruptcy Code with respect to any rejecting Class of Claims or Interests.


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E.     Subordination

        The allowance, classification, and treatment of all Allowed Claims and Interests, and the
respective distributions and treatments under the Plan, shall take into account and conform to the
relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal, and equitable subordination rights relating thereto, whether arising under
general principles of equitable subordination, section 510 of the Bankruptcy Code, or otherwise.
Pursuant to section 510 of the Bankruptcy Code, except where otherwise provided herein, the Plan
Administrator, the Debtors, and the Litigation Trustee reserve the right to re-classify any Allowed
Claim or Interest in accordance with any contractual, legal, or equitable subordination rights
relating thereto.
F.     Elimination of Vacant Classes
       Any Class of Claims that is not occupied as of the date of commencement of the
Confirmation Hearing by the Holder of an Allowed Claim or a Claim temporarily Allowed under
Bankruptcy Rule 3018 (i.e., no Ballots are cast in a Class entitled to vote on the Plan) shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for
purposes of determining acceptances or rejection of the Plan by such Class pursuant to section
1129(a)(8) of the Bankruptcy Code.
G.     Intercompany Claims
       To the extent Reinstated under the Plan, any distributions on account of Intercompany
Claims are not being received by Holders of such Intercompany Claims on account of their
Intercompany Claims but for the purposes of administrative convenience and due to the importance
of maintaining the corporate structure given the various foreign affiliate-subsidiaries of the
Debtors to preserve ordinary course intercompany operations and in exchange for the Debtors’ or
the Plan Administrator’s, as applicable, agreement under the Plan to make certain distributions to
the Holders of Allowed Claims.



                     MEANS FOR IMPLEMENTATION OF THE PLAN
A.     Corporate Existence
        Except as otherwise provided in the Plan, each Debtor shall continue to exist after the
Effective Date as a separate corporate Entity, limited liability company, partnership, or other form,
as the case may be, with all the powers of a corporation, limited liability company, partnership, or
other form, as the case may be, pursuant to the applicable law in the jurisdiction in which each
Debtor is incorporated or formed and pursuant to the respective certificate of incorporation and
bylaws (or other formation documents) in effect prior to the Effective Date, except to the extent
such certificate of incorporation and bylaws (or other formation documents) are amended by the
Plan, by the Debtors, or otherwise, and to the extent such documents are amended, such documents
are deemed to be amended pursuant to the Plan and require no further action or approval.


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B.     Indemnification Obligations
        Subject to the last sentence of this paragraph, any obligations of the Debtors pursuant to
their organizational documents, including amendments, entered into any time prior to the Effective
Date, to indemnify, reimburse, or limit the liability of any Person pursuant to the Debtors’
organizational documents, policy of providing employee indemnification, applicable state law, or
specific agreement in respect of any claims, demands, suits, causes of action, or proceedings
against such Persons based upon any act or omission related to such Persons’ service with, for, or
on behalf of the Debtors prior to the Effective Date with respect to all present and future actions,
suits, and proceedings relating to the Debtors shall survive Confirmation of the Plan and except as
set forth herein, remain unaffected thereby, and shall not be discharged, irrespective of whether
such defense, indemnification, reimbursement, or limitation of liability accrued or is owed in
connection with an occurrence before or after the Petition Date; provided, however, that all
monetary obligations under this provision shall be limited solely to available insurance coverage
and neither the Plan Administrator nor any of the assets thereof shall be liable for any such
obligations.
       Any Claim based on the Debtors’ indemnification obligations shall not be a Disputed Claim
or subject to any objection under Bankruptcy Code section 502(e)(1)(B). The Debtors’
indemnification obligations shall not apply to or cover any Claims, suits, or actions against a
Person that result in a Final Order determining that such Person is liable for fraud, willful
misconduct, gross negligence, bad faith, self-dealing, or breach of the duty of loyalty.
C.     Cancellation of Agreements and Equity Interests
        Except as otherwise provided for in the Plan, on the later of the Effective Date and the date
on which the relevant distributions are made pursuant to Article VI: (i) the obligations of the
Debtors under the DIP Credit Agreement, the Prepetition Secured Notes, the Yorkville Unsecured
Notes and any other note, bond, indenture, or other instrument or document directly or indirectly
evidencing or creating any indebtedness of the Debtors; and (ii) any certificate, equity security,
share, purchase right, option, warrant, or other instrument or document directly or indirectly
evidencing or creating an ownership interest in the Debtors (except, in each case, such certificates,
notes or other instruments or documents evidencing indebtedness or obligation of or ownership
interest in the Debtors that are Reinstated pursuant to the Plan), shall be cancelled as to the Debtors
and their Affiliates, and they shall not have any continuing obligations thereunder; and (b) the
obligations of the Debtors and their Affiliates pursuant, relating or pertaining to any agreements,
indentures, certificates of designation, bylaws or certificate or articles of incorporation or similar
documents governing the shares, certificates, notes, bonds, indentures, purchase rights, options, or
other instruments or documents evidencing or creating any indebtedness or obligation of or
ownership interest in the Debtors (except such agreements, certificates, notes or other instruments
evidencing indebtedness or obligation of or ownership interest in the Debtors that are specifically
Reinstated or entered into pursuant to the Plan) shall be released; except that:
           1.      the DIP Facility shall continue in effect solely for the purpose of: (a) allowing
                   the DIP Lenders to receive distributions from the Debtors under the Plan as set
                   forth in Article VI of the Plan; (b) preserving the DIP Lenders’ right to all
                   amounts due under the DIP Credit Agreement and DIP Orders; and (c)

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                   preserving the DIP Lenders’ right to indemnification from the Debtors pursuant
                   and subject to the terms of the DIP Facility; and
           2.      the Prepetition Secured Notes shall continue in effect solely for the purpose of:
                   (a) allowing the Prepetition Secured Noteholder to receive distributions from
                   the Debtors under the Plan as set forth in Article VI of the Plan; (b) preserving
                   the Prepetition Secured Noteholder’s right to all amounts due under the
                   Prepetition Secured Notes; and (c) preserving the Prepetition Secured
                   Noteholder’s right to indemnification from the Debtors pursuant and subject to
                   the terms of the Prepetition Secured Notes.
D.     The UCC Settlement
        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, the Plan
incorporates and implements a compromise and settlement of numerous issues and disputes by and
among the Debtors, the Committee, the Prepetition Secured Noteholder, and the DIP Lenders
designed to achieve a reasonable and effective resolution of the Chapter 11 Cases (the “UCC
Settlement”). In exchange for the compromises contained in the Plan, including the releases,
exculpations, injunctions, and other consideration as set forth herein, and as further set forth in the
Confirmation Order, the Debtors, the Committee, the Prepetition Secured Noteholder, and the DIP
Lenders have agreed to, among other things and as set forth herein: (i) support and if applicable,
vote in favor of the Confirmation and consummation of the Plan and (ii) with respect to the
Prepetition Secured Noteholder, contribute certain amounts in Cash or other consideration to the
Debtors’ Estates for the benefit of Holders of Allowed General Unsecured Claims and Holders of
Allowed Convenience Claims. Except as otherwise expressly set forth herein, the UCC Settlement
constitutes a settlement of all potential issues and Claims between and among the Debtors, the
Committee, the Prepetition Secured Noteholder, and the DIP Lenders.
E.     Sources for Plan Distributions
        The Debtors shall fund distributions under the Plan with Cash on hand, monetization of the
Debtors’ remaining assets and, if necessary, contributions from VIL. To the extent of any shortfall,
VIL shall provide the Debtors or the Plan Administrator, as applicable, Cash in an amount
sufficient to fund (a) the Administrative Claims (other than DIP Facility Claims), Priority Tax
Claims, Other Priority Claims, and Other Secured Claims in accordance with the Plan, in each case
to the extent Allowed against the Debtors; (b) the Professional Fee Escrow Account; (c) the Wind-
Down Amount in an amount sufficient to consummate the Wind Down; and (d) the GUC Cash-
Out Pool (if Class 4 votes to accept the Plan).
F.     Exemption from Certain Transfer Taxes and Recording Fees
        To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfer
from a Debtor to any Entity pursuant to or in connection with the Plan, including: (1) the issuance,
distribution, transfer, or exchange of any debt, securities, or other interest in the Debtors; (2) the
creation, modification, consolidation, or recording of any mortgage, deed of trust or other security
interest, or the securing of additional indebtedness by such or other means; (3) the making,
assignment, or recording of any lease or sublease; or (4) the making, delivery, or recording of any
deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan,
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including any deeds, bills of sale, assignments, or other instrument of transfer executed in
connection with any transaction arising out of, contemplated by, or in any way related to the Plan,
shall not be subject to any U.S. federal, state or local document recording tax, stamp tax,
conveyance fee, intangibles, or similar tax, mortgage tax, real estate transfer tax, mortgage
recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording
fee, or other similar tax or governmental assessment, and the appropriate U.S. state or local
governmental officials or agents shall forego the collection of any such tax or governmental
assessment and to accept for filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax or governmental assessment.
G.     Plan Administrator
        On and after the Plan Effective Date, the Plan Administrator shall act for the Debtors in
the same fiduciary capacity as applicable to a board of managers, directors, and officers, subject
to the provisions hereof (and all certificates of formation, membership agreements, and related
documents are deemed amended by the Plan to permit and authorize the same). On the Effective
Date, the authority, power, and incumbency of the persons acting as managers, directors, and
officers of the Debtors shall be deemed to have terminated, the persons acting as managers,
directors, and officers of the Debtors shall be deemed to have resigned, and the Plan Administrator
shall be appointed as the sole manager and sole officer of the Debtors, and shall succeed to the
powers of the Debtors’ managers, directors, and officers. From and after the Effective Date, the
Plan Administrator shall be the sole representative of, and shall act for, the Debtors. The Plan
Administrator shall use commercially reasonable efforts to operate in a manner consistent with the
Wind-Down Budget. The Plan Administrator shall carry out any necessary functions required by
the applicable 363 Sale Transaction Documentation.
        The powers of the Plan Administrator shall include any and all powers and authority to
implement the Plan and wind down the businesses and affairs of the Debtors, in each case, without
the need for further Court approval, including: (a) selling, disposing, liquidating, receiving,
holding, investing, supervising, protecting, and abandoning the Debtors’ assets (including the
assets subject to a Remaining Asset Sale but excluding the Litigation Trust Assets), in each case
with the consent of the Required Consenting Creditors; provided that, if the Plan Administrator
seeks to abandon assets subject to Remaining Asset Sales, the Plan Administrator shall first
provide notice of offer for such assets to the Litigation Trust, such that the Litigation Trustee can
elect to have such assets deposited by the Plan Administrator to the Litigation Trust at the sole
expense of the Litigation Trust, and in the event such election is not made within two Business
Days of notice, the Plan Administrator may proceed to abandon such assets; (b) taking all steps to
execute all instruments and documents necessary to effectuate the distributions to be made under
the Plan (other than distributions to the Holders of Allowed General Unsecured Claims and
Allowed Convenience Claims); (c) making distributions as contemplated under the Plan (other
than distributions to the Holders of Allowed General Unsecured Claims and Allowed Convenience
Claims); (d) establishing and maintaining bank accounts in the name of the Debtors; (e) subject to
the terms set forth herein, employing, retaining, terminating, or replacing professionals to represent
it with respect to its responsibilities or otherwise effectuating the Plan to the extent necessary; (f)
paying all reasonable fees, expenses, debts, charges, and liabilities of the Debtors; (g)
administering and paying taxes of the Debtors, including filing tax returns; (h) representing the
interests of the Debtors before any taxing authority in all matters, including any action, suit,
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proceeding or audit; and (i) exercising such other powers as may be vested in it pursuant to order
of the Bankruptcy Court or pursuant to the Plan, or as it reasonably deems to be necessary and
proper to carry out the provisions of the Plan.
        The Plan Administrator may resign at any time upon thirty (30) days’ written notice
delivered to the Bankruptcy Court, provided that such resignation shall only become effective upon
the appointment of a permanent or interim successor Plan Administrator (who shall be acceptable
to the Required Consenting Creditors). Upon its appointment, the successor Plan Administrator,
without any further act, shall become fully vested with all of the rights, powers, duties, and
obligations of its predecessor and all responsibilities of the predecessor Plan Administrator relating
to the Debtors shall be terminated.
       1. Appointment of the Plan Administrator

        The Plan Administrator shall be appointed by the Debtors with the consent of the Required
Consenting Creditors. The Plan Administrator shall retain and have all the rights, powers, and
duties necessary to carry out its responsibilities under this Plan, and as otherwise provided in the
Confirmation Order.
       2. Retention of Professionals

       The Plan Administrator shall have the right to retain the services of attorneys, accountants,
and other professionals that, in the discretion of the Plan Administrator, are necessary to assist the
Plan Administrator in the performance of his or her duties. The reasonable fees and expenses of
such professionals shall be paid by the Debtors solely from the Wind-Down Amount, upon the
monthly submission of statements to the Plan Administrator. The payment of the reasonable fees
and expenses of the Plan Administrator’s retained professionals shall be made in the ordinary
course of business and shall not be subject to the approval of the Bankruptcy Court.
       3. Compensation of the Plan Administrator

       The Plan Administrator’s compensation, on a post-Effective Date basis, shall be as
described in the Plan Supplement.
       4. Plan Administrator Exculpation, Indemnification, Insurance, and Liability Limitation

        The Plan Administrator and all professionals retained by the Plan Administrator, each in
their capacities as such, shall be deemed indemnified, except for actual fraud, willful misconduct,
or gross negligence, in all respects by the Debtors. The Plan Administrator may obtain, at the
expense of the Debtors an solely from the Wind-Down Amount, commercially reasonable liability
or other appropriate insurance with respect to the indemnification obligations of the Debtors. The
Plan Administrator may rely upon written information previously generated by the Debtors.
         For the avoidance of doubt, notwithstanding anything to the contrary contained herein, the
Plan Administrator, in its capacity as such, shall have no liability whatsoever to any party for the
liabilities and/or obligations, however created, whether direct or indirect, in tort, contract, or
otherwise, of the Debtors, other than expressly provided for by the Plan and the Plan
Administration Agreement.

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H.      Litigation Trust
        1. Establishment and Administration of the Litigation Trust

        On the Effective Date, the Litigation Trust shall be established pursuant to the Litigation
Trust Agreement for the purpose of, among other things, (a) selling, disposing, liquidating,
receiving, holding, investing, supervising, protecting, and abandoning the Litigation Trust Assets;
(b) administering, reconciling, settling, and resolving General Unsecured Claims and Convenience
Claims; (c) taking all steps to execute all instruments and documents necessary to effectuate the
distributions to be made to Holders of Allowed General Unsecured Claims and Allowed
Convenience Claims; (d) making distributions to Holders of Allowed General Unsecured Claims,
Allowed Convenience Claims and, to the extent of Remaining Net Estate Tax Refunds, the DIP
Secured Parties and the Prepetition Secured Party; (d) retaining professionals or other advisors to
assist in the performance of its duties; and (e) making further distributions from the Litigation
Trust to Holders of Allowed General Unsecured Claims as provided for in the Plan and the
Litigation Trust Agreement. The Litigation Trust Agreement may establish certain powers, duties,
and authorities in addition to those explicitly stated herein, but only to the extent that such powers,
duties, and authorities do not affect the status of the Litigation Trust as a liquidating trust for United
States federal income tax purposes as discussed below.
        Upon execution of the Litigation Trust Agreement, the Litigation Trustee shall be
authorized to take all steps necessary to complete the formation of the Litigation Trust. The
Litigation Trust shall be administered by the Litigation Trustee in accordance with the Litigation
Trust Agreement. The Litigation Trustee shall serve as representative of the Estates under section
1123(b) for the purpose of (i) enforcing the GUC Causes of Action and (ii) administering and
distributing the Litigation Trust Assets.
        2. Litigation Trust Assets

        On the Effective Date, the Debtors shall transfer and assign to the Litigation Trust all of
their right, title, and interest in and to all of the Litigation Trust Assets, and in accordance with
Bankruptcy Code Section 1141, all such assets shall automatically vest in the Litigation Trust free
and clear of all Claims and Liens, subject only to the Allowed Claims of the Holders of GUC
Litigation Trust Interests as set forth in the Plan and the expenses of the Litigation Trust as set
forth herein and in the Litigation Trust Agreement. Thereupon, the Debtors shall no longer have
any interest in or with respect to the Litigation Trust Assets.
        In pursuing any GUC Causes of Action, the Litigation Trustee shall be entitled to the tolling
provisions provided under section 108 of the Bankruptcy Code, and shall succeed to the Debtors’
rights with respect to the periods in which any of the GUC Causes of Action may be brought under
section 546 of the Bankruptcy Code.
        In connection with the prosecution of the GUC Causes of Action, any attorney-client
privilege, work-product privilege, joint interest privilege or other privilege or immunity attaching
to any prepetition documents or communications relating to the GUC Causes of Action shall be
transferred to and shall vest in the Litigation Trust. The Litigation Trust’s receipt of such
privileges associated with the GUC Causes of Action shall not operate as a waiver of those
privileges possessed or retained by the Debtors, nor shall it operate to eliminate the rights of any
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co-defendant to any applicable joint privilege. The Litigation Trust shall also be vested with the
Debtors’ rights, as such rights existed prior to the Effective Date, to conduct discovery and oral
examinations of any party under Bankruptcy Rule 2004, provided that all costs related to satisfying
such discovery shall be funded exclusively from the GUC Recovery. The Litigation Trust,
however, shall not be considered a successor of any Debtor and shall not assume any obligations
of the Debtors other than expressly provided for by the Plan and the Litigation Trust Agreement.
        Any attorney-client privilege, work-product privilege, joint interest privilege or other
privilege or immunity held by the Committee shall be transferred to and shall vest in the Litigation
Trust. The Litigation Trust shall have access to all discovery obtained by the Committee in these
Chapter 11 Cases, including discovery obtained pursuant to Bankruptcy Rule 2004, provided that
all costs related to satisfying such discovery shall be funded exclusively from the GUC Recovery.
        Upon and following the Effective Date, the Plan Administrator shall transfer and assign to
the Litigation Trust all its right, title, and interest in and to all of the GUC Distributable Proceeds
reasonably promptly after so received, and in accordance with Bankruptcy Code Section 1141, all
such assets shall automatically vest in the Litigation Trust free and clear of all Claims and Liens,
subject only to the Allowed Claims of the Holders of GUC Litigation Trust Interests as set forth
in the Plan and the expenses of the Litigation Trust as set forth herein and in the Litigation Trust
Agreement. Thereupon, the Debtors shall no longer have any interest in or with respect to the
Litigation Trust Assets.
       3. GUC Litigation Trust Interests

        On the Effective Date, each Holder of an Allowed General Unsecured Claim shall, by
operation of the Plan, be deemed to have received its uncertificated Pro Rata Share of the GUC
Litigation Trust Interests pursuant to the terms of the Plan. Certain of the GUC Litigation Trust
Interests shall be reserved for Holders of Disputed General Unsecured Claims and issued by the
Litigation Trust to, and held by, the Litigation Trustee, pending allowance or disallowance of such
Disputed General Unsecured Claims. No other Person or Entity shall have any interest, legal,
beneficial, or otherwise, in the Litigation Trust Assets upon the assignment and transfer of such
assets to the Litigation Trust.
        As set forth in the Litigation Trust Agreement, distributions from the Litigation Trust on
account of GUC Litigation Trust Interests issued to Holders of Allowed General Unsecured Claims
shall be made from the Litigation Trust Assets after paying, reserving against, or satisfying, among
other things, the operating and administrative expenses of the Litigation Trust, including all costs,
expenses, and obligations incurred by the Litigation Trustee (or professionals who may be
employed by the Litigation Trustee in administering the Litigation Trust) in carrying out their
responsibilities to the Litigation Trust under the Litigation Trust Agreement, or in any manner
connected, incidental, or related thereto.
       The GUC Litigation Trust Interests shall be uncertificated and shall be nontransferable
except upon death of the Holder or by operation of law. Holders of GUC Litigation Trust Interests,
in such capacity, shall have no voting rights or any authority over the activities of the Litigation
Trust.


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        4. VIL Litigation Trust Interests

        On the Effective Date, VIL, in its capacity as DIP Secured Party and Prepetition Secured
Party, shall, by operation of the Plan, be deemed to have received its uncertificated VIL Litigation
Trust Interests pursuant to the terms of the Plan.
        As set forth in the Litigation Trust Agreement, distributions from the Litigation Trust on
account of VIL Litigation Trust Interests shall be made from the Litigation Trust Assets after
paying, reserving against, or satisfying, among other things, the operating and administrative
expenses of the Litigation Trust, including costs, expenses, and obligations incurred by the
Litigation Trustee (or professionals who may be employed by the Litigation Trustee in
administering the Litigation Trust) in carrying out their responsibilities to the Litigation Trust
under the Litigation Trust Agreement solely to the extent such costs or expenses are directly
applicable to the pursuit of Estate Tax Refunds.
       The VIL Litigation Trust Interests shall be uncertificated and shall be nontransferable
except upon death of the Holder or by operation of law. Holders of VIL Litigation Trust Interests,
in such capacity, shall have no voting rights or any authority over the activities of the Litigation
Trust.
        5. Appointment of a Litigation Trustee

        The identity of the Litigation Trustee shall be disclosed pursuant to a notice filed in the
Plan Supplement. The appointment of the Litigation Trustee shall be approved in the Confirmation
Order, and such appointment shall be effective as of the Effective Date. The Litigation Trustee
shall have and perform all of the duties, responsibilities, rights, and obligations set forth in the Plan
and Litigation Trust Agreement.
        6. Federal Income Tax Treatment of the Litigation Trust; Tax Reporting and Tax Payment
           Obligations

        For U.S. federal income tax purposes, it is intended that the Litigation Trust (except with
respect to the Disputed General Unsecured Claims, including any disputed ownership fund election
that might be made) be classified as a liquidating trust under Treasury Regulation Section
301.7701-4 and Revenue Procedure 94-45, 1994-2 C.B. 684, with no objective to continue or
engage in the conduct of a trade or business. Accordingly, for U.S. federal income tax purposes, it
is intended that the beneficiaries of the Litigation Trust be treated as if they had received a
distribution from the Estates of an undivided interest in each of the Litigation Trust Assets (to the
extent of the value of their respective shares therein) and then contributed such interests to the
Litigation Trust.
                        a. Litigation Trust Assets Treated as Owned by Beneficiaries of Litigation
                           Trust

        For U.S. federal income tax purposes, all parties shall treat the transfer of Litigation Trust
Assets (net of any applicable liabilities) to the Litigation Trust as (a) a transfer by the Debtors of
the Litigation Trust Assets (net of any applicable liabilities) directly to the beneficiaries of the
Litigation Trust (to the extent of the value of their respective shares in the assets of the Litigation
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Trust), followed by (b) the transfer of the Litigation Trust Assets (net of any applicable liabilities)
by the beneficiaries of the Litigation Trust (to the extent of the value of their respective share in
the assets of the Litigation Trust) to the Litigation Trust in exchange for the beneficial interests in
the Litigation Trust. Accordingly, for U.S. federal income tax purposes, the Litigation Trust shall
be treated as a grantor trust (except with respect to the Disputed General Unsecured Claims,
including any disputed ownership fund election that might be made) pursuant to sections 671 and
677 of the Internal Revenue Code, and the beneficiaries of the Litigation Trust shall be treated as
the grantors of the Litigation Trust and the owners of the Litigation Trust Assets.
                        b. Tax Reporting

        The Litigation Trust shall be responsible for filing all federal, state, local and foreign tax
returns for the Litigation Trust. The Litigation Trust shall file all tax returns for the Litigation Trust
as a grantor trust pursuant to Treasury Regulation Section 1.671-4(a) and in accordance with this
Article IV.H to the extent permitted by applicable law (except with respect to the Disputed General
Unsecured Claims, including any disputed ownership fund election that might be made). The
Litigation Trustee shall send to each holder of a beneficial interest appearing on its record during
such year, a separate statement setting forth such holder’s share of items of income, gain, loss,
deduction or credit as relevant for U.S. federal income tax purposes and each such holder shall
report such items on their U.S. federal income tax returns. The Litigation Trustee shall allocate
the taxable income, gain, loss, deduction or credit of the Litigation Trust with respect to each
holder of a beneficial interest to the extent required by applicable law.
         As soon as possible after the Effective Date, the Litigation Trust shall make a good faith
valuation of the Litigation Trust Assets, and such valuation shall be used consistently by all parties
for all federal income tax purposes. The Litigation Trust also shall file (or cause to be filed) any
other statements, returns, or disclosures relating to the Litigation Trust that are required by any
taxing authority.
        The Litigation Trust may request an expedited determination of the tax obligations of the
Litigation Trust under Bankruptcy Code Section 505(b) for all returns filed for, or on behalf of,
the Litigation Trust for all taxable periods through the dissolution of the Litigation Trust.
                        c. Withholding

        The Litigation Trust shall comply with all withholding and reporting requirements imposed
by any federal, state, local, or foreign taxing authority, and all distributions made by the Litigation
Trust shall be subject to any such withholding and reporting requirements.
                        d. Payment of Taxes

        The Litigation Trust shall be responsible for payments, out of Litigation Trust Assets, of
all taxes imposed on the Litigation Trust or Litigation Trust Assets. In the event, and to the extent,
any Cash retained on account of Disputed General Unsecured Claims associated with the Litigation
Trust is insufficient to pay the portion of any such taxes attributable to the taxable income arising
from the assets allocable to, or retained on account of, Disputed General Unsecured Claims, the
Litigation Trustee may, in its discretion, (a) sell any non-Cash assets relating to such Disputed
General Unsecured Claims (including any assets distributable as a result of disallowance of such
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Claim) to pay such taxes or (b) reimburse the Litigation Trust for the payment of such taxes from
any subsequent Cash amounts allocable to, or retained on account of, such taxes from any
subsequent Cash amounts allocable to, or retained on account of, such Disputed General
Unsecured Claims (including any Cash distributable as a result of disallowance of such Claims).
        7. Termination of the Litigation Trust

         The Litigation Trust shall be dissolved as soon as practicable after the date that is the earlier
to occur of: (a) the distribution of all Litigation Trust Assets pursuant to the Plan, or (b) the
determination of the Litigation Trustee that the continued prosecution of any GUC Causes of
Action or the pursuit of Estate Tax Refunds is not likely to yield sufficient additional proceeds to
justify further pursuit. Notwithstanding the foregoing sentence, the Litigation Trust shall dissolve
after five (5) years from the Effective Date, unless (x) the Bankruptcy Court or other court with
jurisdiction over the Litigation Trust, within ninety (90) days prior to the fifth (5th) anniversary of
the Effective Date (or within ninety (90) days prior to the end of an extension period), determines
that a fixed-period extension, together with any prior extensions, is necessary to facilitate or
complete the recovery on and liquidation of the Litigation Trust Assets, provided that no one
individual fixed-period extension shall exceed three (3) years or (y) the Litigation Trust obtains a
favorable private letter ruling from the Internal Revenue Service that any further extension would
not adversely affect the status of the Litigation Trust as a grantor trust that is a liquidating trust for
United States federal income tax purposes.

I.      Directors and Officers Insurance Policies
        In accordance with and without altering Article V.A of the Plan, (i) on the Effective Date,
the Debtors shall be deemed to have assumed all of the Debtors’ D&O Liability Insurance Policies
(including any “tail policy” and all agreements, documents, or instruments related thereto) in effect
prior to the Effective Date pursuant to sections 105 and 365(a) of the Bankruptcy Code, without
the need for any further notice to or action, order, or approval of the Bankruptcy Court; (ii)
confirmation of the Plan shall not discharge, impair, or otherwise modify any indemnity
obligations assumed by the foregoing assumption of the D&O Liability Insurance Policies, and
each such indemnity obligation will be deemed and treated as an Executory Contract that has been
assumed by the Debtors under the Plan as to which no Proof of Claim need be filed; (iii) the
Debtors shall retain the ability to supplement such D&O Liability Insurance Policies as the Debtors
may deem necessary; and (iv) for the avoidance of doubt, entry of the Confirmation Order will
constitute the Bankruptcy Court’s approval of the assumption of each of the unexpired D&O
Liability Insurance Policies.
        In addition, on or after the Effective Date, the Plan Administrator and the Litigation Trustee
shall not terminate or otherwise reduce the coverage under any D&O Liability Insurance Policies
(including any “tail policy” and all agreements, documents, or instruments related thereto) in effect
on or prior to the Effective Date, with respect to conduct occurring prior thereto, and all current
and former directors, officers, and managers of the Debtors who served in such capacity at any
time prior to the Effective Date shall be entitled to the full benefits of any such policies for the full
term of such policies regardless of whether such current and former directors, officers, and
managers remain in such positions after the Effective Date, all in accordance with the terms and
conditions of the D&O Liability Insurance Policies, which shall not be altered.

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J.     Preservation of Rights of Action
        In accordance with section 1123(b) of the Bankruptcy Code, but subject to the releases set
forth in this section and in Article IX below, and to the extent not transferred to a Successful Bidder
in any 363 Sale Transaction, all Causes of Action that a Debtor may hold against any Entity shall
vest in the Plan Administrator or the Litigation Trust, as applicable, on the Effective Date.
Thereafter, the Plan Administrator and the Litigation Trustee, with the consent of the Debtors,
shall have the right, authority, and discretion to determine and to initiate, file, prosecute, enforce,
abandon, settle, compromise, release, withdraw, or litigate to judgment any such Causes of Action,
whether arising before or after the Petition Date, and to decline to do any of the foregoing without
the consent or approval of any other third party or further notice to or action, order, or approval of
the Bankruptcy Court. No Entity may rely on the absence of a specific reference in the Plan,
the Plan Supplement, or the Disclosure Statement to any specific Cause of Action as any
indication that the Debtors, the Plan Administrator, or the Litigation Trustee will not pursue
any and all available Causes of Action. The Debtors, the Plan Administrator, and the
Litigation Trustee expressly reserve all rights to prosecute any and all Causes of Action
against any Entity, except as otherwise expressly provided in the Plan, and, therefore, no
preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion,
claim preclusion, estoppel (judicial, equitable or otherwise) or laches, shall apply to any Cause of
Action as a consequence of the Confirmation or the occurrence of the Effective Date.
K.     Corporate Action
        Upon the Effective Date, all actions contemplated by the Plan shall be deemed authorized,
approved, and, to the extent taken prior to the Effective Date, ratified without any requirement for
further action by Holders of Claims or Interests, directors, managers, or officers of the Debtors,
the Plan Administrator, or any other Entity, including, as applicable: (1) rejection or assumption,
as applicable, of Executory Contracts and Unexpired Leases and (2) all other acts or actions
contemplated, or reasonably necessary or appropriate to promptly consummate the transactions
contemplated by the Plan (whether to occur before, on, or after the Effective Date). All matters
provided for in the Plan involving the company structure of the Debtors, and any company action
required by the Debtors or the Plan Administrator in connection therewith, shall be deemed to have
occurred on, and shall be in effect as of, the Effective Date, without any requirement of further
action by the security holders, directors, managers, authorized persons, or officers of the Debtors.
        On or prior to the Effective Date, the appropriate officers, directors, managers, or
authorized persons of the Debtors (including any president, vice-president, chief executive officer,
treasurer, general counsel, or chief financial officer thereof) shall be authorized and directed to
issue, execute and deliver the agreements, documents, securities, certificates of incorporation,
certificates of formation, bylaws, operating agreements, and instruments contemplated by the Plan
(or necessary or desirable to effect the transactions contemplated by the Plan) in the name of and
on behalf of the applicable Debtors. The authorizations and approvals contemplated by this Article
IV.K shall be effective notwithstanding any requirements under non-bankruptcy law.
L.     Effectuating Documents; Further Transactions
       Prior to, on, and after the Effective Date, the Debtors and the directors, managers, officers,
authorized persons, and members of the boards of directors or managers and directors thereof, are
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authorized to and may issue, execute, deliver, file, or record such contracts, securities, notes,
instruments, certificates, releases, and other agreements or documents and take such actions as
may be necessary or appropriate to effectuate, implement, and further evidence the terms and
provisions of the Plan, without the need for any approvals, authorizations, actions, or consents
except for those expressly required pursuant to the Plan.
M.     Wind-Down
        On and after the Effective Date, in accordance with the Wind-Down Budget and after
completion of the Sale Process, the Debtors shall (1) continue in existence for purposes of (a)
winding down the Debtors’ businesses and affairs as expeditiously as reasonably possible, (b)
resolving Disputed Claims as provided hereunder, (c) paying Allowed Claims not assumed by the
applicable Successful Bidder as provided hereunder, (d) filing appropriate tax returns, (e)
complying with their continuing obligations under the applicable 363 Sale Transaction
Documentation (including with respect to the transfer of permits to the applicable Successful
Bidder as contemplated therein), and (f) administering the Plan in an efficacious manner; and (2)
thereafter liquidate and dissolve as set forth in the Plan. The Plan Administrator shall carry out
these actions for the Debtors.
        Consistent with Article IV.G of the Plan, the Plan Administrator shall also have the power
and authority and shall be required to exercise such power and authority, in lieu of the board of
directors or similar governing body of any of the direct and indirect non-Debtor subsidiaries of
Virgin Orbit Holdings, Inc., to take any action necessary to wind down and dissolve such Entities,
including filing a certificate of dissolution or similar documents for any of such Entities, together
with all other necessary corporate and company documents, to effect the dissolution of such
Entities under the applicable laws of the jurisdiction in which such Entities were formed.
N.     Wind-Down Amount.
       On the Effective Date, the Debtors shall retain Cash in the amount of the Wind-Down
Amount, which shall be used in accordance with the terms of the Wind-Down Budget. Any
remaining Cash held by the Debtors after making all of the disbursements contemplated by the
Wind-Down Budget shall promptly be distributed in accordance with the Plan, as acceptable to
the Required Consenting Creditors.
O.     Dissolution of the Boards of the Debtors.
        As of the Effective Date, the Plan Administrator shall act as the sole officer, director, and
manager, as applicable, of the Debtors with respect to their affairs. Subject in all respects to the
terms of this Plan, the Plan Administrator shall have the power and authority to take any action
necessary to wind down and dissolve any of the Debtors, and shall be authorized to (a) file a
certificate of dissolution for any of the Debtors, together with all other necessary corporate and
company documents, to effect the dissolution of the Debtors under the applicable laws of the
applicable state(s) of formation; and (b) complete and file all final or otherwise required federal,
state, and local tax returns and shall pay taxes required to be paid for any of the Debtors, and
pursuant to section 505(b) of the Bankruptcy Code, request an expedited determination of any
unpaid tax liability of any of the Debtors or their Estates for any tax incurred during the
administration of such Debtor’s Chapter 11 Case, as determined under applicable tax laws.
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        The filing by the Plan Administrator of any of the Debtors’ certificate of dissolution shall
be authorized and approved in all respects without further action under applicable law, regulation,
order, or rule, including any action by the stockholders, members, board of directors, or board of
managers of any of the Debtors or any of their Affiliates.
P.     Closing the Chapter 11 Cases
        Upon administering in full the Chapter 11 Cases, the Plan Administrator may seek
authority from the Bankruptcy Court to close any of the Chapter 11 Cases in accordance with the
Bankruptcy Code and the Bankruptcy Rules, and the requirements set forth in Local Rule 3022-
1.
Q.     Preservation of Certain Assets
        Upon written request by either the Committee or the Litigation Trustee, the Debtors shall
use commercially reasonable efforts to maintain records relating to payroll data, tax returns,
accounting, and accounts payable for the sole purpose of assisting with collection of preferences
and tax assets, provided that all costs related to satisfying such request shall constitute the costs of
the Litigation Trust and shall be funded exclusively from the GUC Recovery.


              TREATMENT OF EXECUTORY CONTRACTS
 AND UNEXPIRED LEASES; EMPLOYEE BENEFITS; AND INSURANCE POLICIES
A.     Assumption and Rejection of Executory Contracts and Unexpired Leases
        On the Effective Date, except as otherwise provided herein, any Executory Contract or
Unexpired Lease (i) not previously assumed, (ii) not assumed and assigned in accordance with any
363 Sale Transaction Documentation, or (iii) not previously rejected pursuant to an order of the
Bankruptcy Court, and (iv) is not the subject of a pending motion to reject, assume or assume and
assign as of the Effective Date will be deemed rejected.

        Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order
approving the assumptions or rejections of the Debtors’ Executory Contracts and Unexpired
Leases pursuant to sections 365(a) and 1123 of the Bankruptcy Code and effective upon service
of notice of the occurrence of the Effective Date on the affected counterparty to the Executory
Contract or Unexpired Lease, or, as to rejected Executory Contracts and Unexpired Leases, on
such later date as may be identified on the Rejected Contracts List or other motion or notice to
reject that is served on the affected counterparty to the Executory Contract or Unexpired Lease.
To the maximum extent permitted by law, to the extent any provision in any Executory Contract
or Unexpired Lease assumed pursuant to the Plan restricts or prevents, or purports to restrict or
prevent, or is breached or deemed breached by, the assumption of such Executory Contract or
Unexpired Lease, then such provision shall be deemed modified such that the transactions
contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate such Executory
Contract or Unexpired Lease or to exercise any other default-related rights with respect thereto.
       Notwithstanding anything to the contrary in the Plan, the Debtors reserve the right to amend
or supplement the Rejected Contracts List in their discretion prior to the Effective Date (or such
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later date as may be permitted by Article V.B or Article V.E below), provided that the Debtors
shall give prompt notice of any such amendment or supplement to any affected counterparty and
such counterparty shall have a reasonable opportunity to object thereto on any grounds.
       Notwithstanding anything to the contrary herein, the terms of any 363 Sale Transaction
Documentation and any 363 Sale Order shall govern the cure of defaults, assumption and
assignment, and compliance with section 365 of the Bankruptcy Code with respect to any
Executory Contracts or Unexpired Leases assumed and assigned pursuant to such 363 Sale
Transaction Documentation and 363 Sale Order.

B.     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases
        Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
or assumed and assigned pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of
the Bankruptcy Code, by payment of the Cure Cost in Cash on the Effective Date or as soon as
reasonably practicable, subject to the limitation described below, or on such other terms as the
parties to such Executory Contract or Unexpired Lease may otherwise agree.
        Upon payment of the Cure Cost, assumption of any Executory Contract or Unexpired Lease
shall result in the full satisfaction and cure of any Claims and defaults, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or ownership
interest composition or other bankruptcy-related defaults, under any assumed Executory Contract
or Unexpired Lease arising at any time prior to the effective date of assumption. Any counterparty
to an Executory Contract or Unexpired Lease that fails to object timely to the proposed assumption,
assumption and assignment, or Cure Cost will be deemed to have assented to such assumption,
assumption and assignment, and Cure Cost.
C.     Claims Based on Rejection of Executory Contracts and Unexpired Leases
        Unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting
Claims arising from the rejection of the Executory Contracts and Unexpired Leases by virtue of
this Plan must be filed with the Notice and Claims Agent within thirty (30) days after the date of
the effectiveness of the rejection of the applicable Executory Contract or Unexpired Lease. The
deadline for Governmental Units to file any such Proofs of Claim shall be the later of thirty (30)
days after the effectiveness of rejection of the applicable Executory Contract or Unexpired Lease
or the Governmental Bar Date as set forth in the Bar Date Order. The notice of Effective Date
shall set forth the date by which Proofs of Claim asserting Claims arising from the rejection of the
Executory Contracts and Unexpired Leases must be filed. Any Proofs of Claim arising from the
rejection of the Executory Contracts and Unexpired Leases that are not timely filed shall be
forever disallowed and barred, absent a Final Order to the contrary. All Allowed Claims
arising from the rejection of the Executory Contracts and Unexpired Leases shall constitute
General Unsecured Claims and shall be treated in accordance with Article III.B of the Plan.
D.     Contracts and Leases Entered into After the Petition Date
       The Debtors and, to the extent assigned to a Successful Bidder, the Successful Bidder, will
perform under any contracts and leases entered into after the Petition Date by any Debtor, including


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any Executory Contracts and Unexpired Leases assumed by any Debtor, and will be liable
thereunder in the ordinary course of business.
E.     Reservation of Rights
         Neither the exclusion nor inclusion of any contract or lease in the Rejected Contracts List
or Assumed Contracts List, as applicable, nor anything contained in the Plan or 363 Sale
Transaction Documentation, nor the Debtors’ delivery of a notice of proposed assumption and
proposed Cure Cost to any contract and lease counterparties, shall constitute an admission by the
Debtors that any such contract or lease is in fact an Executory Contract or Unexpired Lease. If
there is a dispute regarding whether a contract or lease is or was executory or unexpired at the time
of assumption or rejection, the Debtors or the Plan Administrator, as applicable, shall have forty-
five (45) days following entry of a Final Order resolving such dispute to alter their treatment of
such contract or lease. If there is a dispute regarding a Debtor’s liability under an assumed
Executory Contract or Unexpired Lease, the Plan Administrator shall be authorized to move to
have such dispute heard by the Bankruptcy Court pursuant to Article X.C of the Plan.


                       PROVISIONS GOVERNING DISTRIBUTIONS
A.     Distribution on Account of Claims Allowed as of the Effective Date

        Except as otherwise provided in the Plan or a Final Order, or as agreed to by the relevant
parties, distributions under the Plan on account of Claims Allowed on or before the Effective Date
shall be made on the Initial Distribution Date; provided that Allowed Priority Tax Claims shall be
satisfied in accordance with Article II.C herein.
B.     Distributions on Account of Claims Allowed After the Effective Date

       1.      Payments and Distributions on Disputed Claims

        Except as otherwise provided in the Plan, a Final Order, or as agreed to by the relevant
parties, distributions on account of Disputed Claims that become Allowed after the Effective Date
shall be made on the next Periodic Distribution Date that is at least thirty (30) days after the
Disputed Claim becomes an Allowed Claim; provided that (a) Disputed Administrative Claims
with respect to liabilities incurred by the Debtors in the ordinary course of business that become
Allowed after the Effective Date shall be paid or performed in the ordinary course of business in
accordance with the terms and conditions of any controlling agreements, course of dealing, course
of business, or industry practice and (b) Disputed Priority Tax Claims that become Allowed
Priority Tax Claims after the Effective Date shall be treated as Allowed Priority Tax Claims in
accordance with Article II.C of the Plan.
       2.      Distributions of Distributable Proceeds

       After the Initial Distribution Date, the Plan Administrator shall, or shall direct the
Distribution Agent to, distribute additional Distributable Proceeds as soon as practicable upon such
Distributable Proceeds becoming available to the Debtors or the Plan Administrator. Such


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additional Distributable Proceeds shall be distributed in accordance with the terms of Article IV
of the Plan.
C.     Timing and Calculation of Amounts to Be Distributed

        Except as otherwise provided herein, on the Initial Distribution Date each Holder of an
Allowed Claim shall receive the full amount of the distributions that the Plan provides for Allowed
Claims in the applicable Class. If and to the extent that any Disputed Claims exist, distributions
on account of such Disputed Claims shall be made pursuant to Article VI.B and Article VII of the
Plan. Except as otherwise provided in the Plan, Holders of Claims shall not be entitled to interest,
dividends, or accruals on the distributions provided for in the Plan, regardless of whether such
distributions are delivered on or at any time after the Effective Date.
D.     Delivery of Distributions

       1.      Record Date for Distributions

        For purposes of making distributions on the Initial Distribution Date only, the Distribution
Agent shall be authorized and entitled to recognize only those Holders of Claims reflected in the
Debtors’ books and records as of the close of business on the Distribution Record Date, and the
Proofs of Claims filed in these Chapter 11 Cases. If a Claim, other than one based on a publicly-
traded security, is transferred (a) twenty-one (21) or more days before the Distribution Record
Date and reasonably satisfactory documentation evidencing such transfer is Filed with the Court,
the Distribution Agent shall make the applicable distributions to the applicable transferee, or (b)
twenty (20) or fewer days before the Distribution Record Date, the Distribution Agent shall make
distributions to the transferee only to the extent practical and, in any event, only if the relevant
transfer form is Filed with the Court and contains an unconditional and explicit certification and
waiver of any objection to the transfer by the transferor.
        The Distribution Record Date shall not apply to publicly traded securities deposited with
DTC and, in connection with any distribution under the Plan to be effected through the facilities
of DTC (whether by means of book-entry exchange, free delivery, or otherwise), the Debtors or
the Plan Administrator, as applicable, shall be entitled to recognize and deal for all purposes under
the Plan with Holders of Claims in each Class to the extent consistent with the customary practices
of DTC used in connection with such distributions.
       2.      Delivery of Distributions in General

       Except as otherwise provided in the Plan, the Distribution Agent shall make distributions
to Holders of Allowed Claims at the address for each such Holder as indicated in the Debtors’
records as of the date of any such distribution, including the address set forth in any Proof of Claim
filed by that Holder, if applicable; provided that the manner of such distributions shall be
determined at the discretion of the Plan Administrator.
       3.      Delivery of Distributions on DIP Facility Claims
       All distributions on account of the DIP Facility Claims shall be made to the DIP Lenders.


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       4.      Delivery of Distributions on Prepetition Secured Notes Claims
        All distributions on account of the Prepetition Secured Notes Claims shall be made to the
Prepetition Secured Noteholder.
       5.      Distributions by Distribution Agents

         The Debtors, the Plan Administrator, or the Litigation Trustee, as applicable, shall have
the authority to enter into agreements with one or more Distribution Agents to facilitate the
distributions required hereunder. To the extent the Debtors, the Plan Administrator, or the
Litigation Trustee, as applicable, determines to utilize a Distribution Agent to facilitate the
distributions under the Plan to Holders of Allowed Claims, any such Distribution Agent would
first be required to: (a) affirm its obligation to facilitate the prompt distribution of any documents;
(b) affirm its obligation to facilitate the prompt distribution of any recoveries or distributions
required under the Plan; (c) waive any right or ability to setoff, deduct from or assert any lien or
encumbrance against the distributions required under the Plan to be distributed by such
Distribution Agent; and (d) post a bond, obtain a surety or provide some other form of security for
the performance of its duties, the costs and expenses of procuring which shall be borne by the
Debtors, the Plan Administrator, or the Litigation Trustee, as applicable.
        The Debtors, the Plan Administrator, or the Litigation Trustee, as applicable, shall pay to
the Distribution Agents all reasonable and documented fees and expenses of the Distribution
Agents without the need for any approvals, authorizations, actions, or consents. The Distribution
Agents shall submit detailed invoices to the Debtors, the Plan Administrator, or the Litigation
Trustee, as applicable, for all fees and expenses for which the Distribution Agent seeks
reimbursement and the Debtors, the Plan Administrator, or the Litigation Trustee, as applicable,
shall pay those amounts that they, in their sole discretion, deem reasonable, and shall object in
writing to those fees and expenses, if any, that the Debtors, the Plan Administrator, or the Litigation
Trustee, as applicable, deem to be unreasonable. In the event that the Debtors, the Plan
Administrator, or the Litigation Trustee, as applicable, objects to all or any portion of the amounts
requested to be reimbursed in a Distribution Agent’s invoice, the Debtors, the Plan Administrator,
or the Litigation Trustee, as applicable, and such Distribution Agent shall endeavor, in good faith,
to reach mutual agreement on the amount of the appropriate payment of such disputed fees and/or
expenses. In the event that the Debtors, the Plan Administrator, or the Litigation Trustee, as
applicable, and a Distribution Agent are unable to resolve any differences regarding disputed fees
or expenses, either party shall be authorized to move to have such dispute heard by the Bankruptcy
Court.
       6.      Minimum Distributions

        Notwithstanding anything herein to the contrary, other than on account of Claims in
Classes 1, 2, and 5, the Distribution Agents shall not be required to make distributions or payments
aggregating less than $50 (whether Cash or otherwise) to any particular Holder of an Allowed
Claim in such Classes and shall not be required to make partial distributions or payments of
fractions of dollars. If any payment of a fraction of a dollar under the Plan would otherwise be
called for, the actual payment will reflect a rounding down of such fraction to the nearest whole
dollar.

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       7.      Undeliverable Distributions

                          a.     Holding of Certain Undeliverable Distributions

        Undeliverable distributions shall remain in the possession of the Distribution Agents until
such distributions become deliverable, at which time such distributions shall be made without
interest, dividends, or other accruals of any kind on account of the distributions being
undeliverable; provided that distributions returned as undeliverable shall be deemed unclaimed
property under section 347(b) of the Bankruptcy Code at the expiration of six (6) months from the
date the distributions are made. After such date, all unclaimed property or interests in property
shall revert (notwithstanding any applicable federal or state escheat, abandoned, or unclaimed
property Laws to the contrary) to the Plan Administrator or the Litigation Trustee, as applicable,
automatically and without need for a further order by the Bankruptcy Court and the Claim or
Interest of any holder to such property or interest in property shall be forever barred, absent order
of the Bankruptcy Court to the contrary.
                          b.     Failure to Present Checks

        Checks issued by the Distribution Agents on account of Allowed Claims shall be null and
void if not negotiated within 180 days after the issuance of such check. Requests for reissuance
of any check shall be made directly to the Distribution Agent by the Holder of the relevant Allowed
Claim with respect to which such check originally was issued.
E.     Compliance with Tax Requirements/Allocations

        In connection with the Plan, to the extent applicable, the Plan Administrator and the
Litigation Trustee shall comply with all tax withholding and reporting requirements imposed on
them by any Governmental Unit, and all distributions pursuant hereto shall be subject to such
withholding and reporting requirements. Notwithstanding any provision in the Plan to the
contrary, the Plan Administrator, the Litigation Trustee, and/or the Distribution Agent, as
applicable, shall be authorized to take all actions necessary or appropriate to comply with such
withholding and reporting requirements, including liquidating a portion of the distribution to be
made under the Plan to generate sufficient funds to pay applicable withholding taxes, withholding
distributions pending receipt of information necessary to facilitate such distributions or
establishing any other mechanisms they believe are reasonable and appropriate, including
requiring as a condition to the receipt of a distribution, that the Holders of an Allowed Claim
complete an IRS Form W-8 or W-9, as applicable. The Plan Administrator and the Litigation
Trustee reserve the right to allocate all distributions made under the Plan in compliance with all
applicable wage garnishments, alimony, child support and other spousal awards, liens and
encumbrances. For tax purposes, distributions in full or partial satisfaction of Allowed Claims
shall be allocated first to the principal amount (as determined for U.S. federal income tax purposes)
of Allowed Claims, with any excess allocated to unpaid interest that accrued on such Claims.
F.     Surrender of Canceled Instruments or Securities

        On the Effective Date or as soon as reasonably practicable thereafter, each Holder of a
certificate or instrument evidencing a Claim or an Equity Interest shall be deemed to have
surrendered such certificate or instrument to the Distribution Agent. Such surrendered certificate
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or instrument shall be cancelled solely with respect to the Debtors, and except as provided
otherwise under the Plan, including the Debtor Release and the Third-Party Release, such
cancellation shall not alter the obligations or rights of any non-Debtor third parties vis-à-vis one
another with respect to such certificate or instrument, including with respect to any indenture or
agreement that governs the rights of the Holder of a Claim or Equity Interest, which shall continue
in effect for purposes of allowing Holders to receive distributions under the Plan and allowing
indenture trustees to exercise charging liens, priorities of payment, and indemnification rights.
G.     Applicability of Insurance Policies.

        Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall
be in accordance with the provisions of any applicable Insurance Contract. Except for the releases
and exculpation provisions of Article IX, nothing contained in the Plan shall constitute or be
deemed a waiver of any Cause of Action that the Debtors or any Entity may hold against any other
Entity, including Insurers under any Insurance Contracts, nor shall anything contained herein
constitute or be deemed a waiver by such Insurers of any rights or defenses, including coverage
defenses, held by such Insurers under the Insurance Contracts.


               PROCEDURES FOR RESOLVING DISPUTED,
      CONTINGENT, AND UNLIQUIDATED CLAIMS OR EQUITY INTERESTS
A.     Allowance of Claims
        After the Effective Date, and except as otherwise provided in this Plan, the Plan
Administrator or the Litigation Trustee, as applicable, shall have and shall retain any and all
available rights and defenses that the Debtors had with respect to any Claim, including the right to
assert any objection to Claims based on the limitations imposed by section 502 of the Bankruptcy
Code. The Plan Administrator or the Litigation Trustee, as applicable, may contest the amount
and validity of any Disputed Claim or contingent or unliquidated Claim in the ordinary course of
business in the manner and venue in which such Claim would have been determined, resolved or
adjudicated if the Chapter 11 Cases had not been commenced.

B.     Prosecution of Objections to Claims
        Except as otherwise specifically provided in the Plan, the Plan Administrator or the
Litigation Trustee, as applicable, shall have the authority: (1) to file, withdraw, or litigate to
judgment objections to Claims; (2) to settle or compromise any Disputed Claim without any further
notice to or action, order, or approval by the Bankruptcy Court; and (3) to administer and adjust
the Claims Register to reflect any such settlements or compromises without any further notice to
or action, order, or approval by the Bankruptcy Court.
C.     Estimation of Claims
       Before or after the Effective Date, the Debtors or the Plan Administrator or the Litigation
Trustee, as applicable, may (but are not required to) at any time request that the Bankruptcy Court
estimate any Disputed Claim that is contingent or unliquidated pursuant to section 502(c) of the
Bankruptcy Code for any reason, regardless of whether any party previously has objected to such

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Claim or whether the Bankruptcy Court has ruled on any such objection; and the Bankruptcy Court
shall retain jurisdiction to estimate any such Claim, including during the litigation of any objection
to any Claim or during the appeal relating to such objection; provided that if the Bankruptcy Court
resolves the Allowed amount of a Claim, the Plan Administrator or the Litigation Trustee, as
applicable, shall not be permitted to seek an estimation of such Claim). Notwithstanding any
provision otherwise in the Plan, a Claim that has been expunged from the Claims Register, but that
either is subject to appeal or has not been the subject of a Final Order, shall be deemed to be
estimated at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event that the
Bankruptcy Court estimates any contingent or unliquidated Claim, that estimated amount shall
constitute either the Allowed amount or a maximum limitation on such Claim for all purposes
under the Plan (including for purposes of distributions), as determined by the Bankruptcy Court,
and the Plan Administrator or the Litigation Trustee, as applicable, may elect to pursue any
supplemental proceedings to object to any ultimate distribution on such Claim subject to applicable
law.
D.      No Distributions Pending Allowance
       If a Claim is Disputed, no payment or distribution provided hereunder shall be made on
account of such Claim unless and until such Claim becomes an Allowed Claim by settlement or
Final Order; provided that if only a portion of a Claim is Disputed, such Claim shall be deemed
Allowed in the amount not Disputed and payment or distribution shall be made on account of such
undisputed amount.

E.      Time to File Objections to Claims
       Any objections to Claims shall be Filed on or before the Claims Objection Deadline,
subject to any extensions thereof approved by the Bankruptcy Court, upon a motion on notice
served on all affected claimants.



                            CONDITIONS PRECEDENT TO
                      CONFIRMATION AND THE EFFECTIVE DATE
A.      Conditions Precedent to Confirmation
     1. The 363 Sale Transactions shall have been consummated pursuant to the 363 Sale
        Transaction Documentation.
     2. The aggregate amount of Allowed Priority WARN Act Claims shall not exceed
        $1,455,000.
     3. The aggregate amount of Estimated Allowed Administrative Claims (excluding the amount
        of any Allowed Professional Fee Claims) does not exceed $1,000,000.
     4. The aggregate amount of Allowed Professional Fee Claims of the Committee Professionals
        does not exceed $2,250,000.


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B.      Effect of Non-Occurrence of Conditions to Confirmation
        If the conditions precedent to Confirmation are not satisfied, then: (1) the Plan shall be null
and void in all respects; (2) any settlement or compromise embodied in the Plan, assumption or
rejection of Executory Contracts or Unexpired Leases effected under the Plan, and any document
or agreement executed pursuant to the Plan, shall be deemed null and void; and (3) nothing
contained in the Plan or the Disclosure Statement shall: (a) constitute a waiver or release of any
Claims, Interests, or Causes of Action; (b) prejudice in any manner the rights of the Debtors or any
other Entity; or (c) constitute an admission, acknowledgement, offer, or undertaking of any sort
by the Debtors or any other Entity; provided that with respect to the conditions set forth in Article
VIII.A.2, 3, and 4, the Debtors, with the consent of the Required Consenting Creditors, may waive
the conditions to Confirmation at any time, without any notice to parties in interest and without
any further notice to or action, order, or approval of the Bankruptcy Court, and without any formal
action other than a proceeding to confirm the Plan.
C.      Conditions Precedent to the Effective Date
      The following are conditions precedent to the Effective Date that must be satisfied or
waived in accordance with Article VIII.D hereof:
     1. the Bankruptcy Court shall have entered the Confirmation Order in form and substance
        acceptable to the Required Consenting Creditors and such order shall (A) not have been
        vacated and (B) not be subject to a stay pending appeal;
     2. the Plan, the Disclosure Statement, any 363 Sale Transaction Documentation and the
        Confirmation Order, and all other documents contemplated thereby, including any
        amendments, modifications, or supplements thereto, shall be acceptable to the Debtors and
        the Required Consenting Creditors.

     3. payment in full in Cash by the applicable Debtors of any and all accrued but unpaid
        reasonable and documented Claims for professional fees by the DIP Secured Parties or the
        Prepetition Secured Noteholder for which the Debtors have received invoices or estimates
        prior to the Effective Date shall have been made;

     4. the Plan Administrator acceptable to the Required Consenting Creditors shall have been
        appointed and vested with the authority under this Plan;
     5. the Plan Administration Agreement shall have been executed and delivered by all of the
        Entities that are parties thereto and all conditions precedent to the consummation thereof
        shall have been waived or satisfied in accordance with the terms thereof;

     6. the Litigation Trustee reasonably acceptable to the Debtors and the Required Consenting
        Creditors, shall have been appointed and vested with the authority under this Plan;
     7. the Litigation Trust Agreement shall have been executed and delivered by all of the Entities
        that are parties thereto and all conditions precedent to the consummation thereof shall have
        been waived or satisfied in accordance with the terms thereof;


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     8. all governmental and third-party approvals, authorizations, rulings, documents, and
        consents that may be necessary in connection with the 363 Sale Transactions, including
        from the FAA, shall have been obtained, not be subject to unfulfilled conditions, and be in
        full force and effect, and all applicable waiting periods shall have expired without any
        action being taken or threatened by any competent authority that would restrain, prevent,
        or otherwise impose materially adverse conditions on the 363 Sale Transactions (as
        applicable);
     9. no court of competent jurisdiction or other competent governmental or regulatory authority
        shall have issued a final and non-appealable order making illegal or otherwise restricting,
        limiting, preventing, or prohibiting the consummation of any 363 Sale Transactions or any
        related transactions;
     10. the Professional Fee Escrow Amount shall have been transferred to the Professional Fee
         Escrow Account;
     11. the Wind-Down Amount shall have been funded in accordance with this Plan;
     12. the aggregate amount of Allowed Priority WARN Act Claims shall not have exceeded
         $1,455,000;
     13. the aggregate amount of Estimated Allowed Administrative Claims (excluding the amount
         of any Allowed Professional Fee Claims) shall not have exceeded $1,000,000; and
     14. the aggregate amount of Allowed Professional Fee Claims of the Committee Professionals
         shall not have exceeded $2,250,000.
D.      Waiver of Conditions
        The Debtors, with the consent of the Required Consenting Creditors, may waive any of the
conditions to the Effective Date set forth above at any time, without any notice to parties in interest
and without any further notice to or action, order, or approval of the Bankruptcy Court, and without
any formal action other than a proceeding to confirm the Plan, except that there cannot be a waiver
of the condition that the Bankruptcy Court shall have entered the Confirmation Order as set forth
in Article VIII.C.1.
E.      Effect of Non-Occurrence of Conditions to the Effective Date
        If the Effective Date does not occur and upon a notice filed by the Debtors to state the non-
occurrence of the Effective Date, then: (1) the Plan shall be null and void in all respects; (2) any
settlement or compromise embodied in the Plan, assumption or rejection of Executory Contracts
or Unexpired Leases effected under the Plan, and any document or agreement executed pursuant
to the Plan, shall be deemed null and void; and (3) nothing contained in the Plan, the Confirmation
Order, or the Disclosure Statement shall: (a) constitute a waiver or release of any Claims, Interests,
or Causes of Action; (b) prejudice in any manner the rights of the Debtors or any other Entity; or
(c) constitute an admission, acknowledgement, offer, or undertaking of any sort by the Debtors or
any other Entity.


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       SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS
A.     Satisfaction of Claims and Termination of Interests.
        Any default or “event of default” by the Debtors or their Affiliates with respect to any
Claim or Interest in the Debtors that existed immediately before or on account of the filing of the
Chapter 11 Cases shall be deemed cured (and no longer continuing) as of the Effective Date with
respect to a Claim that is Unimpaired by the Plan, once such Unimpaired Claim is paid in full.

B.     Releases by the Debtors
       Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
consideration, on and after the Effective Date, each Released Party is deemed released by the
Debtors, their Estates, and their successors in interest (including the Plan Administrator)
from any and all Causes of Action, whether known or unknown, including any Non-GUC
Causes of Action and any derivative claims asserted on behalf of the Debtors, that the
Debtors or their Estates would have been legally entitled to assert in their own right (whether
individually or collectively) or that any Holder of any Claim or Interest could have asserted
on behalf of the Debtors or their Estates, based on or relating to, or in any manner arising
from, in whole or in part, the Debtors, the Debtors’ capital structure, the Prepetition Secured
Notes or any ancillary documents related thereto, the assertion or enforcement of rights and
remedies against the Debtors, the Debtors’ in- or out-of-court restructuring efforts,
intercompany transactions between or among a Debtor and another Debtor, the Chapter 11
Cases, the formulation, preparation, dissemination, negotiation, or filing of the DIP Credit
Agreement, the Disclosure Statement, the Plan, the 363 Sale Transactions, or any contract,
instrument, release, or other agreement or document (including providing any legal opinion
requested by any Entity regarding any transaction, contract, instrument, document, or other
agreement contemplated by the Plan or the reliance by any Released Party on the Plan or
the Confirmation Order in lieu of such legal opinion) created or entered into in connection
with the Disclosure Statement, the Plan, the Chapter 11 Cases, the DIP Credit Agreement,
the Prepetition Secured Notes, the 363 Sale Transaction Documentation, the 363 Sale
Transactions, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan, including the
distribution of property under the Plan or any other related agreement, or upon the business
or contractual arrangements between any Debtor and any Released Party, and any other act
or omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date relating to any of the foregoing, other than claims or liabilities arising out of
or relating to any act or omission of a Released Party that constitutes willful misconduct,
fraud or gross negligence. Notwithstanding the inclusion of any of the Released Parties as a
potential party to any Transferred Causes of Action or retained Causes of Action, such
parties shall remain Released Parties.

       Notwithstanding anything to the contrary in the foregoing or any other provision of
the Plan, the releases contained in the Plan do not (i) release any post-Effective Date
obligations of any party or Entity under the Plan or any document, instrument, or agreement

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(including those set forth in the Plan Supplement) executed to implement the Plan, (ii) affect
the rights of Holders of Allowed Claims and Interests to receive distributions under the Plan,
(iii) release any Claims or Causes of Action against any non-Released Party, or (iv) release
any GUC Causes of Action.

C.     Releases by Holders of Claims and Interests
        As of the Effective Date, except as otherwise provided herein, each Releasing Party,
including, for the avoidance of doubt, each holder of General Unsecured Claims or
Convenience Claims that votes to accept the Plan and each holder of General Unsecured
Claims or Convenience Claims that votes to reject the Plan and opts into the releases, is
deemed to have released each Debtor and Released Party from any and all Causes of Action,
whether known or unknown, including any derivative claims asserted on behalf of the
Debtors, that such Entity would have been legally entitled to assert (whether individually or
collectively), based on or relating to, or in any manner arising from, in whole or in part, the
Debtors, the Debtors’ capital structure, the Debtors’ in- or out-of-court restructuring efforts,
the Prepetition Secured Notes or any ancillary documents related thereto, the assertion or
enforcement of rights and remedies against the Debtors, the Debtors’ intercompany
transactions between or among a Debtor and another Debtor, the Chapter 11 Cases, the
formulation, preparation, dissemination, negotiation, or filing of the DIP Credit Agreement,
the Disclosure Statement, the Plan, the 363 Sale Transactions, or any contract, instrument,
release, or other agreement or document (including providing any legal opinion requested
by any Entity regarding any transaction, contract, instrument, document, or other
agreement contemplated by the Plan or the reliance by any Released Party on the Plan or
the Confirmation Order in lieu of such legal opinion) created or entered into in connection
with the Disclosure Statement or the Plan, the Chapter 11 Cases, the DIP Credit Agreement,
the Prepetition Secured Notes, the 363 Sale Transaction Documentation, the 363 Sale
Transactions, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan, including the
distribution of property under the Plan or any other related agreement, or upon the business
or contractual arrangements between any Debtor and any Released Party, and any other act
or omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date relating to any of the foregoing, other than claims or liabilities arising out of
or relating to any act or omission of a Released Party that constitutes willful misconduct,
fraud or gross negligence.

         Notwithstanding anything to the contrary in the foregoing or any other provision of
the Plan, the releases contained in the Plan do not (i) release any post-Effective Date
obligations of any party or Entity under the Plan or any document, instrument, or agreement
(including those set forth in the Plan Supplement) executed to implement the Plan, (ii) affect
the rights of Holders of Allowed Claims and Interests to receive distributions under the Plan,
or (iii) release any Claims or Causes of Action against any non-Released Party.

        Notwithstanding any language to the contrary in the Disclosure Statement, the Plan,
and/or the Confirmation Order, no provision shall (i) preclude the SEC from enforcing its
police or regulatory powers or (ii) enjoin, limit, impair, or delay the SEC from commencing

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or continuing any claims, causes of action, proceeding, or investigations against any non-
Debtor Person or non-Debtor Entity in any forum.

D.     Exculpation
         Effective as of the Effective Date, the Exculpated Parties shall neither have nor incur
any liability to any Person or Entity for any claims or Causes of Action or for any act taken
or omitted to be taken on or after the Petition Date and prior to or on the Effective Date in
connection with, or related to, the administration of the Chapter 11 Cases, commencement
of the Chapter 11 Cases, pursuit of Confirmation and consummation of this Plan, making
Distributions, the Disclosure Statement, the Sale Process, the Sale Order, or the solicitation
of votes for, or Confirmation of, this Plan; the occurrence of the Effective Date; the
administration of this Plan or the property to be distributed under this Plan; the issuance of
securities under or in connection with this Plan; the purchase, sale, or rescission of the
purchase or sale of any asset or security of the Debtors; or the transactions or documentation
in furtherance of any of the foregoing, including any postpetition, pre-Effective Date act
taken or omitted to be taken in connection with or in contemplation of any restructuring of
the Debtors, the approval of the Disclosure Statement or Confirmation or consummation of
this Plan; provided, however, that the foregoing provisions of this exculpation shall not
operate to waive or release: (i) any Causes of Action arising from willful misconduct, actual
fraud, or gross negligence of such applicable Exculpated Party as determined by Final Order
of the Bankruptcy Court or any other court of competent jurisdiction; and/or (ii) the rights
of any Person or Entity to enforce this Plan and the contracts, instruments, releases,
indentures, and other agreements and documents delivered under or in connection with this
Plan or assumed pursuant to this Plan or Final Order of the Bankruptcy Court; provided,
further, that each Exculpated Party shall be entitled to rely upon the advice of counsel
concerning its respective duties pursuant to, or in connection with, the above referenced
documents, actions or inactions. The foregoing exculpation shall be effective as of the
Effective Date without further notice to or order of the Bankruptcy Court, act or action
under applicable law, regulation, order, or rule or the vote, consent, authorization or
approval of any Person. Notwithstanding the foregoing, nothing in this Article IX.D shall or
shall be deemed to prohibit the Debtors from asserting and enforcing any claims, obligations,
suits, judgments, demands, debts, rights, Causes of Action or liabilities they may have against
any Person that is based upon an alleged breach of a confidentiality or non-compete
obligation owed to the Debtors, in each case unless otherwise expressly provided for in this
Plan. The Exculpation will be in addition to, and not in limitation of, all other releases,
indemnities, exculpations, and any other applicable law or rules protecting such Exculpated
Parties from liability.

E.     Injunction
        Except as otherwise provided in the Plan or the Confirmation Order (and, for the
avoidance of doubt, subject to Article III.C), all entities who have held, hold, or may hold
Claims, Interests, Causes of Action, or liabilities that: (a) are consensually compromised or
settled under the Plan; (b) have been released pursuant to Article IX.B of the Plan; (c) have
been released pursuant to Article IX.C of the Plan, (d) are subject to exculpation pursuant
to Article IX.D of the Plan (but only to the extent of the exculpation provided in Article IX.D
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of the Plan), or (e) are otherwise satisfied, stayed or terminated pursuant to the terms of the
Plan, are permanently enjoined and precluded, from and after the Effective Date, from
commencing or continuing in any manner, any action or other proceeding on account of any
such claims, interests, Causes of Action, or liabilities that have been consensually
compromised or settled, or released or exculpated, as applicable, against the Debtors or any
Entity so released or exculpated (or the property or estate of any Entity, directly or
indirectly, so released or exculpated).

F.     Setoffs and Recoupment
        Except as otherwise provided herein, the Plan Administrator and the Litigation Trustee
pursuant to the Bankruptcy Code (including section 553 of the Bankruptcy Code), applicable
bankruptcy or non-bankruptcy law, or as may be agreed to by the Holder of an Allowed Claim,
may set off or recoup against any Allowed Claim and the distributions to be made pursuant to the
Plan on account of such Allowed Claim, any claims, rights, and Causes of Action of any nature
that the applicable Debtor may hold against the Holder of such Allowed Claim, to the extent such
claims, rights, or Causes of Action have not been otherwise compromised or settled on or prior to
the Effective Date (whether pursuant to the Plan, a Final Order or otherwise); provided that neither
the failure to effect such a setoff or recoupment nor the allowance of any Claim pursuant to the
Plan shall constitute a waiver or release by the Plan Administrator or the Litigation Trustee, as
applicable, of any such claims, rights, and Causes of Action. The Plan Administrator and the
Litigation Trustee shall provide notice to the affected claimant of any setoffs or recoupments, and
such claimant may challenge in Bankruptcy Court or any other court with jurisdiction any such
setoffs or recoupments.
G.     Release of Liens
        Except as otherwise provided herein or in any contract, instrument, release, or other
agreement or document created pursuant to the Plan, on the Effective Date and concurrently with
the applicable distributions made pursuant to the Plan, all mortgages, deeds of trust, Liens, pledges,
or other security interests against any property of the Estates shall be fully released.
        To the extent that any Holder of a Secured Claim that has been satisfied in full pursuant to
the Plan, or any agent for such Holder, has filed or recorded publicly any Liens and/or security
interests to secure such Holder’s Secured Claim, then as soon as practicable on or after the
Effective Date, such Holder (or the agent for such Holder) shall take any and all steps requested
by the Debtors or the Plan Administrator that are necessary or desirable to record or effectuate the
cancellation and/or extinguishment of such Liens and/or security interests, including the making
of Uniform Commercial Code termination statements, deposit account control agreement
terminations, and any other applicable filings or recordings, and the Plan Administrator shall be
entitled to file Uniform Commercial Code terminations or to make any other such filings or
recordings on such Holder’s behalf.


                               RETENTION OF JURISDICTION
       Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, except to the extent set forth herein, and in addition to the matters over which the Bankruptcy
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Court shall have retained jurisdiction pursuant to the Sale Order, if any, or any other order of the
Bankruptcy Court, the Bankruptcy Court shall retain jurisdiction over all matters arising out of, or
related to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the
Bankruptcy Code, including jurisdiction to:
        A.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
secured or unsecured status, or amount of any Claim or Interest, including the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to
the secured or unsecured status, priority, amount, or allowance of Claims or Interests;

       B.       decide and resolve all matters related to the granting and denying, in whole or in
part, of any applications for allowance of compensation or reimbursement of expenses to Retained
Professionals required by the Bankruptcy Code or the Plan;

        C.      resolve any matters related to: (1) the assumption, assumption and assignment, or
rejection of any Executory Contract or Unexpired Lease to which a Debtor is party or with respect
to which a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any Cure Costs
arising therefrom, including Cure Costs pursuant to section 365 of the Bankruptcy Code; (2) any
potential contractual obligation under any Executory Contract or Unexpired Lease that is assumed;
and (3) any dispute regarding whether a contract or lease is or was executory or expired;

       D.      ensure that distributions to Holders of Allowed Claims are accomplished pursuant
to the provisions of the Plan;

       E.       adjudicate, decide or resolve any motions, adversary proceedings, contested, or
litigated matters, and any other matters, and grant or deny any applications involving a Debtor that
may be pending on the Effective Date;

       F.      adjudicate, decide or resolve any and all matters related to Causes of Action;

       G.    adjudicate, decide or resolve any and all matters related to section 1141 of the
Bankruptcy Code;

        H.      resolve any cases, controversies, suits, or disputes that may arise in connection with
General Unsecured Claims or Convenience Claims, including the establishment of any bar dates,
related notices, claim objections, allowance, disallowance, estimation and distribution;

       I.      enter and implement such orders as may be necessary or appropriate to execute,
implement, or consummate the provisions of the Plan and all contracts, instruments, releases,
indentures, and other agreements or documents created in connection with the Plan or the
Disclosure Statement;

       J.      enter and enforce any order for the sale of property pursuant to sections 363, 1123,
or 1146(a) of the Bankruptcy Code;

       K.      resolve any cases, controversies, suits, disputes, or Causes of Action that may arise
in connection with the interpretation or enforcement of the Plan or any contract, instrument, release

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or other agreement or document that is entered into or delivered pursuant to the Plan, or any
Entity’s rights arising from or obligations incurred in connection with the Plan;

         L.  issue injunctions, enter and implement other orders or take such other actions as
may be necessary or appropriate to restrain interference by any Entity with enforcement of the
Plan;

         M.     resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the releases, injunctions, and other provisions contained in the Plan and enter such orders as
may be necessary or appropriate to implement such releases, injunctions, and other provisions;

        N.     resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the repayment or return of distributions and the recovery of additional amounts owed by the
Holder of a Claim or Interest for amounts not timely repaid;

         O.    enter and implement such orders as are necessary or appropriate if the Confirmation
Order is for any reason modified, stayed, reversed, revoked, or vacated;

         P.    determine any other matters that may arise in connection with or related to the Plan,
the Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture,
or other agreement or document created in connection with the Plan or the Disclosure Statement;

         Q.     enter one or more orders or final decrees concluding or closing the Chapter 11
Cases;

         R.     adjudicate any and all disputes arising from or relating to distributions under the
Plan;

         S.    consider any modification of the Plan, to cure any defect or omission, or to
reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

         T.   determine requests for payment of Claims entitled to priority pursuant to section
507 of the Bankruptcy Code;

       U.    hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan, or the Confirmation Order, including disputes arising
under agreements, documents, or instruments executed in connection with the Plan;

         V.    hear and determine matters concerning state, local, and federal taxes in accordance
with sections 346, 505, and 1146 of the Bankruptcy Code;

         W.   hear and determine all disputes involving any dispute relating to any liability arising
out of the termination of employment or the termination of any employee or retiree benefit
program, regardless of whether such termination occurred prior to or after the Effective Date;

        X.      hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the releases, injunctions, and exculpations provided under
Article IX of the Plan;
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       Y.      enforce all orders previously entered by the Bankruptcy Court; and

       Z.      hear any other matter over which the Court has jurisdiction.

       If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising in, arising under, or related to the Chapter
11 Cases, including the matters set forth in Article X of the Plan, the provisions of Article X of the
Plan shall have no effect on and shall not control, limit, or prohibit the exercise of jurisdiction by
any other court having competent jurisdiction with respect to such matter.



            MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN
A.     Modification of Plan
        Subject to the limitations contained in the Plan, the Debtors or the Plan Administrator, as
applicable, reserve the right to, in accordance with the Bankruptcy Code and the Bankruptcy Rules,
as acceptable to the Required Consenting Creditors: (1) amend or modify the Plan prior to the
entry of the Confirmation Order, including amendments or modifications to satisfy section 1129(b)
of the Bankruptcy Code, in accordance with section 1127(a) of the Bankruptcy Code; (2) amend
or modify the Plan after the entry of the Confirmation Order and before substantial consummation
of the Plan in accordance with section 1127(b) of the Bankruptcy Code upon order of the
Bankruptcy Court; and (3) remedy any defect or omission or reconcile any inconsistency in the
Plan in such manner as may be necessary to carry out the purpose and intent of the Plan upon order
of the Bankruptcy Court.
B.     Effect of Confirmation on Modifications
        Entry of the Confirmation Order shall mean that all modifications or amendments to the
Plan since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code
and do not require additional disclosure or re-solicitation under Bankruptcy Rule 3019.
C.     Revocation of Plan; Reservation of Rights if Effective Date Does Not Occur
        Subject to the conditions to the Effective Date, the Debtors reserve the right to revoke or
withdraw the Plan prior to the entry of the Confirmation Order and to file subsequent plans. If the
Debtors revoke or withdraw the Plan or if entry of the Confirmation Order does not occur, then:
(1) the Plan shall be null and void in all respects; (2) any settlement or compromise embodied in
the Plan, assumption or rejection of executory contracts or leases effected by the Plan, and any
document or agreement executed pursuant hereto shall be deemed null and void; and (3) nothing
contained in the Plan shall: (a) constitute a waiver or release of any claims by or against, or any
Equity Interests in, such Debtor or any other Entity; (b) prejudice in any manner the rights of the
Debtors or any other Entity; or (c) constitute an admission of any sort by the Debtors or any other
Entity.




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                                MISCELLANEOUS PROVISIONS
A.      Additional Documents
        On or before the Effective Date, the Debtors may file with the Bankruptcy Court such
agreements and other documents as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of the Plan. The Debtors or Plan Administrator, as applicable,
and all Holders of Claims receiving distributions pursuant to the Plan and all other parties in
interest shall, from time to time, prepare, execute, and deliver any agreements or documents and
take any other actions as may be necessary or advisable to effectuate the provisions and intent of
the Plan or the Confirmation Order.
B.      Reservation of Rights
        The Plan shall have no force or effect unless and until the Bankruptcy Court enters the
Confirmation Order. None of the filing of the Plan, any statement or provision contained in the
Plan, or the taking of any action by any Debtor with respect to the Plan, the Disclosure Statement,
or the Plan Supplement shall be or shall be deemed to be an admission or waiver of any rights of
any Debtor with respect to the Holders of Claims or Interests prior to the Effective Date.
C.      Successors and Assigns
         The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
affiliate, officer, director, agent, representative, attorney, beneficiaries or guardian, if any, of each
Entity.
D.      Service of Documents
        Any notice, direction or other communication given regarding the matters contemplated by
this Plan must be in writing, sent by personal delivery, electronic mail or courier, and addressed
as follows:




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                Debtors                                 Counsel to the Debtors
Virgin Orbit Holdings, Inc.                Latham & Watkins LLP
4022 East Conant Street                    355 South Grand Avenue, Suite 100
Long Beach, California 90808               Los Angeles, California 90071
Attn: Derrick Boston                       Attn: Jeff E. Bjork
Email: Derrick.Boston@virginorbit.com      Email: jeff.bjork@lw.com

                                           -and-

                                           Latham & Watkins LLP
                                           1271 Avenue of the Americas
                                           New York, New York 10020
                                           Attn: George Klidonas; Anupama Yerramalli
                                           Emails: george.klidonas@lw.com
                                                   anu.yerramalli@lw.com

                                           -and-

                                           Young Conaway Stargatt & Taylor LLP
                                           Rodney Square, 1000 North King Street
                                           Wilmington, Delaware 19801
                                           Attn: Robert S. Brady; Michael R. Nestor; Kara
                                           Hammond Coyle; and Allison S. Mielke
                                           Emails: rbrady@ycst.com
                                                     mnestor@ycst.com
                                                     kcoyle@ycst.com
                                                     amielke@ycst.com




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         Counsel to the Committee                       Counsel to the DIP Lenders and the
                                                         Prepetition Secured Noteholder
 Hogan Lovells US LLP                            Davis Polk & Wardwell LLP
 1999 Avenue of the Stars                        450 Lexington Ave
 Suite 1400                                      New York, New York 10017
 Los Angeles, CA 90067                           Attn: Brian M. Resnick, Josh Sturm, and
 Attn: David P. Simonds, Edward J.                      Jarret Erickson
       McNeilly, and Kaitlyn Aliza               Email: brian.resnick@davispolk.com
       Hittelman                                        joshua.sturm@davispolk.com
 Email: david.simonds@hoganlovells.com                  jarret.erickson@davispolk.com
        edward.mcneilly@hoganlovells.com
        kaitlyn.hittelman@hoganlovells.com       -and-

 -and-                                           Morris, Nichols, Arsht & Tunnell LLP
                                                 1201 North Market Street, 16th Floor
 Hogan Lovells US LLP                            Wilmington, Delaware 19899-1347
 390 Madison Avenue                              Attn: Robert J. Dehney and Eric D. Schwartz
 New York, NY 10017                              Email: rdehney@morrisnichols.com
 Attn: David Dunn, John D. Beck,                        eschwartz@morrisnichols.com
       Christopher R. Bryant, and Katherine
       M. Lynn
 Email: david.dunn@hoganlovells.com
        john.beck@hoganlovells.com
        chris.bryant@hoganlovells.com
        katherine.lynn@hoganlovells.com

 -and-

 Potter Anderson & Corroon LLP
 1313 North Market Street, 6th Floor
 Wilmington, Delaware 19801
 Attn: M. Blake Cleary, L. Katherine
         Good, and Katelin A. Morales
 Email: bcleary@potteranderson.com
         kgood@potteranderson.com
         kmorales@potteranderson.com

         After the Effective Date, the Plan Administrator has authority to send a notice to Entities
that, to continue to receive documents pursuant to Bankruptcy Rule 2002, they must file a renewed
request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the
Plan Administrator is authorized to limit the list of Entities receiving documents pursuant to a pre-
Effective Date request under Bankruptcy Rule 2002 to those Entities who have filed renewed
requests pursuant to Bankruptcy Rule 2002.
        In accordance with Bankruptcy Rules 2002 and 3020(c), within ten (10) Business Days of
the date of entry of the Confirmation Order, the Debtors shall serve the Notice of Confirmation by
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United States mail, first class postage prepaid, by hand, or by overnight courier service to all parties
served with the Confirmation Hearing Notice; provided that no notice or service of any kind shall
be required to be mailed or made upon any Entity to whom the Debtors mailed a Confirmation
Hearing Notice, but received such notice returned marked “undeliverable as addressed,” “moved,
left no forwarding address” or “forwarding order expired,” or similar reason, unless the Debtors
have been informed in writing by such Entity, or are otherwise aware, of that Entity’s new address,
provided that the Debtors are unable to ascertain new address information for such Entity after a
commercially reasonable search. Mailing of the Notice of Confirmation in the time and manner
set forth in this paragraph shall be good and sufficient notice under the particular circumstances
and in accordance with the requirements of Bankruptcy Rules 2002 and 3020(c), and no further
notice is necessary.
E.     Term of Injunctions or Stays
        Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays
in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any
order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or
stays contained in the Plan or the Confirmation Order) shall remain in full force and effect until
the Effective Date. All injunctions or stays contained in the Plan or the Confirmation Order shall
remain in full force and effect in accordance with their terms.
F.     Entire Agreement
        On the Effective Date, the Confirmation Order, Plan, and the Plan Supplement supersede
all previous and contemporaneous negotiations, promises, covenants, agreements, understandings,
and representations on such subjects.
G.     Governing Law
        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of
Delaware without giving effect to the principles of conflict of laws, shall govern the rights,
obligations, construction, and implementation of the Plan, any agreements, documents,
instruments, or contracts executed or entered into in connection with the Plan (except as otherwise
set forth in those agreements, in which case the governing law of such agreement shall control),
and corporate governance matters; provided that corporate governance matters relating to Debtors
not incorporated in Delaware shall be governed by the laws of the state of incorporation of the
applicable Debtor.
H.     Exhibits
        All exhibits and documents included in the Plan Supplement are incorporated into and are
a part of the Plan as if set forth in full in the Plan. Except as otherwise provided in the Plan, such
exhibits and documents included in the Plan Supplement shall initially be filed with the
Bankruptcy Court on or before the Plan Supplement Filing Date to the extent practicable. After
the exhibits and documents are filed, copies of such exhibits and documents shall be made
available upon written request to the Debtors’ counsel at the address above or by downloading
such      exhibits      and      documents        from    the     Debtors’     case     website      at
https://cases.ra.kroll.com/virginorbit/        or    the    Bankruptcy      Court’s     website      at
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www.deb.uscourts.gov. To the extent any exhibit or document is inconsistent with the terms of
the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document
portion of the Plan shall control.
I.     Nonseverability of Plan Provisions upon Confirmation
        If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court
to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
and such term or provision shall then be applicable as altered or interpreted. Notwithstanding any
such holding, alteration, or interpretation, the remainder of the terms and provisions of the Plan
will remain in full force and effect and will in no way be affected, impaired, or invalidated by such
holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of the Plan, as it may have been
altered or interpreted in accordance with the foregoing, is: (1) valid and enforceable pursuant to
its terms; (2) integral to the Plan and may not be deleted or modified without the consent of the
Debtors; and (3) non-severable and mutually dependent.
J.     Conflicts
        To the extent that any provision of the Disclosure Statement or the Plan Supplement (or
any exhibits, appendices, supplements, or amendments to any of the foregoing), conflict with or
are in any way inconsistent with any provision of the Plan, the Plan shall govern and control. To
the extent that any provision of the Plan, the Plan Supplement, or the Disclosure Statement
conflicts with or is in any way inconsistent with any provision of the Confirmation Order, the
Confirmation Order shall govern and control.
K.     Dissolution of the Committee
         The Committee shall dissolve, and the current and former members of the Committee shall
be released and discharged from all rights and duties arising from, or related to, the Chapter 11
Cases on the Effective Date; provided that the Committee and its professionals shall have the right
to file, prosecute, review, and object to any applications for compensation and reimbursement of
expenses filed in accordance with Article II.A.2 hereof.




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      Respectfully submitted,
Dated: July 28, 2023               Virgin Orbit Holdings, Inc.

                                   By:      /s/ Daniel M. Hart
                                   Name:    Daniel M. Hart
                                   Title:   Chief Executive Officer

                                   Vieco USA, Inc.

                                   By:      /s/ Daniel M. Hart
                                   Name:    Daniel M. Hart
                                   Title:   Chief Executive Officer

                                   Virgin Orbit, LLC

                                   By:      /s/ Daniel M. Hart
                                   Name:    Daniel M. Hart
                                   Title:   Chief Executive Officer

                                   JACM Holdings, Inc.

                                   By:      /s/ Daniel M. Hart
                                   Name:    Daniel M. Hart
                                   Title:   Chief Executive Officer

                                   Virgin Orbit National Systems, LLC

                                   By:      /s/ Mark Baird
                                   Name:    Mark Baird
                                   Title:   President




                                [Signature Page to Plan]
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                                      Exhibit B

                                 Confirmation Notice




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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                 )
             In re:                                              )   Chapter 11
                                                                 )
             VIRGIN ORBIT HOLDINGS, INC., et al., 1              )   Case No. 23-10405 (KBO)
                                                                 )
                                                                 )   (Jointly Administered)
                                     Debtors.                    )


              NOTICE OF (A) ENTRY OF ORDER (A) CONFIRMING THE FOURTH AMENDED
             JOINT CHAPTER 11 PLAN OF VIRGIN ORBIT HOLDINGS, INC. AND ITS DEBTOR
                      AFFILIATES AND (B) OCCURRENCE OF EFFECTIVE DATE

         PLEASE TAKE NOTICE OF THE FOLLOWING:

                 1.     On [  ], 2023, the United States Bankruptcy Court for the District of Delaware
         (the “Bankruptcy Court”), entered the order [Docket No. [  ]] (the “Confirmation Order”)
         approving the Fourth Amended Joint Chapter 11 Plan or Virgin Orbit Holdings, Inc. and Its
         Debtor Affiliates [Docket No. [  ]] (as modified, amended, and including all supplements and
         exhibits thereto, the “Plan”)2 (attached as Exhibit A to the Confirmation Order) of the above-
         captioned debtors and debtors in possession (collectively, the “Debtors”). 2

                      2.     The Effective Date of the Plan was [  ], 2023.

                 3.      Administrative Claims Bar Date. As provided in Article II.A.3 of the Plan, all
         requests for payment of an Administrative Claim (other than DIP Facility Claims, Cure Costs,
         Professional Fee Claims, postpetition tax claims arising under section 503(b)(1)(D) of the
         Bankruptcy Code, claims arising under section 503(b)(9) of the Bankruptcy Code, or U.S. Trustee
         quarterly fees payable pursuant to Article II.D of the Plan) that accrued on or before the Effective
         Date, must be filed with the Bankruptcy Court and served on the Plan Administrator (Brian
         Whittman Alvarez & Marsal North America, LLC 540 West Madison Street, Suite 1800 Chicago,
         IL 60661 Email: bwhittman@alvarezandmarsal.com) no later than [  ], 2023 (the
         “Administrative Claims Bar Date”). If a Holder of an Administrative Claim (other than DIP
         Facility Claims, Cure Costs, Professional Fee Claims, postpetition tax claims arising under section
         503(b)(1)(D) of the Bankruptcy Code, claims arising under section 503(b)(9) of the Bankruptcy
         Code, or U.S. Trustee quarterly fees payable pursuant to Article II.D of the Plan) that is required
         to, but does not, file and serve a request for payment of such Administrative Claim by the
         Administrative Claims Bar Date, such Administrative Claim shall be forever barred, estopped, and

         1
               The Debtors in these cases, along with the last four digits of each debtor’s federal tax identification
               number, are: Virgin Orbit Holdings, Inc. (6914); Virgin Orbit National Systems, LLC (3801); Vieco
               USA, Inc. (0492); Virgin Orbit, LLC (9648); and JACM Holdings, Inc. (1445). The Debtors’ mailing
               address for purposes of these cases is [  ].
         2
               Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Plan and the
               Confirmation Order, as applicable.

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         enjoined from asserting such Administrative Claims against the Debtors, their Estates, the
         Litigation Trustee, or the Plan Administrator.

                4.      Deadline to File Professional Fee Claims. As provided in Article II.A.2 of the
         Plan, all final requests for payment of Professional Fee Claims for services rendered and
         reimbursement of expenses incurred on and after the Petition Date and prior to and on the Effective
         Date must be Filed no later than [  ], 2023. Any party seeking payment of a Professional Fee
         Claim that arises under sections 503(b)(3), 503(b)(4) or 503(b)(5) of the Bankruptcy Code must
         File a motion for approval of the same. The Bankruptcy Court shall determine the Allowed
         amounts of such Professional Fee Claims after notice and a hearing in accordance with the
         procedures established by the Bankruptcy Code, the Bankruptcy Rules, and prior Bankruptcy
         Court orders.

                5.      Deadline to File Rejection Claims. As provided in Article V.C of the Plan, unless
         otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting Claims arising
         from the rejection of the Executory Contracts and Unexpired Leases by virtue of the Plan must be
         actually received by the Notice and Claims Agent (Virgin Orbit Holdings, Inc. Claims Processing
         Center c/o Kroll Restructuring Administration LLC, 850 3rd Avenue, Suite 412 Brooklyn, NY
         11232) no later than [  ], 2023. The deadline for Governmental Units to file any such Proofs
         of Claim shall be the later of [  ], 2023 or the Governmental Bar Date as set forth in the Bar Date
         Order. Any Proofs of Claim arising from the rejection of the Executory Contracts and Unexpired
         Leases that are not timely filed shall be forever disallowed and barred, absent order of the
         Bankruptcy Court to the contrary. All Allowed Claims arising from the rejection of the Executory
         Contracts and Unexpired Leases shall constitute General Unsecured Claims and shall be treated in
         accordance with Article III.B of the Plan.

                 6.      Accessing Documents for These Chapter 11 Cases. The Confirmation Order, the
         Plan, and copies of all documents filed in these Chapter 11 Cases are available free of charge by:
         (a) visiting the Debtors’ case website at https://cases.ra.kroll.com/virginorbit; (b) calling (646)
         440-4773 (international) or (833) 570-5269 (domestic, toll free); or (c) sending an electronic
         message to VirginOrbitInfo@ra.kroll.com.

                 7.      Future Receipt of Documents. After the Effective Date, the Plan Administrator
         is authorized to (a) limit the list of Entities receiving documents pursuant to a pre-Effective Date
         request under Bankruptcy Rule 2002 to those Entities who have filed renewed requests pursuant
         to Bankruptcy Rule 2002 after the Effective Date, and (b) require that such parties file a renewed
         request to receive documents pursuant to Bankruptcy Rule 2002 to continue receiving documents.




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             Dated: [  ], 2023                  YOUNG CONAWAY STARGATT & TAYLOR,
                    Wilmington, Delaware         LLP

                                                 /s/ [DRAFT]                                _
                                                 Robert S. Brady (No. 2847)
                                                 Michael R. Nestor (No. 3526)
                                                 Kara Hammond Coyle (No. 4410)
                                                 Allison S. Mielke (No. 5934)
                                                 Rodney Square, 1000 North King Street
                                                 Wilmington, Delaware 19801
                                                 Telephone: (302) 571-6600
                                                 Facsimile: (302) 571-1253
                                                 Email: rbrady@ycst.com
                                                         mnestor@ycst.com
                                                         kcoyle@ycst.com
                                                         amielke@ycst.com

                                                 -and-

                                                 LATHAM & WATKINS LLP

                                                 Jeffrey E. Bjork (admitted pro hac vice)
                                                 355 South Grand Avenue, Suite 100
                                                 Los Angeles, California 90071
                                                 Telephone: (213) 485-1234
                                                 Facsimile: (213) 891-8763
                                                 Email: jeff.bjork@lw.com

                                                 George Klidonas (admitted pro hac vice)
                                                 Anupama Yerramalli (admitted pro hac vice)
                                                 Liza L. Burton (admitted pro hac vice)
                                                 1271 Avenue of the Americas
                                                 New York, NY 10020
                                                 Telephone: (212) 906-1200
                                                 Facsimile: (212) 751-4864
                                                 Emails: george.klidonas@lw.com
                                                         anu.yerramalli@lw.com
                                                         liza.burton@lw.com

                                                 Counsel for Debtors and Debtors in Possession


              IF YOU HAVE ANY QUESTIONS ABOUT THIS NOTICE, PLEASE CONTACT
             KROLL RESTRUCTURING ADMINISTRATION LLC BY CALLING (646) 440-4773
                   (INTERNATIONAL) OR (833) 570-5269 (DOMESTIC, TOLL FREE)




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                                    EXHIBIT B

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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE
                                                                  )
             In re:                                               )   Chapter 11
                                                                  )
             VIRGIN ORBIT HOLDINGS, INC., et al.,1                )   Case No. 23-10405 (KBO)
                                                                  )
                                                                  )   (Jointly Administered)
                                      Debtors.                    )
                                                                  )   Ref. Docket Nos. 532, 542, 559 & 571
                                                                  )

              ORDER CONFIRMING THE FOURTH AMENDED JOINT CHAPTER 11 PLAN OF
                   VIRGIN ORBIT HOLDINGS, INC. AND ITS DEBTOR AFFILIATES
                      The above-captioned debtors and debtors in possession (collectively, the “Debtors”)2
         having:

                      a. commenced, on April 4, 2023 (the “Petition Date”), these chapter 11 cases (these
                         “Chapter 11 Cases”) by filing voluntary petitions for relief in the United States
                         Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) under
                         chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

                      b. continued to operate their business and manage their properties during these Chapter
                         11 Cases as debtors in possession pursuant to sections 1107(a) and 1108 of the
                         Bankruptcy Code;

                      c. filed, on April 19, 2023, the Joint Chapter 11 Plan of Virgin Orbit Holdings, Inc. and
                         Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 96] and
                         Disclosure Statement for Joint Chapter 11 Plan of Virgin Orbit Holdings, Inc. and Its
                         Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 97];

                      d. filed, on June 12, 2023, the revised Second Amended Joint Chapter 11 Plan of Virgin
                         Orbit Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy
                         Code [Docket No. 439] and the revised Disclosure Statement for Second Amended
                         Joint Chapter 11 Plan of Virgin Orbit Holdings, Inc. and Its Debtor Affiliates Under
                         Chapter 11 of the Bankruptcy Code [Docket No. 440];



         1
               The Debtors in these cases, along with the last four digits of each debtor’s federal tax identification
               number, are: Virgin Orbit Holdings, Inc. (6914); Virgin Orbit National Systems, LLC (3801); Vieco
               USA, Inc. (0492); Virgin Orbit, LLC (9648); and JACM Holdings, Inc. (1445). The Debtors’ mailing
               address for purposes of these cases is 3880 McGowen Street, Long Beach, CA 90808.
         2
               Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the
               Plan, the Disclosure Statement, or the Bankruptcy Code (each as defined herein), as applicable. The
               rules of interpretation set forth in Article I.B. of the Plan apply.

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             e. filed, on June 20, 2023, the Third Amended Joint Chapter 11 Plan of Virgin Orbit
                Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code
                [Docket No. 459-1] and the Disclosure Statement for Third Amended Joint Chapter
                11 Plan of Virgin Orbit Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of
                the Bankruptcy Code [Docket No. 459-2];

             f. obtained, on June 20, 2023, the entry of the Order (A) Approving the Disclosure
                Statement; (B) Establishing the Voting Record Date, Voting Deadline, and Other
                Deadlines; (C) Approving Procedures for Soliciting, Receiving, and Tabulating Votes
                on the Plan and for Filing Objections to the Plan; (D) Approving the Manner and
                Forms of Notice and Other Related Documents; and (E) Granting Related Relief
                [Docket No. 462] (the “Disclosure Statement Order”) approving the Disclosure
                Statement, solicitation procedures (the “Solicitation Procedures”), and related
                notices, forms, and ballots (collectively, the “Solicitation Packages”);

             g. filed, on June 20, 2023, the solicitation version of the Third Amended Joint Chapter
                11 Plan of Virgin Orbit Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of
                the Bankruptcy Code [Docket No. 463] and the solicitation version of the Disclosure
                Statement for Third Amended Joint Chapter 11 Plan of Virgin Orbit Holdings, Inc.
                and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 465]
                (as may be modified, amended, or supplemented from time to time, the “Disclosure
                Statement”);

             h. caused the Solicitation Packages and notice of the Confirmation Hearing (the
                “Confirmation Hearing Notice”) and the deadline for objecting to confirmation of
                the Plan (“Confirmation”) to be distributed on or about June 20, 2023 in accordance
                with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure (the
                “Bankruptcy Rules”), the Local Rules of Bankruptcy Practice and Procedure of the
                United States Bankruptcy Court for the District of Delaware (the “Local Rules”), the
                Disclosure Statement Order, and the Solicitation Procedures, as evidenced by, among
                other things, the Affidavit of Service of Solicitation Materials [Docket No. 541] and
                the Affidavit of Supplemental Service of Solicitation Materials [Docket No. 545]
                (collectively, the “Certificates of Solicitation”);

             i.   caused notice of the Confirmation Hearing Notice to be published, on June 15, 2023,
                  in The New York Times (national edition) as well as in the Los Angeles Times, as
                  evidenced by the Certificate of Publication [Docket No. 485] and Proofs of
                  Publication [Docket Nos. 485-A, 485-B] attached thereto (collectively, the
                  “Publication Certificates” and, together with the Certificates of Solicitation, the
                  “Certificates”);

             j.   filed, on July 14, 2023, the Plan Supplement for Third Amended Joint Chapter 11
                  Plan of Virgin Orbit Holdings, Inc. and Its Debtor Affiliates [Docket No. 532] (the
                  “Initial Plan Supplement”);



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             k. filed, on July 18, 2023, the Revised Exhibit E to the Plan Supplement [Docket No.
                542] (the “Second Plan Supplement”)

             l.   filed, on July 24, 2023, the Revised Exhibit F to the Plan Supplement [Docket No.
                  559] (together with the Initial Plan Supplement, and the Second Plan Supplement, the
                  “Plan Supplement”);

             m. filed, on July 26, 2023, the Fourth Amended Joint Chapter 11 Plan of Virgin Orbit
                Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code
                [Docket No. 571] (as may be modified, amended, or supplemented from time to time,
                the “Plan”), a copy of which is attached hereto as Exhibit A;

             n. filed, on July 26, 2023, the Debtors’ Memorandum of Law in Support of an Order
                Confirming the Fourth Amended Joint Chapter 11 Plan of Virgin Orbit Holdings,
                Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No.
                575] (the “Confirmation Brief”);

             o. filed, on July 26, 2023, the Declaration of Stanislav KeslerJames Daloia of Kroll
                Restructuring Administration LLC Regarding the Solicitation and Tabulation of
                Ballots Cast on the FourthThird Amended Joint Chapter 11 Plan of Virgin Orbit
                Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code
                [Docket No. 572] (the “Voting Report”); and

             p. filed, on July 26, 2023, the Declaration of Brian Whittman in Support of
                Confirmation of the Fourth Amended Joint Chapter 11 Plan of Virgin Orbit
                Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code
                [Docket No. 574] (“Whittman Declaration”) and the Declaration of Alan J. Carr in
                Support of Confirmation of the Fourth Amended Joint Chapter 11 Plan of Virgin
                Orbit Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy
                Code [Docket No. 573] (the “Carr Declaration” and, together with the Whittman
                Declaration, the “Confirmation Declarations”).
             The Bankruptcy Court having:

             a. set July 21, 2023 at 4:00 p.m. (prevailing Eastern Time) as the deadline for filing
                objections in opposition to the Plan;
             b. set July 21, 2023 at 5:00 p.m. (prevailing Eastern Time) as the deadline for voting on
                the Plan;
             c. set July 28, 2023 at 10:30 a.m. (prevailing Eastern Time) as the date and time for the
                Confirmation Hearing, pursuant to Bankruptcy Rules 3017 and 3018 and
                sections 1126, 1128, and 1129 of the Bankruptcy Code;
             d. reviewed the Plan, the Disclosure Statement, the Plan Supplement, the Confirmation
                Brief, the Confirmation Declarations, the Voting Report, the Confirmation Hearing
                Notice, the Certificates, the affidavits of service, and all filed pleadings, exhibits,
                statements, and comments regarding Confirmation, including all objections,
                statements, and reservations of rights filed by parties in interest on the docket of these
                Chapter 11 Cases;
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                e. held the Confirmation Hearing;
                f. considered all testimony presented and evidence admitted at the Confirmation
                   Hearing, as applicable;
                g. overruled any and all objections to the Plan and Confirmation and all statements and
                   reservations of rights not consensually resolved, agreed to, or withdrawn, unless
                   otherwise indicated; and
                h. taken judicial notice of all papers and pleadings and other documents filed, all orders
                   entered, and all evidence and arguments presented in these Chapter 11 Cases.

                NOW, THEREFORE, the Bankruptcy Court having found that notice of the Confirmation

         Hearing and the opportunity for any party in interest to object to Confirmation have been

         adequate and appropriate as to all parties affected or to be affected by the Plan and the

         transactions contemplated thereby, and that the legal and factual bases set forth in the documents

         filed in support of Confirmation and other evidence presented at the Confirmation Hearing and

         the record of these Chapter 11 Cases establish just cause for the relief granted herein, and after

         due deliberation thereon and good cause appearing therefor, the Bankruptcy Court makes and

         issues the following findings of fact and conclusions of law, and orders:

                                FINDINGS OF FACT AND CONCLUSIONS OF LAW

                IT IS DETERMINED, FOUND, ADJUDGED, DECREED, AND ORDERED THAT:

         A.     Jurisdiction and Venue

                1.      Venue in the Bankruptcy Court was proper as of the Petition Date pursuant to 28

         U.S.C. §§ 1408 and 1409 and continues to be proper during these Chapter 11 Cases.

         Confirmation of the Plan is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(L).

         The Bankruptcy Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §§

         157(a)–(b) and 1334(b).




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         B.     Burden of Proof

                2.      The Debtors have met their burden of proving that the Plan complies with each

         element of sections 1129(a) and, to the extent applicable, 1129(b) of the Bankruptcy Code by a

         preponderance of the evidence.

         C.     Notice of the Confirmation Hearing

                3.      Notice of the Confirmation Hearing was appropriate and satisfactory and is

         approved in all respects.

         D.     Confirmation of the Plan

                4.      The Plan, a copy of which is attached as Exhibit A, as may be amended by this

         Confirmation Order, is confirmed pursuant to section 1129 of the Bankruptcy Code. The terms

         of the Plan, the documents contained in the Plan Supplement, and any other documents filed in

         connection with the Plan and/or executed or to be executed to effectuate, implement or

         consummate the transactions contemplated by the Plan, and all amendments and modifications

         thereof made in accordance with the Plan and this Confirmation Order, are hereby approved by

         this Confirmation Order; provided that, the Debtors may make non-material modifications to the

         Plan Supplement prior to the Effective Date.

                5.      Any and all objections to confirmation of the Plan that have not been withdrawn

         or resolved prior to the Confirmation Hearing are hereby overruled, except to the extent

         sustained by the Court on the record at the Confirmation Hearing.

                6.      The documents contained in the Plan Supplement are integral to the Plan and are

         approved by the Bankruptcy Court and the Debtors are authorized to take all actions required

         under the Plan and the Plan Supplement documents to effectuate the Plan and the transactions

         contemplated thereby.


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                7.      The terms of the Plan, the Plan Supplement, and the exhibits thereto are

         incorporated herein by reference, and are an integral part of this Confirmation Order. The terms

         of the Plan, the Plan Supplement, all exhibits thereto, and all other relevant and necessary

         documents shall be effective and binding as of the Effective Date. The failure to specifically

         include or refer to any particular article, section, or provision of the Plan, the Plan Supplement,

         or any related document in this Confirmation Order does not diminish or impair the effectiveness

         or enforceability of such article, section, or provision.

                8.      The compromises, settlements, releases, exculpations, and injunctions set forth in

         Article IX of the Plan are approved, and will be effective immediately and binding on the

         Effective Date.

                9.      The Debtors shall cause to be served a notice of the entry of this Confirmation

         Order and occurrence of the Effective Date, substantially in form attached hereto as Exhibit B

         (the “Confirmation Notice”), on all parties served with the Confirmation Hearing Notice as

         soon as reasonably practicable after the Effective Date; provided that, no notice of any kind shall

         be required to be mailed or made upon any Entity to whom the Debtors mailed notice of the

         Confirmation Hearing, but received such notice returned marked “undeliverable as addressed,”

         “moved, left no forwarding address,” or “forwarding order expired,” or similar reason, unless the

         Debtors have been informed in writing by such Entity, or are otherwise aware, of that Entity’s

         new address. The Debtors shall cause the Confirmation Notice to be posted on the website of

         these Chapter 11 Cases: https://cases.ra.kroll.com/virginorbit/. Such service in the time and

         manner set forth herein will provide good, adequate, and sufficient notice under the

         circumstances, and shall be deemed to comply with Bankruptcy Rules 2002(a)(7), 2002(f)(3) and

         (f)(7), 2002(1), 3002(c)(4), and 3020(c)(2).


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         E.     Proposal of the Plan in Good Faith

                10.      The Plan has been proposed in good faith and not by any means forbidden by law.

         In so finding, the Bankruptcy Court has considered the totality of the circumstances of these

         Chapter 11 Cases. The Plan is the result of extensive, good-faith, and arm’s-length negotiations

         among the Debtors and their principal constituencies, including for the avoidance of doubt, VIL,

         each of whom shall be deemed to have acted in “good faith” under section 1125(e) of the

         Bankruptcy Code. The transactions contemplated by the Plan are proposed in good faith, are in

         the best interests of the Debtors’ Estates, and will serve to maximize value for all stakeholders.

         F.     Solicitation

                11.      The transmittal and service of the solicitation materials required by the Disclosure

         Statement Order were timely, adequate, appropriate, and sufficient under the circumstances. The

         Solicitation Procedures complied with sections 1125 and 1126 of the Bankruptcy Code,

         Bankruptcy Rules 3017 and 3018, all other provisions of the Bankruptcy Code, and all other

         applicable non-bankruptcy rules, laws, and regulations. The modifications to the Plan as of the

         date of this Confirmation Order are not of the type to require additional disclosure or solicitation

         of the Plan under Bankruptcy Rule 3019 and comply in all respects with section 1127 of the

         Bankruptcy Code.

                12.      Based on the record before the Bankruptcy Court, including the Voting Report

         and Certificates, the Debtors have solicited votes on the Plan in good faith and in compliance

         with the Bankruptcy Code, and not by any means forbidden by law.

         G.     Voting

                13.      As described in the Voting Report, Holders of Claims in Classes 3, 4, and 5 were

         entitled to vote to accept or reject the Plan, and. Holders of Claims in Class 3 did not vote on


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         the Plan. Pursuant to Article III.F of the Plan, Class 3 is deemed eliminated from the Plan

         for purposes of voting to accept or reject the Plan and for purposes of determining

         acceptances or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the

         Bankruptcy Code. Holders of Claims in Classes 4 and 5 voted to accept the Plan. All other

         Classes of Claims and Interests were not entitled to vote on the Plan pursuant to sections 1126 of

         the Bankruptcy Code. All procedures used to tabulate the Ballots were fair, reasonable, and

         conducted in accordance with the applicable provisions of the Bankruptcy Code, Bankruptcy

         Rules, Local Rules, and all other applicable non-bankruptcy rules, laws, and regulations.

         H.     Immediate Binding Effect

                14.     Notwithstanding Bankruptcy Rules 3020(e), 6004(g), or 7062 or otherwise, from

         and after the entry of this Confirmation Order and upon the occurrence of the Effective Date, the

         terms of the Plan, and the documents and instruments contained in the Plan Supplement and this

         Confirmation Order shall be deemed immediately effective and enforceable binding upon: (a) the

         Debtors; (b) any and all Holders of Claims or Interests (irrespective of whether such Claims or

         Interests are Impaired under the Plan or whether the Holders of such Claims or Interests

         accepted, rejected or are deemed to have accepted or rejected the Plan); (c) any and all

         non-debtor parties to Executory Contracts and Unexpired Leases with any of the Debtors; (d) all

         Entities that are parties to or are subject to the settlements, compromises, releases, and

         injunctions described in the Plan; and (e) the respective heirs, executors, administrators,

         successors or assigns, if any, of any of the foregoing.

         I.     Treatment of Executory Contracts and Unexpired Leases

                15.     The rejection or assumption, as applicable, of Executory Contracts and Unexpired

         Leases as set forth in Article V of the Plan is hereby authorized. Except as otherwise set forth in


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         the Plan, assumptions or rejections of Executory Contracts and Unexpired Leases pursuant to the

         Plan are effective as of the Effective Date without the need for any further action or consents that

         may otherwise be required under applicable non-bankruptcy law.

         J.     Administrative Claims Bar Date

                16.     As provided in Article II.A.3 of the Plan, all requests for payment of

         Administrative Claims (other than DIP Facility Claims, Cure Costs, Professional Fee Claims,

         postpetition tax claims arising under section 503(b)(1)(D) of the Bankruptcy Code, claims

         arising under section 503(b)(9) of the Bankruptcy Code, or U.S. Trustee quarterly fees payable

         pursuant to Article II.D of the Plan) that accrued on or before the Effective Date, must be filed

         with the Bankruptcy Court and served on the Plan Administrator no later than the 30th day after

         service of the Confirmation Notice. If a Holder of an Administrative Claim (other than DIP

         Facility Claims, Cure Costs, Professional Fee Claims, postpetition tax claims arising under

         section 503(b)(1)(D) of the Bankruptcy Code, claims arising under section 503(b)(9) of the

         Bankruptcy Code, or U.S. Trustee quarterly fees payable pursuant to Article II.D of the Plan) that

         is required to, but does not, file and serve a request for payment of such Administrative Claim by

         the Administrative Claims Bar Date, such Administrative Claim shall be forever barred,

         estopped, and enjoined from asserting such Administrative Claims against the Debtors, their

         Estates, the Litigation Trustee, or the Plan Administrator. For the avoidance of doubt, nothing in

         this Order or the Plan extends any deadline for the filing of any claims established in any

         previously entered order of the Court, including the Order (I) Establishing Bar Dates and

         Related Procedures for Filing Proofs of Claim (Including for Claims Arising Under Section

         503(b)(9) of the Bankruptcy Code), (II) Approving the Form and Manner of Notice Thereof, and

         (III) Granting Related Relief [Docket No. 153].


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         K.     Deadline to File Professional Fee Claims

                17.      As provided in Article II.A.2 of the Plan, all final requests for payment of

         Professional Fee Claims for services rendered and reimbursement of expenses incurred on and

         after the Petition Date and prior to and on the Effective Date must be Filed no later than

         [thirtyforty-five (3045)] days after the Effective Date. Any party seeking payment of a

         Professional Fee Claim that arises under sections 503(b)(3), 503(b)(4) or 503(b)(5) of the

         Bankruptcy Code must File a motion for approval of the same. Motions for approval of all

         final requests for payment of Professional Fee Claims shall include a 21-day objection

         period after such motions are filed. The Bankruptcy Court shall determine the Allowed

         amounts of such Professional Fee Claims after notice and a hearing in accordance with the

         procedures established by the Bankruptcy Code, the Bankruptcy Rules, and prior Bankruptcy

         Court orders.

         L.     Deadline to File Rejection Claims

                18.      As provided in Article V.C of the Plan, unless otherwise provided by a

         Bankruptcy Court order, any Proofs of Claim asserting Claims arising from the rejection of the

         Executory Contracts and Unexpired Leases by virtue of the Plan must be Filed with the Notice

         and Claims Agent within thirty (30) days of the Effective Dateafter service of the

         Confirmation Notice substantially in the form annexed to this Order as Exhibit B. The

         deadline for Governmental Units to File any such Proofs of Claim shall be the later of thirty (30)

         days after service of the Effective DateConfirmation Notice or the Governmental Bar Date as

         set forth in the Bar Date Order. Any Proofs of Claim arising from the rejection of the Executory

         Contracts and Unexpired Leases that are not timely filed shall be forever disallowed and barred,

         absent order of the Bankruptcy Court to the contrary. All Allowed Claims arising from the


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         rejection of the Executory Contracts and Unexpired Leases shall constitute General Unsecured

         Claims and shall be treated in accordance with Article III.B of the Plan.

         M.     Releases and Exculpation

                19.     All release and exculpation provisions contained in the Plan, including, without

         limitation, those contained in Article IX of the Plan, are hereby authorized, approved, and shall

         be effective and binding on all persons and entities, to the extent expressly described in the Plan.

         The releases given by the Debtors contained in Article IX.B of the Plan are: (a) in exchange for

         the good and valuable consideration provided by the Released Parties; (b) a good faith settlement

         and compromise of the Claims released by Article IX.B of the Plan; (c) in the best interests of

         the Debtors and all Holders of Claims and Intereststhe Estates; (d) fair, equitable, and

         reasonable; and (e) given and made after due notice and opportunity for hearing. The

         releases given by the Releasing Parties contained in Article IX.C of the Plan are (a)

         consensual; and (b) given and made after due notice and opportunity for hearing.                The

         exculpation provided by Article IX.D of the Plan for the benefit of the Exculpated Parties is

         appropriately tailored to the circumstances of these Chapter 11 Casesconsistent with

         applicable law.

         N.     The UCC Settlement

                20.     Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, the

         Plan incorporates and implements the UCC Settlement, a compromise and settlement of

         numerous issues and disputes between and among the Debtors, the Committee, the Prepetition

         Secured Noteholder, and the DIP Lenders designed to achieve a reasonable and effective

         resolution of these Chapter 11 Cases. Except as otherwise expressly set forth in the Plan, the

         UCC Settlement constitutes a settlement of all potential issues and Claims between and among


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         the Debtors, the Committee, the Prepetition Secured Noteholder, and the DIP Lenders. The

         UCC Settlement is fair, equitable, reasonable, and in the best interests of the Debtors and their

         Estates, and the UCC Settlement is approved.

         O. Litigation Trust

                21. On the Effective Date, the Debtors shall transfer and assign to the Litigation

         Trust all of their right, title, and interest in and to all of the Litigation Trust Assets, and in

         accordance with Bankruptcy Code Section 1141, all such assets shall automatically vest in

         the Litigation Trust free and clear of all Claims and Liens, subject only to (a) as set forth in

         the Plan, the Allowed Claims of the Holders of GUC Litigation Trust Interests, the VIL

         Litigation Trust Interests of the Prepetition Secured Party and DIP Secured Parties solely

         with respect to Estate Tax Refunds and, as it relates to the cash to fund the Convenience

         Claims, the Holders of Allowed Convenience Claims and (b) as set forth in the Plan and in

         the Litigation Trust Agreement, the expenses of the Litigation Trust. Thereafter, the

         Debtors shall no longer have any interest in or with respect to the Litigation Trust Assets.

         P. Litigation Trust and Litigation Trustee

                22. The Litigation Trust will be managed and administered by the Litigation

         Trustee—

         Matthew Dundon of Dundon Advisers LLC—pursuant to the Litigation Trust Agreement,

         subject to the supervision of the Litigation Trust Oversight Committee, without need for

         any other notice to or ay vote, consent, authorization, approval, ratification or other action

         by any Entity or any directors, stockholder, securityholder, manager, member, or partner

         (or board thereof) of any Entity. The Litigation Trustee shall retain and have all the




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         rights, powers, and duties necessary to carry out his or her responsibilities under the Plan

         and the Litigation Trust Agreement and as otherwise provided in this Confirmation Order.

         Q. Plan Administrator

                23. The Plan Administrator shall retain and have all the rights, powers, and duties

         necessary to carry out his or her responsibilities under the Plan, the Plan Administration

         Agreement and as otherwise provided in this Confirmation Order, including selling,

         disposing, liquidating, receiving, holding, investing, supervising, protecting, and

         abandoning the Debtors’ assets, in each case with the consent of VIL. The manner for the

         selection of the Plan Administrator is provided in the Plan and the Plan Administration

         Agreement. For the avoidance of doubt, the selection of Brian Whittman of Alvarez and

         Marsal North America, LLC to serve as the Plan Administrator and the process therefor is

         consistent with the interests of Holders of Claims and Interests and public policy.

         O.     R. The WARN Settlement

                21.     24. The WARN Settlement constitutes acceptance by all Class Members of

         treatment of any alleged claims in the Chapter 11 Cases arising out of or relating to the WARN

         Act and/or the CAL-WARN Act and that such treatment with respect to the Class Representative

         and Class Members complies with section 1129, including section 1129(a)(9), of the Bankruptcy

         Code. To the extent any holders of alleged claims in the Chapter 11 Cases arising out of or

         relating to the WARN Act and/or the CAL-WARN Act have opted-out of the Settlement and

         have not filed a Proof of Claim prior to the applicable Bar Date, such alleged claims shall not be

         Allowed for distribution purposes absent entry of a Final Order allowing such late-Filed Claim.




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         P.     Provision Regarding the United States

         S. Certain Governmental Matters

                25. Each Governmental Unit is hereby authorized to accept any and all

         documents, mortgages, security agreements, financing statements, and instruments

         necessary or appropriate to effectuate, implement, or consummate the winding down

         contemplated by the Plan. To the maximum extent permitted pursuant to section 1146(a)

         of the Bankruptcy Code and any applicable non-bankruptcy law, (a) the issuance, transfer

         or exchange of any securities, instruments, or documents; (b) the creation of any lien,

         mortgage, deed of trust or other interest; (c) any transfers of property or beneficial

         ownership; (d) any assumption, assignment, or sale of interests in Executory Contracts and

         Unexpired Leases; (e) the issuance renewal, modification or securing of indebtedness by

         such means; (f) the filing of any document, including but not limited to any certificate,

         amendment, or tax return; and (g) the making, delivery, or recording of any deed or other

         instrument of transfer under, in furtherance of, or in connection with, the Plan, shall not

         be subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar

         tax, mortgage tax, stamp act, real estate transfer tax, sale or use tax, mortgage recording

         tax, franchise tax, business, license, or other similar tax or governmental assessment, and

         upon entry of this Confirmation Order, the appropriate state or local governmental

         officials or agents shall forgo the collection of any such tax or assessment and accept for

         filing and recordation any of the foregoing instruments or other documents without the

         payment of any tax, recordation fee, or governmental assessment.

                22.     26. As to the United States, nothing in the Plan, this Confirmation Order, any Plan

         Supplement, or any implementing Plan documents, notwithstanding any provision to the contrary


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         contained therein, shall: (a) enjoin or affect any Governmental Unit’s setoff rights under federal

         law, as recognized in section 553 of the Bankruptcy Code, and/or recoupment rights, and such

         rights shall be preserved and are unaffected; or (b) be construed as a compromise or settlement

         of any liability, claim, Cause of Action or interest of the United States.

         Q.     T. Provision Regarding ACA International LLC

                23.     27. In full and final satisfaction of Claim Number 381 filed by ACA International

         LLC (“ACA”) against Debtor Virgin Orbit, LLC (the “ACA Claim”), including its asserted

         liens, its limited sale objection [Docket No. 265], and the ACA Lien Payment Escrow (as

         defined in Docket No. 364), (a) the automatic stay is lifted to allow ACA to foreclose its

         possessory lien on the Debtors’ telemetry rack currently in ACA’s possession (and as identified

         in the ACA Claim), as to which the Debtors shall have no further right, title or interest and the

         proceeds of which shall belong solely to ACA; (b) the Debtors shall, as soon as practicable,

         following entry of this Order, pay $35,000 to ACA from the ACA Lien Payment Escrow; and (c)

         the balance of the ACA Claim shall be reduced and allowed as a General Unsecured Claim in

         Class 4 in the amount of $183,805. Upon entry of this Order and payment to ACA as set forth in

         (b) above, ACA’s asserted liens against the Debtors’ property other than the telemety rack shall

         be deemed terminated and the balance of the ACA Lien Payment Escrow shall be released to the

         Debtors.

         R.     U. Provision Regarding Texas Comptroller

                24.     28. Notwithstanding anything in the Plan to the contrary, the Plan shall not release

         or discharge any Entity, other than the Debtors, from any liability owed to the Texas Comptroller

         of Public Accounts (the “Texas Comptroller”) for a tax debt, including interest and penalties on

         such tax. This provision is not an admission by any party that any such liability exists.


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                25.     29. Notwithstanding anything in the Plan to the contrary, the Plan shall not limit

         the Texas Comptroller’s setoff rights under 11 U.S.C. § 553. This provision is not admission by

         any party that any such setoff rights exist.

                26.     Allowed Priority Tax Claims owed to the Texas Comptroller shall be paid in

         full: (1) on the Effective Date; (2) in equal monthly installments of principal and interest no

         later than sixty (60) months of the Petition Date; or (3) as otherwise agreed to by the Texas

         Comptroller. The Texas Comptroller’s Allowed Priority Tax Claims shall accrue interest

         at the statutory rate of interest from the Effective Date until paid in full.

                27.     30. If the Debtors fail to cure a failure to make a payment to the Texas

         Comptroller pursuant to the terms of the Plan, then within ten (10) calendar days after service of

         written notice of default from the Texas Comptroller, the Texas Comptroller may (a) enforce the

         entire amount of its claim, (b) exercise all rights and remedies under applicable nonbankruptcy

         law, and (c) seek such relief as may be appropriate in the Bankruptcy Court. Notice of a default

         shall be served by first class mail and email as follows and upon: (a) the Debtors: Virgin Orbit

         Holdings, Inc., Attn:    Brian Whittman (email: bwhittman@alvarezandmarsal.com), and (b)

         counsel to the Debtors: (i) Latham & Watkins LLP, 1271 Avenue of the Americas, New York,

         NY 11101, Attn: George Klidonas and Anupama Yerramalli (email: george.klidonas@lw.com

         and anu.yerramalli@lw.com), and (ii) Young, Conaway, Stargatt & Taylor, LLP, 1000 North

         King Street, WimingtonWilmington, DE 19801, Attn: Kara Hammond Coyle and Allison

         Mielke (email: kcoyle@ycst.com and amielke@ycst.com). The Debtors may cure up to two (2)

         defaults. Upon a third default, the Texas Comptroller, at its option, may declare the default

         non-curable and proceed to collect the remainder of the debt in accordance with this

         Confirmation Order.


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         S.      V. Nonseverability of Plan Provisions Upon Confirmation

                 28.      31. This Confirmation Order shall constitute a judicial determination and shall

         provide that each term and provision of the Plan, as it may have been altered or interpreted, is:

         (a) valid and enforceable pursuant to its terms; (b) integral to the Plan and may not be deleted or

         modified without the consent of the Debtors; and (c) non-severable and mutually dependent.

         T.      W. Post-Confirmation Modifications

                 29.      32. Without need for further order or authorization of the Bankruptcy Court, the

         Debtors are authorized to make any and all modifications to any and all documents that are

         necessary to effectuate the Plan that do not materially modify the terms of such documents and

         are consistent with the Plan (subject to any applicable consents or consultation rights set forth

         therein).     Subject to certain restrictions and requirements set forth in section 1127 of the

         Bankruptcy Code, Bankruptcy Rule 3019 and those restrictions on modifications set forth in the

         Plan, the Debtors expressly reserve their respective rights to materially alter, amend, or modify

         the Plan with respect to such Debtors, one or more times, after Confirmation, and, to the extent

         necessary or required under section 1127 of the Bankruptcy Code and/or Bankruptcy Rule

         3019, may initiate proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or

         remedy any defect or omission, or reconcile any inconsistencies in the Plan, the Disclosure

         Statement, or this Confirmation Order, in such matters as may be necessary to carry out the

         purposes and intent of the Plan. Any such modification or supplement shall be considered a

         modification of the Plan and shall be made in accordance with Article X of the Plan.

         U.      X. Conflicts

                 30.      33. To the extent that any provision of the Disclosure Statement or the Plan

         Supplement (or any exhibits, appendices, supplements, or amendments to any of the foregoing),


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         conflict with or are in any way inconsistent with any provision of the Plan, the Plan shall govern

         and control. To the extent that any provision of the Plan, the Plan Supplement, or the Disclosure

         Statement conflicts with or is in any way inconsistent with any provision of this Confirmation

         Order, this Confirmation Order shall govern and control.

         V.     Y. Dissolution of the Committee

                31.     34. The Committee shall dissolve, and the current and former members of the

         Committee shall be released and discharged from all rights and duties arising from, or related to,

         these Chapter 11 Cases on the Effective Date; provided that, the Committee and its professionals

         shall have the right to file, prosecute, review, and object to any applications for compensation

         and reimbursement of expenses filed in accordance with Article II.A.2 of the Plan.

         W.     Z. Stay of Confirmation

                32.     35. Any applicable stay of effectiveness provided in Bankruptcy Rules 3020(e),

         6004(g), 6004(h), 6006(d), and 7062, or otherwise shall not apply to this Confirmation Order.

         This Confirmation Order shall be effective and enforceable immediately upon its entry. Subject

         to the occurrence of the Effective Date, the provisions of the Plan shall be immediately effective

         and enforceable and deemed binding upon any Holder of a Claim against or Interest in the

         Debtors, such Holder’s respective successors and assigns (whether or not the Claim or Interest of

         such Holder is Impaired under the Plan, whether or not such Holder has accepted the Plan, and

         whether or not such Holder is entitled to a Distribution under the Plan), all Entities that are party

         or subject to the settlements, compromises, releases, and injunctions described in the Plan, and

         any and all non-Debtor counterparties to Executory Contracts, Unexpired Leases, and any other

         prepetition agreements. The Debtors are authorized to consummate the Plan at any time after the

         entry of this Confirmation Order, subject to satisfaction or waiver of the conditions precedent to


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         the Effective Date set forth in Article VIII of the Plan. Pursuant to section 1142(a) of the

         Bankruptcy Code, the Plan, the Plan Supplement, and this Confirmation Order shall apply and be

         enforceable notwithstanding any otherwise applicable nonbankruptcy law.

         X.     AA. Final Order

                33.     36. This Confirmation Order is a final order and the period within which an appeal

         must be filed commences upon the entry hereof.




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                                       Exhibit A

                                         Plan


                                 [Intentionally Omitted]




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                                      Exhibit B
                                 Confirmation Notice




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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE
                                                                 )
             In re:                                              )    Chapter 11
                                                                 )
             VIRGIN ORBIT HOLDINGS, INC., et al.,1               )    Case No. 23-10405 (KBO)
                                                                 )
                                                                 )    (Jointly Administered)
                                     Debtors.                    )


              NOTICE OF (A) ENTRY OF ORDER (A) CONFIRMING THE FOURTH AMENDED
             JOINT CHAPTER 11 PLAN OF VIRGIN ORBIT HOLDINGS, INC. AND ITS DEBTOR
                      AFFILIATES AND (B) OCCURRENCE OF EFFECTIVE DATE

         PLEASE TAKE NOTICE OF THE FOLLOWING:

                 1.     On [  ], 2023, the United States Bankruptcy Court for the District of Delaware
         (the “Bankruptcy Court”), entered the order [Docket No. [  ]] (the “Confirmation Order”)
         approving the Fourth Amended Joint Chapter 11 Plan or Virgin Orbit Holdings, Inc. and Its
         Debtor Affiliates [Docket No. [  ]] (as modified, amended, and including all supplements and
         exhibits thereto, the “Plan”)2 (attached as Exhibit A to the Confirmation Order) of the
         above-captioned debtors and debtors in possession (collectively, the “Debtors”).2

                      2.     The Effective Date of the Plan was [  ], 2023.

                 3.      Administrative Claims Bar Date. As provided in Article II.A.3 of the Plan, all
         requests for payment of an Administrative Claim (other than DIP Facility Claims, Cure Costs,
         Professional Fee Claims, postpetition tax claims arising under section 503(b)(1)(D) of the
         Bankruptcy Code, claims arising under section 503(b)(9) of the Bankruptcy Code, or U.S.
         Trustee quarterly fees payable pursuant to Article II.D of the Plan) that accrued on or before the
         Effective Date, must be filed with the Bankruptcy Court and served on the Plan Administrator
         (Brian Whittman Alvarez & Marsal North America, LLC 540 West Madison Street, Suite
         1800 Chicago, IL 60661 Email: bwhittman@alvarezandmarsal.com) no later than [  ],
         2023 (the “Administrative Claims Bar Date”). If a Holder of an Administrative Claim (other
         than DIP Facility Claims, Cure Costs, Professional Fee Claims, postpetition tax claims arising
         under section 503(b)(1)(D) of the Bankruptcy Code, claims arising under section 503(b)(9) of
         the Bankruptcy Code, or U.S. Trustee quarterly fees payable pursuant to Article II.D of the Plan)
         that is required to, but does not, file and serve a request for payment of such Administrative


         1
               The Debtors in these cases, along with the last four digits of each debtor’s federal tax identification
               number, are: Virgin Orbit Holdings, Inc. (6914); Virgin Orbit National Systems, LLC (3801); Vieco
               USA, Inc. (0492); Virgin Orbit, LLC (9648); and JACM Holdings, Inc. (1445). The Debtors’
               mailing address for purposes of these cases is [  ].
         2
               Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Plan and
               the Confirmation Order, as applicable.

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         Claim by the Administrative Claims Bar Date, such Administrative Claim shall be forever
         barred, estopped, and enjoined from asserting such Administrative Claims against the Debtors,
         their Estates, the Litigation Trustee, or the Plan Administrator.

                 4.     Deadline to File Professional Fee Claims. As provided in Article II.A.2 of the
         Plan, all final requests for payment of Professional Fee Claims for services rendered and
         reimbursement of expenses incurred on and after the Petition Date and prior to and on the
         Effective Date must be Filed no later than [  ], 2023. Any party seeking payment of a
         Professional Fee Claim that arises under sections 503(b)(3), 503(b)(4) or 503(b)(5) of the
         Bankruptcy Code must File a motion for approval of the same. The Bankruptcy Court shall
         determine the Allowed amounts of such Professional Fee Claims after notice and a hearing in
         accordance with the procedures established by the Bankruptcy Code, the Bankruptcy Rules, and
         prior Bankruptcy Court orders.

                 5.      Deadline to File Rejection Claims. As provided in Article V.C of the Plan,
         unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting Claims
         arising from the rejection of the Executory Contracts and Unexpired Leases by virtue of the Plan
         must be filed withactually received by the Notice and Claims Agent (Virgin Orbit Holdings,
         Inc. Claims Processing Center c/o Kroll Restructuring Administration LLC, 850 3rd
         Avenue, Suite 412 Brooklyn, NY 11232) no later than [  ], 2023. The deadline for
         Governmental Units to file any such Proofs of Claim shall be the later of [  ], 2023 or the
         Governmental Bar Date as set forth in the Bar Date Order. Any Proofs of Claim arising from the
         rejection of the Executory Contracts and Unexpired Leases that are not timely filed shall be
         forever disallowed and barred, absent order of the Bankruptcy Court to the contrary. All
         Allowed Claims arising from the rejection of the Executory Contracts and Unexpired Leases
         shall constitute General Unsecured Claims and shall be treated in accordance with Article III.B
         of the Plan.

                 6.      Accessing Documents for These Chapter 11 Cases. The Confirmation Order,
         the Plan, and copies of all documents filed in these Chapter 11 Cases are available free of charge
         by: (a) visiting the Debtors’ case website at https://cases.ra.kroll.com/virginorbit; (b) calling
         (646) 440-4773 (international) or (833) 570-5269 (domestic, toll free); or (c) sending an
         electronic message to VirginOrbitInfo@ra.kroll.com.

                 7.      Future Receipt of Documents. After the Effective Date, the Plan Administrator
         is authorized to (a) limit the list of Entities receiving documents pursuant to a pre-Effective Date
         request under Bankruptcy Rule 2002 to those Entities who have filed renewed requests pursuant
         to Bankruptcy Rule 2002 after the Effective Date, and (b) require that such parties file a
         renewed request to receive documents pursuant to Bankruptcy Rule 2002 to continue receiving
         documents.




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             Dated: [  ], 2023                  YOUNG CONAWAY STARGATT & TAYLOR,
                    Wilmington, Delaware         LLP
                                                 /s/ [DRAFT]                                _
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                                                 Michael R. Nestor (No. 3526)
                                                 Kara Hammond Coyle (No. 4410)
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                                                 -and-
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                                                 Counsel for Debtors and Debtors in Possession


              IF YOU HAVE ANY QUESTIONS ABOUT THIS NOTICE, PLEASE CONTACT
             KROLL RESTRUCTURING ADMINISTRATION LLC BY CALLING (646) 440-4773
                   (INTERNATIONAL) OR (833) 570-5269 (DOMESTIC, TOLL FREE)




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